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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

                                           §
   MARTEN GROUP, INC. d/b/a                §
   SENERGY MEDICAL GROUP and               §
   SCOTT TENNANT,                          §
                                           § Case No. 3:24-cv-01852
         Plaintiffs,                       §
                                           § JURY TRIAL DEMANDED
   v.                                      §
                                           §
                                           §
   JERALD TENNANT, MD, JOHN                §
   TENNANT, TERESA JESSEN                  §
   TENNANT, JARED TENNANT,                 §
   TENNANT DEVICES AND                     §
   ACCESSORIES, LLC, and                   §
   CURADOR, LLC,                           §
                                           §
         Defendants.

          APPENDIX TO DEFENDANTS’ AMENDED MOTION FOR
                    PRELIMINARY INJUNCTION

        Pursuant to Local Rule 7.1, Defendants’ submit the attached evidence

 referenced in its Amended Motion for Preliminary Injunction.


                                        INDEX


  EXHIBIT          DESCRIPTION                                  APP. PAGE NOS.
  NO.

  A                Declaration of Jerald Tennant in Support of APP 001 – 019
                   Defendants’ Motion for Preliminary
                   Injunction




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  EXHIBIT          DESCRIPTION                                 APP. PAGE NOS.
  NO.

  A-1              United States Patent and Trademark Office   APP 020 – 021
                   Trademark Principal Registration No.
                   3,157,112 for Tennant BioModulator®
                   dated October 17, 2006

  A-2              United States Patent and Trademark Office   APP 022 – 024
                   Trademark Registration No. 4,382,782 for
                   Tennant BioTransducer® dated August 13,
                   2013

  A-3              United States Patent and Trademark Office   APP 025 – 027
                   Trademark Registration No. 4,334,430 for
                   Healing is Voltage® dated May 14, 2013

  A-4              United States Patent and Trademark Office   APP 028 – 030
                   Trademark Registration No. 4,878,439 for
                   Healing is Voltage dated December 29,
                   2015

  A-5              Royalty Agreement between Jerry Tennant     APP 031 – 038
                   and Scott Tennant dated June 15, 2003

  A-6              Royalty Agreement between Jerry Tennant     APP 039 – 046
                   and Scott Tennant dated October 1, 2012

  A-7              Email exchange between Jerry Tennant and APP 047 – 049
                   Scott Tennant dated July 9, 2013

  A-8              Email from Scott Tennant to Jerry Tennant   APP 050 – 052
                   dated July 10, 2013

  A-9              Email exchange between Jerry Tennant,       APP 053 – 055
                   Scott Tennant and Tammy Lahutsky dated
                   November 30 - December 1, 2020

  A-10             Modification of Royalty Agreement dated     APP 056 – 057
                   March 15, 2016 signed by Jerry Tennant

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  EXHIBIT          DESCRIPTION                                  APP. PAGE NOS.
  NO.

  A-11             Modification of Royalty Agreement dated      APP 058 – 059
                   April 22, 2016 signed by Scott Tennant

  A-12             Email exchange between Jerry Tennant and APP 060 – 061
                   Scott Tennant dated March 12, 2016

  A-13             Various emails from Scott Tennant to Jerry   APP 062 – 070
                   Tennant detailing royalty payments

  A-14             Email from Jerry Tennant to Scott Tennant    APP 071 – 072
                   dated April 17, 2024

  A-15             Email exchange between Jerry Tennant and APP 073 – 075
                   Jerry Gutierrez dated April 22, 2024

  A-16             Email from Scott Tennant to Adam             APP 076 – 124
                   Hyman, Jerry Tennant, among others, with
                   attached spreadsheet dated April 25, 2024
                   (redacted)

  A-17             Email from Scott Tennant to Jerry Tennant    APP 125 – 126
                   dated June 23, 2024

  A-18             Emails from Linda Taylor to Jerry Tennant    APP 127 – 133
                   and Scott Tennant with excerpted
                   spreadsheet attachments dated June 12 and
                   June 16, 2024

  A-19             Email from Tonya Fyke to Jerry Tennant    APP 134 – 139
                   with spreadsheet dated September 28, 2022

  A-20             IRS Form 1099 for Tennant Family Ltd         APP 140 – 141
                   from Marten Group Inc for tax year 2021
                   (redacted)




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  EXHIBIT          DESCRIPTION                                APP. PAGE NOS.
  NO.

  A-21             Letter to Scott Tennant and Senergy re     APP 142 – 145
                   Termination of Royalty Agreement and all
                   Amendments dated June 21, 2024

  A-22             Letter to Avazzia (attention Tammy         APP 146 – 147
                   Lahutsky) re Cease & Desist dated June 21,
                   2024

  A-23             2005 Photograph of Dr. Tennant’s seminar   APP 148 – 149
                   materials and Tennant BioModulator®

  A-24             Email From Scott Tennant to Jerry Tennant APP 150 – 154
                   with Spreadsheet dated December 27, 2021
                   (redacted)

  A-25             United States Patent and Trademark Office APP 155 – 156
                   Notice of Acceptance Under Section 8 and
                   Notice of Acknowledgment Under Section
                   15 for Registration number 4334430; Serial
                   Number 85731084 dated June 29, 2018

  A-26             United States Patent and Trademark Office APP 157 – 158
                   Notice of Acceptance Under Section 8 and
                   Notice of Acknowledgment Under Section
                   15 for Registration number 4382782; Serial
                   Number 85731087 dated Augusts 13, 2013

  A-27             United States Patent and Trademark Office APP 159 – 160
                   Notice of Acceptance Under Section 8 and
                   Notice of Acknowledgment Under Section
                   15 for Registration number 4878439; Serial
                   Number 86424790 dated December 15,
                   2015




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  EXHIBIT          DESCRIPTION                                   APP. PAGE NOS.
  NO.

  A-28             2004 Photograph of the Tennant                APP 161 – 163
                   Biomodulator® prototype with Tennant
                   mark

  A-29             Screenshot of 2006 website of Tennant         APP 164 – 165
                   Institute Integrative Medicine

  B                Declaration of Tyler L. Farmer in Support     APP 166 – 172
                   of Defendants’ Motion for Preliminary
                   Injunction

  B-1              Website printout from                      APP 173 – 196
                   https://store.senergy.us/products/tennant-
                   emerald-package (last accessed on Aug. 28,
                   2024) detailing Senergy’s Emerald Package

  B-2              Website printout from                         APP 197 – 207
                   https://senergywebsite.s3.us-east-
                   2.amazonaws.com/Healthy+Cells+Doc.pdf
                   (last accessed on Aug. 28, 2024) detailing
                   Healing is Voltage

  B-3              Website printout from                        APP 208 – 222
                   https://senergy.us/educationcenter/healing-
                   is-voltage/ (last accessed on Aug. 28, 2024)
                   detailing Healing is Voltage Senergy
                   Wellness Group

  B-4              Letter from Alison Battiste Clement to        APP 223 – 226
                   Casey Griffith dated July 23, 2024

  B-5              Letter from Matthew Acosta to Tyler           APP 227 – 229
                   Farmer dated August 22, 2024




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  EXHIBIT          DESCRIPTION                                     APP. PAGE NOS.
  NO.

  B-6              Screenshot from the webpage where a             APP 230 – 236
                   video about the Tennant BioModulator®
                   Pro can be found

  B-7              Website printout from                           APP 237 – 241
                   https://senergy.us/courses-for-everyone/
                   (last accessed on Aug. 28, 2024)

  B-8              Website printout from                           APP 242 – 253
                   https://senergy.us/scientific-research/ (last
                   accessed on Aug. 28, 2024)

  B-9              Website printout from                           APP 254 – 264
                   https://avazzia.com/tennant-biomodulator-
                   differences/ (last accessed on Aug. 28,
                   2024)

  B-10             Letter from Tyler Famer to Casey Griffith       APP 265 – 273
                   with attachment dated August 16, 2024

  B-11             Email from Casey Griffith to Tyler Farmer       APP 274 – 275
                   dated August 20, 2024

  C                Declaration of Jared Tennant in Support of      APP 276 – 281
                   Defendants’ Motion for Preliminary
                   Injunction

  C-1              February 6, 2023 email to Jared Tennant         APP 282 - 294
                   from Jerry Gutierrez with attached
                   BTP2REPAIRS spreadsheet.

  D                Supplemental Declaration of Jerald              APP 295 – 298
                   Tennant, MD, In Support of Defendants’
                   Motion For Preliminary Injunction




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  EXHIBIT          DESCRIPTION                                   APP. PAGE NOS.
  NO.

  D-1              TENNANT_000001-000007                         APP 299 - 306


  D-2              TENNANT_000008-000014                         APP 307 – 314


  D-3              TENNANT_000015-000021                         APP 315 – 322


  D-4              TENNANT_000022-000029                         APP 323 – 331




 Dated: October 11, 2024               Respectfully submitted,

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                                       TENNANT, TERESA JESSEN TENNANT,
                                       JARED TENNANT, TENNANT DEVICES
                                       AND ACCESSORIES, LLC, and
                                       CURADOR, LLC




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                          CERTIFICATE OF SERVICE


I certify that this document is being served via ECF on counsel of record.

                                      /s/Tyler L. Farmer
                                      Tyler L. Farmer
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           EXHIBIT A




                                                                         APP 001
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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

                                              §
  MARTEN GROUP, INC. d/b/a                    §
  SENERGY MEDICAL GROUP and                   §
  SCOTT TENNANT,                              §
                                              § Case No. 3:24-cv-01852
            Plaintiffs,                       §
                                              § JURY TRIAL DEMANDED
  v.                                          §
                                              §
                                              §
  JERALD TENNANT, MD, JOHN                    §
  TENNANT, TERESA JESSEN                      §
  TENNANT, JARED TENNANT,                     §
  TENNANT DEVICES AND                         §
  ACCESSORIES, LLC, and                       §
  CURADOR, LLC,                               §
                                              §
            Defendants.

       DECLARATION OF JERALD TENNANT, MD, IN SUPPORT OF
       DEFENDANTS’ MOTION FOR PRELIMINARY INJUNCTION


       I, Dr. Jerald Tennant, hereby declare as follows:

       1.       I am one of the Defendants in this matter. I am over age 18 and am

competent to be a witness. I am making this declaration based on facts within my

own personal knowledge.

       2.       I have worked in medicine for over 55 years. While I provide details of

my education, ophthalmology practice, and related work below, the key issues on this

motion flow from my conceiving of the Tennant BioModulator® and Tennant

BioTransducer® (Tennant devices) following my recovery from protracted illness




                                                                              APP 002
Case 3:24-cv-01852-E    Document 48-1     Filed 10/11/24    Page 12 of 340    PageID 845


and, for over two decades, my continuous use of those and related Tennant marks to

promote my medical practice and devices.

       3.    Having identified the approach to maintaining optimum voltage in cells

that I believed provides the most benefit to a wide range of patients, I personally

developed the concept of treatments using the Tennant devices and their specific

frequencies and personally owned my eponymous brand. I developed the distinctive

Dr. Tennant logo in order to market the devices and my integrative medical practice.

Then, I placed the marks into commerce via my personal promotion of the products,

through my medical practice and educational seminars, and separately through

licensing agreements with Scott Tennant and Senergy.

       4.    Attached as Exhibits A-1 -A- 4 are true and correct copies of the

certificate of trademark registrations from the USPTO related to these marks. I

personally owned the Tennant BioModulator® and Tennant BioTransducer® marks

until I assigned it to the Tennant Family Ltd. (TFL) partnership, which I control. In

April 2024, I caused the Tennant Family Ltd. partnership to transfer the marks to

Tennant Devices and Accessories, LLC (TDA), which I also control. The marks for

Healing is Voltage® were initially obtained by TFL at my direction. I have since

caused these marks to be assigned to TDA like the other marks. Throughout this

entire period, I have controlled the use of the marks. Attached as Exhibits A-25 – A-




                                                                             APP 003
Case 3:24-cv-01852-E    Document 48-1    Filed 10/11/24    Page 13 of 340    PageID 846


27 are true and correct copies of the USPTO’s acknowledgement of the

incontestability of the Tennant BioTransducer® and two Healing is Voltage® marks.

       5.    Starting in 2003, I authorized my stepson, Scott, to use my Tennant

BioModulator® trademark– i.e., the device I designed with my proprietary

frequencies and named after myself – in exchange for a royalty payment based on

sales of those devices. We used a form from RocketLawyer.com to memorialize the

agreement. The 2003 Agreement outlined my royalty rights from device sales, my

rights to receive monthly accounting statements, and my rights to inspect Scott’s

books. The 2003 Agreement also specified that Scott was obligated to maintain the

Tennant BioModulator® in confidence, with the same degree of care he would

exercise with respect to his own proprietary information. This provision related to the

proprietary modes and frequencies that I developed for my device, which made it

different (and in my opinion, better) than other devices. A true and correct copy of

the 2003 Royalty Agreement is attached as Exhibit A-5.

       6.    I worked with a U.S. based manufacturer to manufacture the Tennant

BioModulator® with the voltage frequencies I determined were most effective for

healing. This device, ultimately marked with the Tennant BioModulator® mark, is an

FDA accepted non-invasive device, designed to offer healthcare professionals and

home users affordable drug-free and user-friendly options for relief from chronic,

severe, and intractable pain. Attached as Exhibit A-28 is a true and correct copy of a



                                                                            APP 004
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2004 version of the prototype of this device that includes my mark on it. Attached as

Exhibit A-29 is a true and correct copy of my website in 2006 promoting my marked

products.

       7.    Over the course of more than two decades, everyone involved

understood that Scott (and Senergy—the company used by Scott to sell the devices)

required my permission in order to use my marks and needed to pay me royalties

based on the sales of the Tennant devices. Neither Scott nor Senergy ever objected to

any of my trademark registrations or challenged the validity of my marks or

otherwise claimed to have any interest in the marks outside of my permission.

       8.    Throughout that time, Scott paid me each month based on what he (or

other Senergy employees) represented to be the number of Tennant devices sold.

       9.    As I continued to promote healing through voltage, I developed

additional technology that enhances the Tennant BioModulator® treatment. This new

product—the Tennant BioTransducer®—was again manufactured to my

specifications. I continued to diligently protect my intellectual property working with

counsel to obtain federal trademark registrations for both Tennant BioModulator®

and Tennant BioTransducer®. In connection with protecting the Tennant

BioModulator® mark in 2005, we submitted a specimen (photo below) showing my

mark on the device manufactured by Avazzia and marketed by Scott pursuant to the

License Agreement.




                                                                            APP 005
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A true and correct copy of a 2005 photograph of my seminar materials and

BioModulator® is also attached as Exhibit A-23.

      10.   Similarly, in September 2012 and again in September 2016 we

submitted specimens of the Tennant BioModulator® PLUS, which reflected our

ongoing and continuous use of the mark. Our continuous use of these marks extends

to multiple uses in our marketing of the Tennant Institute and my products. See

www.tennantinstitute.com (last viewed on Aug. 25, 2024) stating in part under

“Using Frequency to Heal”:




                                                                           APP 006
Case 3:24-cv-01852-E    Document 48-1     Filed 10/11/24    Page 16 of 340    PageID 849


             Tennant Microcurrent technology is used to give your body what it
             needs to generate new, healthy cells that heal. This is achieved by
             correcting your polarities with a Tennant BioTransducer®, and
             recharging with the FDA-accepted Tennant BioModulator®. This device
             is used with simple electrodes that effectively deliver healing
             frequencies into your body.

      11.    In 2012, Scott and I entered into a Royalty Agreement covering the

Tennant BioModulator® PRO, which contains the identical terms (e.g., license,

royalty amount, protection of my confidential information) as the 2003 Royalty

Agreement. Attached as Exhibit A-6 is a true and correct copy of that agreement.

      12.    Throughout this time, protecting the Tennant brand and providing

superior patient treatment required that my eponymous devices perform to my

specifications and with the highest level of reliability. Accordingly, for the past two

decades I have worked with Senergy and the device manufacturer, Avazzia, to ensure

that the products performed to my standards and to address customer concerns. In

turn, under the license granted by the Royalty Agreements, Scott has promoted the

Tennant Devices on the Senergy website, including touting that the Tennant

BioModulators feature “Dr. Tennant’s proprietary frequency modes for therapy.”

      13.    Throughout the past two decades, I have carefully overseen the quality

of products offered under the Tennant brand. Neither Scott nor Senergy were

permitted to use my brand without my permission. For example, I initially worked

with Avazzia to manufacture the Tennant BioTransducers®. Avazzia then




                                                                              APP 007
Case 3:24-cv-01852-E    Document 48-1      Filed 10/11/24    Page 17 of 340    PageID 850


manufactured the Tennant BioTransducer® crystal wave, which never performed to

my expectations. So, I came up with a new design that was initially manufactured in

Florida. When the product quality of those devices were also insufficient, I switched

to producing the device with my son, Jared Tennant, so that he could ensure a higher

quality product. The devices that Jared manufactures are the Tennant BioTransducer

Pro II devices that I promote today.

      14.    As another example, in summer of 2012 I was not satisfied with the

performance quality of the “violet” version of the BioTransducer and instructed Scott

to halt sales of it. In July 2013, I was stunned to hear a Senergy representative refer to

it during an educational seminar. I immediately demanded that Senergy stop selling

the product. Attached as Exhibit A-7, is a true and correct e-mail date July 9, 2013

from me to Scott and Senergy employees. It includes my direct admonition:

      On paper and day-to-day, Scott is your boss as it should be. But when I say
      something that relates to my inventions and my reputation, I have the final say
      because I control my intellectual property, patents, and trademarks. Thus I
      control who can distribute them.

      15.    In response to my e-mail, Scott sent me an email with the subject line

“marketing goof” and explained that “This statement last night can easily be retracted

by sending a note to all of the Educators that a mis-communication was accidentially

‘in’ the call. The Violet BioTransducer units are officially discontinued.” Attached as

Exhibit A-8 is a true and correct copy of Scott’s July 10, 2013 e-mail. Neither in July




                                                                              APP 008
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2013 nor at any time until Scott’s July 21, 2024 lawsuit did Scott claim that I did not

control the trademarks concerning my Tennant devices. To the contrary, for the next

ten years, Scott continued to sell the Tennant devices that I authorized and with my

permission used my image, professional reputation, life story and registered

trademarks to do so.

      16.    Similarly, I have controlled how my brand is used in the public. For

example, in 2020, when Avazzia intended to produce a new version of the

BioTransducer crystal wave devices, they presented a mockup of the product for my

review. I pointed out that the naming convention they proposed would be confusing,

since I was already using a similar name on existing BioModulator devices. Attached

as Exhibit A-9 is a true and correct copy of that email correspondence.

      17.    Over the past two decades, the Tennant Institute for Integrative

Medicine has succeeded in teaching patients and practitioners about the efficacy of

alternative therapies for chronic pain and other maladies, including treatment with the

Tennant BioModulator® PLUS and PRO and the Tennant BioTransducer®. I have

lectured regularly at seminars and developed extensive training materials all under

the Healing is Voltage® mark. Our success has propelled Senergy’s success. With

my permission, it has used my trademarks to market and sell thousands of Tennant

devices over the past two decades pursuant to the terms of the Royalty Agreements,




                                                                            APP 009
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which we agreed would extend to the marketing and sale of the BioTransducer

devices.

      18.    In spring 2016, Scott and I exchanged drafts of modifications to the

Royalty Agreements. Both the March 15, 2016 addendum, a true and correct copy of

which is attached as Exhibit A-10, (which I signed) and the April 22, 2016

addendum, a true and correct copy of which is attached as Exhibit A-11, (which

Scott signed) recognized, among other things, that (a) the agreement would modify

“those agreements for payments of royalties for Grantor’s proprietary interest in the

Tennant BioModulators”; (b) “the said agreements may be cancelled by either party,

without prejudice and for any reason within thirty days written notice”; and (c) that

“these royalty contracts are not transferable upon sale of Senergy Medical Group

without permission of Grantor.”

      19.    In March 2016, Scott and I separately discussed a clarifying affidavit to

explain that Senergy has license rights to use the trademarks in the Licensing

Agreements. Although Scott agreed to sign such documents to align with the fact that

the royalty payments were made by Senergy, he never provided me a copy of a

signed affidavit. Attached as Exhibit A-12 is a true and correct copy of the email

exchange on this topic.

      20.    While I regularly interfaced with the manufacturer, Avazzia, to ensure

that the Tennant branded devices were manufactured to my specifications, I relied on




                                                                            APP 0010
Case 3:24-cv-01852-E            Document 48-1           Filed 10/11/24          Page 20 of 340          PageID 853


Scott and Senergy to accurately report its sales volumes in accordance with the

Royalty Agreements.

        21.      In recent years, I began to have questions about Scott’s payment of

royalties. Payments for certain months were low and Scott started to make payments

without including the monthly sales report that Senergy previously included (and

which the Royalty Agreement required and had previously been provided). See, e.g.,

Exhibit A-13, which is a true and correct copy of sample emails that raised concerns.

I raised my concerns with Scott, who insisted that the royalty payments were correct.

Attached as Exhibits A-14 – A-16 & A-241 are true and correct copies of some of the

e-mail correspondence related to these royalty discussions.

        22.      At no point in any of our communications has Scott ever suggested that

Senergy could sell Tennant BioModulators® without my permission, let alone take

the preposterous position that Senergy owns my marks. At no point has Scott ever

claimed that the Royalty Agreements are not binding contracts. Indeed, for two

decades he has directly benefited from those contracts by having my permission and

support for his sale of my Tennant devices. I have spent a quarter of a century

building my business and brand and am appalled that my stepson would try to steal

my identity and life’s work.



1
       To protect their privacy and because they are irrelevant to the motion, the patient names in Exhibits A-16 and
A-24 have been redacted.




                                                                                                     APP 0011
Case 3:24-cv-01852-E    Document 48-1     Filed 10/11/24    Page 21 of 340    PageID 854


      23.    Both the 2003 and 2012 Royalty Agreements expressly provide me with

the right “not more often than once in any calendar year, to have an independent

certified public accountant acceptable to Grantee examine the books of the Grantee to

verify the Royalty statements and Royalties due to the Grantor pursuant to this

Agreement.” See Exhibit A-5 ¶ 6 and Exhibit A-6 ¶ 6. When the dispute regarding

royalty payments first arose, in June 2024, Scott first indicated that he would be

“[h]appy to facilitate a third-party mediation to resolve and engage a neutral third

party to conduct an audit of our records.” Attached as Exhibit A-17 is a true and

correct copy of Scott’s email of June 23, 2024. In response to our identifying Alvarez

& Marsal as the independent accountant, Scott backtracked and insisted that we cover

the full cost. We promptly agreed to do so and my counsel transmitted the Alvaraz &

Marsal engagement letter to opposing counsel, dated August 16, 2024 to Casey

Griffith, Scott’s counsel, from my counsel, Tyler Farmer, (Decl. of Tyler Farmer,

Exhibit B-10), but Scott has refused to allow the contractually required review (e.g.,

Farmer Decl., Exhibit B-11).

      24.    Even in the absence of the contractually required review, we have

compiled a number of records demonstrating that Scott has repeatedly breached the

Royalty Agreement by materially under-reporting sales of Tennant Devices. Attached

as Exhibit A-18 is true and correct copy of an email attaching excerpted Royalty

Totals spreadsheets with the reported sales of Tennant marked devices for the years




                                                                             APP 0012
Case 3:24-cv-01852-E        Document 48-1          Filed 10/11/24     Page 22 of 340    PageID 855


2020 through 2023. Also attached as Exhibit A-19 is a true and correct copy of an

email from Senergy’s bookkeeper attaching a spreadsheet showing actual sales of the

devices for the 2021 and part of 2022. By comparing these documents, it is clear that

Senergy materially underreported sales of marked devices.

      25.     In 2022, I received a 2021 1099 tax form from Senergy reporting my

income from royalty payments, which reported $350,900 in royalties paid. Attached

as Exhibit A-202 is a true and correct copy of that tax form. I also received a

spreadsheet from Senergy when I began the 2024 audit, which reports $414,350 in

royalties for that same year. A true and correct copy of that email and spreadsheet can

be found at Exhibit A-18 referenced above.

      26.     Based on the documents described in paragraphs 24 and 25, I estimate

millions of dollars of underpaid royalties.

      27.     On June 21, 2024, I provided Scott with a Notice of Termination of

Royalty Agreements, demanding termination of all contracts because of Scott and

Senergy’s failure to make all payments due under the agreements, their fraudulent

statements of sales, and their improperly calculated royalty payments. This notice

provided Scott and Senergy with thirty days to cease marketing and distributing

Tennant products. We also had an in-person meeting set forth the basis for




2
      The Tax ID numbers have been redacted from this Exhibit A-20.




                                                                                       APP 0013
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cancelation. Attached as Exhibit A-21 is a true and correct copy of that Notice of

Termination.

      28.       Despite my clear termination of the Agreements, Scott and Senergy

continue to use the Tennant trademarks, including to promote sales of the Tennant

devices on the Senergy website. Scott and Senergy’s unauthorized use of my name,

image, and trademarks extends to the unauthorized use of the Healing is Voltage®

trademark through the Senergy site.

      29.       I am personally aware of the current state of consumer confusion as to

whether I endorse Senergy and its sales of Tennant devices. Senergy’s website

continues to use my marks and falsely touts that it is the “exclusive distributor” of

Tennant devices. Meanwhile, the BioModulator manufacturer has not cooperated

with our efforts to buy BioModulators so that prescriptions for my patients can be

filled without allowing Senergy’s continued infringement of my rights. In fact, the

Senergy website appears to intentionally foster the impression that it remains closely

affiliated with me. As of August 25, it not only sells Tennant Devices, but also

continues to:

            A) Offer Tennant BioModulator® device owners with the opportunity to

                enroll in a program to receive Dr. Tennant’s Protocols, including to

                “Learn how to do Dr. Tennant’s Daily Protocol step-by-step as well as




                                                                              APP 0014
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               additional device protocols you may find helpful on your health

               journey.” https://senergy.us/educationcenter/tennant-protocols/

            B) Falsely claim that “Senergy Medical Group is the exclusive distributor

               for the Tennant Biomodular and Tennant BioTransducer” in the footer of

               each of its website pages.

            C) In its website transaction process, directly above the “Add to Cart” and

               “Buy it Now” buttons, include a tab labeled “About Dr. Jerry Tennant”

               which then informs the website user:

            Dr. Jerry Tennant, MD, MD(H), PScD, is the founder of The Tennant
            Institute for Integrative Medicine, a world-renowned physician and
            integrative health practitioner, and the inventor of the Tennant
            BioModulator®.

            Dr. Jerry Tennant is a true Renaissance man. He is a teacher, inventor,
            healer, scholar, humanitarian, innovator, and entrepreneur — those are just
            a few of the ways we describe Dr. Tennant who has led a remarkable life
            dedicated to healing and innovation, which has altered the paradigm of
            western medicine. People from around the world travel to the Tennant
            Institute for Integrative Medicine in Colleyville, Texas, to seek out and
            benefit from his healing expertise.

      30.      Through my counterclaims in this lawsuit, I want to clear the record for

the confused public and medical community who have a right to know that I have no

affiliation with Senergy and that neither Scott nor Senergy has the right to benefit

from the promotion or sale of my Tennant devices. We also need to obtain legal

rulings to confirm my ability to use and protect those marks as I work with other




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manufacturing and distribution channels in order to continue to use my marks and

make my Tennant devices available to the public. As of today, despite my repeated

requests, Avazzia has refused to stop producing Tennant devices for Scott and

Senergy. Attached as Exhibit A-22 is a true and correct copy of the cease and desist

letter that I had delivered to Avazzia.

      31.    The success of the Tennant devices and the value of the Tennant brand

in the field of medicine are the direct results of a lifetime of work. Since the late

1990s I have devoted my full professional energy toward promoting my unique

approach to patient treatment and carefully supervising the development of Tennant

devices and their use in integrative medical treatment. To this day, I continue to treat

patients and prescribe treatment using the marked devices where appropriate and

regularly present at conferences and classes to ensure patients and medical providers

use the product as designed.

      32.    My innovation in microcurrent therapy is part of a long line of

innovation I have contributed to medicine since I completed my residency in

ophthalmology at Massachusetts Eye and Ear Infinrmary of Harvard Medical School

and Southwestern Medical School / Parkland System in 1968. Since then, I have

devoted my full professional energy to healing patients and to innovating medical

products and methods.




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      33.    As an ophthalmologist, I taught surgeons across the world outpatient eye

surgery, I chaired an ad hoc committee that developed the rules that govern outpatient

surgery centers in the State of Texas. I also was among the first surgeons in the

United States to place intraocular lenses in eyes after cataract surgery, eliminating the

need for thick, incapacitating glasses and I taught this technique around the world;

and, as a pioneer in LASIK surgery, I was responsible for most of the research done

on the Excimer laser for VISX.

      34.    My contributions to medicine have been recognized throughout the

world. I am one of a few surgeons to be awarded the Corboy Award for

Advancements in Ophthalmology and the American Academy of Ophthalmology

Award. In 2008, I received the Order of Saint Sylvester from Pope Benedict XVI. I

also hold a doctorate of natural medicine from the Board of Pastoral Medical

Association, am licensed by the Board of Homeopathic and Integrated Medicine

Examiners in Arizona, and I am a current member of the American Academy of Anti-

Aging Medicine.




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      I declare under penalty of perjury under the laws of the United States that the

foregoing is true and correct.

      Executed at _____, Texas on this 28th day of August, 2024.




                                            JERALD TENNANT, M.D.




                                                                            APP 0018
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                          CERTIFICATE OF SERVICE


I certify that this document is being served via ECF on counsel of record.

                                       /s/Justin D. Hanna
                                       Justin D. Hanna




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                 A - EXHIBIT 2




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                 A - EXHIBIT 3




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            A - EXHIBIT 4




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            A - EXHIBIT 5




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                 A - EXHIBIT 6




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                 A - EXHIBIT 7




                                                                         APP 0047
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                                                                                    Jerry Tennant <jltennant@gmail.com>



from Tennant
2 messages

Jerry Tennant <jltennant@mac.com>                                                      Tue, Jul 9, 2013 at 9:17 PM
To: Scott Tennant <stennant@senergy.us>, Barbara Evans <healthier2@gmail.com>, Cheryl Campbell
<cheryl@senergy.us>, Tamara Bagwell <tamara@senergy.us>, Karla Bass <karla@senergy.us>, Haley Hillton
<hhillton@senergy.us>
Cc: Tammy Lahutsky <tlahutsky@avazzia.com>

 I am stunned! I don't get this angry very often but this must be stopped!

 I have told Scott more than once that I don't want a single violet BioTransducer sold---particularly with my name
 attached to it. Tonight on the call to educators, it was announced that they could purchase either the violet or the red
 BioTransducer.

 Let me shout it again---NONE OF YOU HAVE MY PERMISSION TO SELL THE VIOLET BIOTRANSDUCER TO
 ANYONE. STOP DOING IT OR I WILL FIND A WAY TO STOP YOU EVEN IF I HAVE TO PERSONALLY COME
 DESTROY THEM. Scott told me that he is having Avazzia replace them with red ones. I understand there will be a
 fee for replacing the case/diode, but I don't want the violet ones sold. I have explained to all of you why. Whether you
 agree or disagree with me if not the issue. It is my name, my device design, my intellectual property and thus I can do
 whatever I think is best to protect those things. If Scott has not instructed the Senergy staff that the violet devices are
 no longer for sale, he should have and I am doing it now.

 Nothing makes me more angry than for Senergy personnel to ignore my demands. That is a direct affront to my
 authority and is a personal insult to me. When you continue to park in the handicapped parking when I have more
 than once told you not to do so unless you are unloading things or are actually sick, I take that in the same way I
 would if you gave me the finger when I asked you to do something for me. That is just one example of many things
 that Senergy staff do when I have specifically asked you not to do. Another example is Senergy staff trying to sell my
 patients and Senergy clients DoTerra oils that compete with my oils and for which some of you have personal gain at
 my expense.

 When I am talking to Avazzia, you must not enter the room without my permission. We are usually discussing my
 PRIVATE AND CONFIDENTIAL information. You may not know about those things without my specific permission.
  My personal intellectual property is just that---personal and confidential. Tammy knows she is not to discuss design
 changes or new devices unless I am present.

 If I asked you to do or not to do something and Scott disagrees with me, he must come talk to me and give me
 reasons to change me mind. I rarely get involved with Senergy, but when I do, my will must be done unless Scott can
 change my mind. If Scott tells you to do something that I have told you not to do, you should remind him that I have
 forbidden that unless and until I have told you I changed my mind.

 Just remember, although Scott owns Senergy, if I cancel my agreement with Avazzia to sell the BioModulator and
 BioTransducer to Senergy, you are out of business/jobs. It's not very smart for any of you to keep pissing me off like
 this. If a Senergy staff member ignores me, I can see that Scott fires you or I shut Senergy down and find someone
 else to sell my inventions. On paper and day-to-day, Scott is your boss as it should be. But when I say something
 that relates to my inventions and my reputation, I have the final say because I control my intellectual property, patents,
 and trademarks. Thus I control who can distribute them. Thus in the final analysis, I control Senergy's future.

 If I have not made myself clear, let me know and I'll try to explain it better!



 Jerry Tennant, MD., MD(H), MD(P)
 jltennant@mac.com
 www.tennantinstitute.com

                                                                                                     APP 0048
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haley tylor hillton <hhillton@senergy.us>                                                      Tue, Jul 9, 2013 at 9:59 PM
To: Jerry Tennant <jltennant@mac.com>
Cc: Scott Tennant <stennant@senergy.us>


 Dr Jerry,



 1.   I didn’t know this as no one has informed me of this – maybe Barbara didn’t either?

 2. It wasn’t stated that way on purpose or with intention to upset anyone, especially you. I hope you know we
 wouldn’t do that

 3.   I wrote the script for the offer. The good news is that I can correct it before we mail it out tomorrow.



 I’m sorry.



 haley
 [Quoted text hidden]




                                                                                                  APP 0049
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                 A - EXHIBIT 8




                                                                         APP 0050
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                                                                                   Jerry Tennant <jltennant@gmail.com>



marketing goof
1 message

Scott Tennant <stennant@senergy.us>                                                            Wed, Jul 10, 2013 at 9:00 AM
To: "jltennant@mac.com" <jltennant@mac.com>


 Last night there was a marketing goof during the call. Since the education team isn’t involved in the day to day selling
 of the devices, they seemed to have been on “auto pilot” with a memorized script from long ago and blurted out the
 wrong info without remembering the plan of RubyRed only. The violet devices are no longer in production and have
 been discontinued due to lack of any interest by the public at all. The RubyRed devices are the only ones selling and
 thus are our only product.



 This statement last night can easily be retracted by sending a note to all of the Educators that a mis-communication
 was accidentally “in” the call. The Violet BioTransducer units are officially discontinued.



 Most of the violets have been “upgraded” to RubyRed already. Avazzia is batching them “in” to our stock as the
 process is time consuming work.




 Scott Tennant, CEO

 Senergy Medical Group

 9901 Valley Ranch Pkwy E Ste 1009

 Irving, TX 75063

 972-580-0545

 866-514-8221 toll free in the USA

 stennant@senergy.us

 www.senergy.us



 Visit our information page to sign up for our mailing list, or to report any changes in your email address or other
 contact details;

 http://senergy.us/info.htm



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this e-mail immediately.




                                                                                                   APP 0052
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                 A - EXHIBIT 9




                                                                         APP 0053
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  From: Jerry Tennant jltennant@gmail.com
Subject: Fwd: BioTransducer 2020 branding
   Date: December 1, 2020 at 2:36 PM
     To: Scott Tennant stennant@senergy.us

       The new BioModulators will be called BioModulator 2020. I think this name will confuse people . Cann you settle on a different name for
       the crystal wave?




       Jerry Tennant, MD, MD(H), PSc.D
       jltennant@gmail.com
       www.tennantinstitute.com




         Begin forwarded message:

         From: Tammy Lahutsky <tlahutsky@avazzia.com>
         Subject: BioTransducer 2020 branding
         Date: November 30, 2020 at 9:08:09 PM CST
         To: Scott Tennant <stennant@senergy.us>, "jtenn@tennantinstitute.com" <jtenn@tennantinstitute.com>, Jerry Gutierrez
         <jerry@senergy.us>, Jerry Tennant MD <jltennant@gmail.com>

         Hello,

         In follow up to our meetings last week, we are making 125 to 140 new updated version
         BioTransducers (project name BT2020) in the same looking cases that the previous
         BioTransducers were made with.

         Per discussions with Scott, these will be identifiable as BT2020 vs older version with
         product information on the case - either silkscreen or 3D laser etched.

         Please provide art work accordingly or advise edits or approve attached mock-up.

         Are there any patents or patent pending? Is BioTransducer (R) or TM?

         Minimum requirements:
         product identifier (part number)
         model (family name / type )
         Proprietary trade name (specific device)
         manufacturer identification
         country of origin
         safety instructions, Rx status?
         power source type
         IP claims: trademarks?, patents?, copyright ??

         How does the attached draft look?

         Thank you,
         Tammy Lahutsky
         Avazzia, Inc., 13140 Coit Road, Suite 515, Dallas, Texas 75240, tel. 214-575-2820,
          www.avazzia.com




                 Proposed DRAFT for labeling
                                                                                                                         APP 0054
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Proposed DRAFT for labeling




Serial number format: BTYYDDD-NN

                                            Avazzia Confidential and Proprietary Information
AVAZZIA 11/30/2020                                                                                                  APP 0055
                                                      Proposed DRAFT for labeling                                              1
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               A - EXHIBIT 12




                                                                         APP 0060
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  From: Jerry Tennant jltennant@gmail.com
Subject: Re: from Dad
   Date: March 12, 2016 at 1:49 PM
     To: Scott Tennant stennant@senergy.us

       After the last one. Transfer both.

       Sent from my iPhone
       Jerry Tennant

       On Mar 12, 2016, at 11:34 AM, Scott Tennant <stennant@senergy.us> wrote:

         What date should I date them? Should they both be dated the same day, say 2012ish after the last one?


         Sent from Outlook for iPhone




         On Sat, Mar 12, 2016 at 8:54 AM -0800, "Jerry Tennant" <jltennant@gmail.com> wrote:

         I missed the fact that the contracts were written between me and you personally instead of Senergy.

         Please create and sign an affidavit that the contracts ownership have been transferred to Senergy. We have to turn in the data on
         Wednesday.




         Jerry Tennant, MD, MD(H), PSc.D
         jltennant@gmail.com
         www.tennantinstitute.com




                                                                                                                          APP 0061
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               A - EXHIBIT 13




                                                                         APP 0062
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  From: Scott Tennant stennant@senergy.us
Subject: Bank Wire sent to TFL
   Date: October 2, 2019 at 5:57 PM
     To: Jerald L Tennant jltennant@mac.com


       I’ve just sent a bank wire to TFL for $25,600.

       Thanks

       Scott


       Scott Tennant, CEO
       Get well • Be well • Live well®




       Senergy Medical Group®
       9901 Valley Ranch Pkwy East - Ste 1009 Irving, TX 75063
       972-580-0545 Office
       mailto: stennant@senergy.us

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  From: Scott Tennant stennant@senergy.us
Subject: bank wire to TFL
   Date: December 23, 2019 at 12:30 PM
     To: Jerald L Tennant jltennant@mac.com


       I just sent a bank wire of $6,300 to TFL for devices sold at the December training course

       Thanks

       Scott

       Scott Tennant, CEO
       Get well • Be well • Live well®




       Senergy Medical Group®
       9901 Valley Ranch Pkwy East - Ste 1009 Irving, TX 75063
       972-580-0545 Office
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                                                                                                                     APP 0064
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  From: Scott Tennant stennant@senergy.us
Subject: bank wire to TFL #2
   Date: December 23, 2019 at 5:52 PM
     To: Jerald L Tennant jltennant@mac.com


       I just sent $30,200 to TFL for November.
       Thanks

       Scott


       Scott Tennant, CEO
       Get well • Be well • Live well®




       Senergy Medical Group®
       9901 Valley Ranch Pkwy East - Ste 1009 Irving, TX 75063
       972-580-0545 Office
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                                                                                                                     APP 0065
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  From: Scott Tennant stennant@senergy.us
Subject: bank wire deposit to TFL
   Date: February 18, 2020 at 12:52 PM
     To: Jerald L Tennant jltennant@mac.com


       I just sent a bank wire deposit to TFL for $25,400. Thanks

       Scott

       Scott Tennant, CEO
       Get well • Be well • Live well®




       Senergy Medical Group®
       9901 Valley Ranch Pkwy East - Ste 1009 Irving, TX 75063
       972-580-0545 Office
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                                                                                                                     APP 0066
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  From: Scott Tennant stennant@senergy.us
Subject: Bank Wire to TFL
   Date: July 2, 2020 at 3:25 PM
     To: Jerald L Tennant jltennant@mac.com


       I just bank wired $18,550 to TFL.

       Scott


       Scott Tennant, CEO
       Get well • Be well • Live well®




       Senergy Medical Group®
       9901 Valley Ranch Pkwy East - Ste 1009 Irving, TX 75063
       972-580-0545 Office
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                                                                                                                     APP 0067
 Case 3:24-cv-01852-E                 Document 48-1               Filed 10/11/24             Page 77 of 340             PageID 910

  From: Scott Tennant stennant@senergy.us
Subject: Bank Wire to TFL
   Date: August 4, 2020 at 3:32 PM
     To: Jerald L Tennant jltennant@mac.com


       I just made a bank wire to TFL for $35,550.

       Thanks

       Scott

       Scott Tennant, CEO
       Get well • Be well • Live well®




       Senergy Medical Group®
       9901 Valley Ranch Pkwy East - Ste 1009 Irving, TX 75063
       972-580-0545 Office
       mailto: stennant@senergy.us

       Sign up for our Senergy SpotLight newsletter: Click here

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                                                                                                                     APP 0068
 Case 3:24-cv-01852-E                 Document 48-1               Filed 10/11/24             Page 78 of 340             PageID 911

  From: Scott Tennant stennant@senergy.us
Subject: BANK WIRE - August 2020 device IP
   Date: September 8, 2020 at 10:14 AM
     To: Jerald L Tennant jltennant@mac.com


       I have just deposited $36450 to TFL.

       Thanks

       Scot

       Scott Tennant, CEO
       Get well • Be well • Live well®




       Senergy Medical Group®
       9901 Valley Ranch Pkwy East - Ste 1009 Irving, TX 75063
       972-580-0545 Office
       mailto: stennant@senergy.us

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                                                                                                                     APP 0069
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  From: Scott Tennant stennant@senergy.us
Subject: Bank wire for TFL from Senergy
   Date: December 10, 2020 at 4:53 PM
     To: Jerald L Tennant jltennant@mac.com


       I’ve just bank wired $21,750 to TFL for the devices from November.

       Scott

       Scott Tennant, CEO
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       Senergy Medical Group®
       9901 Valley Ranch Pkwy East - Ste 1009 Irving, TX 75063
       972-580-0545 Office
       mailto: stennant@senergy.us

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             2020 NOV JLT payment - BTCW-R                               2020 NOV JLT payment - TB4P &
             & BT-PRO purchases.xlsx                                     Pro4P purchases.xlsx




                                                                                                                     APP 0070
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               A - EXHIBIT 14




                                                                         APP 0071
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                                                                         APP 0072
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               A - EXHIBIT 15




                                                                         APP 0073
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                                                                         APP 0074
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                                                                         APP 0075
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               A - EXHIBIT 16




                                                                         APP 0076
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                                                                         APP 0077
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                          Trng Course     BioTransducer
         BM4p $200 /   Officiating $100 / BTCW/BT Pro
 2024    BMTP $ 400    Rylty New Dev $50       $400         Totals      New Devices
  Jan      $9,200.00       $4,950.00        $10,400.00    $24,550.00        58
  Feb     $19,200.00       $9,000.00        $22,000.00    $50,200.00       114
 Mar       $7,240.00       $3,600.00         $8,400.00    $19,240.00        45
  Apr                                                       $0.00            0
 May                                                        $0.00            0
  Jun                                                       $0.00            0
  Jul                                                       $0.00            0
 Aug                                                        $0.00            0
 Sep                                                        $0.00            0
  Oct                                                       $0.00            0
 Nov                                                        $0.00            0
 Dec                                                        $0.00            0
Totals   $35,640.00       $17,550.00       $40,800.00     $93,990.00       217




                          Trng Course     BioTransducer
         BM4p $200 /   Officiating $100 / BTCW/BT Pro
 2023    BMTP $ 400    Rylty New Dev $50       $400          Totals     New Devices
  Jan      $8,400.00        $3,750.00        $9,200.00    $21,350.00        47
  Feb     $12,200.00        $6,000.00       $10,000.00    $28,200.00        65
 Mar       $9,400.00        $4,050.00        $9,200.00    $22,650.00        50
  Apr      $8,600.00        $4,050.00        $8,400.00    $21,050.00        48
 May      $15,000.00        $7,200.00       $17,600.00    $39,800.00        88
  Jun     $11,400.00        $5,700.00       $10,400.00    $27,500.00        65
  Jul      $8,600.00        $3,750.00       $10,000.00    $22,350.00        50
 Aug      $10,400.00        $4,350.00       $10,000.00    $24,750.00        54
 Sep       $6,800.00        $3,300.00        $7,200.00    $17,300.00        40
  Oct     $11,400.00        $4,500.00       $10,400.00    $26,300.00        56
 Nov      $13,600.00        $6,600.00       $16,400.00    $36,600.00        84
 Dec      $7,600.00         $3,600.00       $8,800.00     $20,000.00        46
Totals   $123,400.00       $56,850.00      $127,600.00    $307,850.00      693




                          Trng Course     BioTransducer
         BM4p $200 /   Officiating $100 / BTCW/BT Pro
 2022    BMTP $ 400    Rylty New Dev $50       $400         Totals      New Devices
  Jan      $5,200.00       $2,400.00         $6,000.00    $13,600.00        31
  Feb     $11,000.00       $5,400.00        $12,400.00    $28,800.00        68
 Mar      $14,200.00       $6,450.00        $14,400.00    $35,050.00        80



                                                                                APP 0078
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 Apr       $8,400.00    $3,900.00        $8,400.00   $20,700.00      47
 May       $7,000.00    $3,600.00        $8,400.00   $19,000.00      45
 Jun      $14,800.00    $6,450.00       $14,800.00   $36,050.00      81
 Jul       $7,600.00    $3,450.00        $8,000.00   $19,050.00      45
 Aug      $16,200.00    $6,900.00       $15,200.00   $38,300.00      84
 Sep       $7,000.00    $3,300.00        $8,000.00   $18,300.00      43
 Oct       $8,400.00    $3,600.00        $8,000.00   $20,000.00      46
 Nov       $9,000.00    $4,050.00       $10,000.00   $23,050.00      51
 Dec      $13,200.00    $5,250.00       $14,000.00   $32,450.00      70
Totals   $122,000.00   $54,750.00      $127,600.00   $304,350.00     691




                                                                           APP 0079
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  BM4p         BMTP         BTCW         BT Pro II      Actual Paid $   Money Owed $
   18           14           12             14           $24,550.00        $0.00
   22           37            8             47           $50,200.00        $0.00
   10           14            4             17           $19,240.00        $0.00
    0            0            0              0                             $0.00
    0            0            0              0                             $0.00
    0            0            0              0                             $0.00
    0            0            0              0                             $0.00
    0            0            0              0                             $0.00
    0            0            0              0                             $0.00
    0            0            0              0                             $0.00
    0            0            0              0                             $0.00
    0            0            0              0                             $0.00
   50           65           24             78          $93,990.00         $0.00




  BM4p         BMTP         BTCW         BT Pro II      Actual Paid $   Money Owed $
    7           18            0             22           $19,800.00      $1,550.00
   19           21            0             25           $28,200.00         $0.00
    7           20            0             23           $22,650.00         $0.00
   11           16            0             21           $19,150.00      $1,900.00
   19           28            0             41           $40,000.00       -$200.00
   17           21            0             27           $27,750.00       -$250.00
    7           18            0             25           $23,150.00       -$800.00
    6           23            0             25           $24,000.00       $750.00
   10           12            0             18           $17,300.00         $0.00
    3           27            0             26           $27,050.00       -$750.00
   19           24            4             37           $36,600.00         $0.00
   10           14            3             19           $19,250.00       $750.00
   135          242           7            309          $304,900.00      $2,950.00




  BM4p         BMTP         BTCW         BT Pro II      Actual Paid $   Money Owed $
    5           11            1             14           $13,600.00        $0.00
   19           18            4             27           $28,800.00        $0.00
   14           29            1             36           $31,200.00      $3,850.00



                                                                             APP 0080
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   10           16            2           19             $20,700.00      $0.00
   13           11            1           20             $19,950.00    -$950.00
   10           33            0           38             $36,850.00    -$800.00
    7           17            0           21             $19,050.00      $0.00
   12           34            0           38             $38,300.00      $0.00
    8           14            0           21             $18,300.00      $0.00
    6           19            0           21             $20,400.00    -$400.00
    9           18            0           24             $23,050.00      $0.00
    4           31            0           35             $20,400.00   $12,050.00
   117          251           9           314           $290,600.00   $13,750.00




                                                                            APP 0081
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                            Device        Retail          Cost      Gross Profit
                            BM4p        $2,999.00        $750.00     $2,249.00
                            BMTP        $7,650.00       $1,800.00    $5,850.00
                            BTCW        $3,500.00        $950.00     $2,550.00
                            BT Pro      $5,500.00       $1,320.00    $4,180.00




                                           `




                                                                           APP 0082
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                  Associated
Minus Royalties Overhead Costs   SMG Profit
   $350.00        $1,403.60       $495.40
   $550.00        $2,998.60      $2,301.40
   $550.00        $1,914.00        $86.00
   $550.00        $2,386.12      $1,243.88




                                                                                APP 0083
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                                                                         Trng Course
                                                 BM4p $200 / BMTP $   Officiating $100 /     BioTransducer
  Jan-24      Name                                      400           Rylty New Dev $50    BTCW/BT Pro $400
 1/1/2024   Redacted Customer Names for Filing
                                                      $200.00              $150.00               $0.00
 1/3/2024                                             $400.00              $150.00              $400.00
 1/4/2024                                             $200.00              $150.00              $400.00
 1/4/2024                                             $400.00              $150.00              $400.00
 1/9/2024                                             $400.00              $150.00              $400.00
 1/9/2024                                             $400.00              $150.00              $400.00
1/10/2024                                             $200.00              $150.00              $400.00
1/11/2024                                             $200.00              $150.00               $0.00
1/11/2024                                             $200.00              $150.00               $0.00
1/12/2024                                             $200.00              $150.00               $0.00
1/14/2024                                             $400.00              $150.00              $400.00
1/15/2024                                             $400.00              $150.00              $400.00
1/15/2024                                             $400.00              $150.00              $400.00
1/16/2024                                             $400.00              $150.00              $400.00
1/16/2024                                             $200.00              $150.00               $0.00
1/19/2024                                             $200.00              $150.00              $400.00
1/22/2024                                             $200.00              $150.00              $400.00
1/23/2024                                             $200.00              $150.00              $400.00
1/23/2024                                             $200.00              $150.00              $400.00
1/24/2024                                             $200.00              $150.00              $400.00
1/24/2024                                              $0.00               $150.00              $400.00
1/24/2024                                             $400.00              $150.00              $400.00
1/24/2024                                             $400.00              $150.00              $400.00
1/25/2024                                             $200.00              $150.00               $0.00
1/26/2024                                             $200.00              $150.00              $400.00
1/26/2024                                             $200.00              $150.00              $400.00
1/26/2024                                             $200.00              $150.00              $400.00
1/26/2024                                             $400.00              $150.00              $400.00
1/29/2024                                             $200.00              $150.00              $400.00
1/30/2024                                             $200.00              $150.00               $0.00
1/30/2024                                             $400.00              $150.00              $400.00
1/31/2024                                             $400.00              $150.00              $400.00
1/31/2024                                             $400.00              $150.00              $400.00
                                                     $9,200.00            $4,950.00            $10,400.00

                            JLT=royl + training course                    $4,950.00
                          BioMod=BM4p 200/BMTP 400                        $9,200.00
                         BioTransducer BTCW/BT Pro 400                   $10,400.00



                                                                                                                                            APP 0084
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                         $24,550.00




                                                                                      APP 0085
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                                                                         Trng Course
                                                 BM4p $200 / BMTP $   Officiating $100 /       BioTransducer
  Feb-24      Name                                      400           Rylty New Dev $50      BTCW/BT Pro $400
2/29/2024   Redacted Customer Names for Filing        $200.00              $150.00                $400.00
2/12/2024                                             $200.00              $150.00                 $0.00
2/21/2024                                             $200.00              $150.00                $400.00
2/12/2024                                             $200.00              $150.00                 $0.00
2/29/2024                                             $400.00              $150.00                $400.00
2/29/2024                                             $400.00              $150.00                $400.00
2/2/2024                                              $400.00              $150.00                $400.00
2/8/2024                                              $200.00              $150.00                $400.00
2/23/2024                                             $400.00              $150.00                $400.00
2/28/2024                                             $400.00              $150.00                $400.00
2/29/2024                                             $400.00              $150.00                $400.00
2/24/2024                                             $400.00              $150.00                $400.00
2/8/2024                                              $200.00              $150.00                 $0.00
2/28/2024                                             $400.00              $150.00                $400.00
2/12/2024                                             $400.00              $150.00                $400.00
2/26/2024                                             $400.00              $150.00                $400.00
2/12/2024                                             $200.00              $150.00                $400.00
2/19/2024                                             $400.00              $150.00                $400.00
2/2/2024                                              $200.00              $150.00                $400.00
2/23/2024                                             $400.00              $150.00                 $0.00
2/15/2024                                             $200.00              $150.00                $400.00
2/26/2024                                             $400.00              $150.00                $400.00
2/22/2024                                             $200.00              $150.00                $400.00
2/22/2024                                             $400.00              $150.00                $400.00
2/22/2024                                             $400.00              $150.00                $400.00
2/24/2024                                             $400.00              $150.00                $400.00
2/12/2024                                             $400.00              $150.00                $400.00
2/15/2024                                             $200.00              $150.00                 $0.00
2/29/2024                                             $400.00              $150.00                $400.00
2/26/2024                                             $400.00              $150.00                $400.00
2/29/2024                                             $400.00              $150.00                $400.00
2/2/2024                                              $400.00              $150.00                $400.00
2/23/2024                                             $400.00              $150.00                $400.00
2/9/2024                                              $200.00              $150.00                $400.00
2/2/2024                                              $200.00              $150.00                $400.00
2/19/2024                                             $200.00              $150.00               $400.00
2/29/2024                                             $400.00              $150.00               $400.00
2/28/2024                                             $200.00              $150.00               $400.00



                                                                                                                                              APP 0086
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2/29/2024                                        $400.00          $150.00        $400.00
            Redacted Customer Names for Filing




                                                                                                                           APP 0087
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2/29/2024   Redacted Customer Names for Filing
                                                  $400.00            $150.00          $400.00
2/22/2024                                         $200.00            $150.00          $400.00
2/9/2024                                          $400.00            $150.00          $400.00
2/9/2024                                          $200.00            $150.00          $400.00
2/29/2024                                         $400.00            $150.00          $400.00
2/29/2024                                         $200.00            $150.00          $400.00
2/28/2024                                         $400.00            $150.00          $400.00
2/16/2024                                          $0.00             $150.00          $400.00
2/1/2024                                          $200.00            $150.00          $400.00
2/28/2024                                         $400.00            $150.00          $400.00
2/8/2024                                          $200.00            $150.00          $400.00
2/9/2024                                          $200.00            $150.00          $400.00
2/16/2024                                         $400.00            $150.00          $400.00
2/6/2024                                          $200.00            $150.00          $400.00
2/19/2024                                         $400.00            $150.00          $400.00
2/29/2024                                         $400.00            $150.00          $400.00
2/26/2024                                         $400.00            $150.00          $400.00
2/29/2024                                         $400.00            $150.00          $400.00
2/20/2024                                         $400.00            $150.00          $400.00
2/7/2024                                          $400.00            $150.00          $400.00
2/6/2024                                          $400.00            $150.00          $400.00
                                                 $19,200.00         $9,000.00        $22,000.00

                              JLT=royl + training course             $9,000.00
                            BioMod=BM4p 200/BMTP 400                $19,200.00
                           BioTransducer BTCW/BT Pro 400            $22,000.00
                                                                    $50,200.00




                                                                                                                                APP 0088
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                                                    Trng Course
               BM4p $200 / BMTP $                Officiating $100 /     BioTransducer      BioTransducer
 Mar-24              400                         Rylty New Dev $50    BTCW/BT Pro $400    BTCW/BT Pro 400
            Redacted Customer Names for Filing
3/5/2024                                              $200.00              $150.00             $0.00
3/11/2024                                             $400.00              $150.00            $400.00
3/11/2024                                             $400.00              $150.00            $400.00
3/11/2024                                             $400.00              $150.00            $400.00
3/12/2024                                             $200.00              $150.00            $400.00
3/12/2024                                             $200.00              $150.00             $0.00
3/12/2024                                             $200.00              $150.00            $400.00
3/14/2024                                             $400.00              $150.00            $400.00
3/16/2024                                             $200.00              $150.00            $400.00
3/16/2024                                             $400.00              $150.00            $400.00
3/16/2024                                             $400.00              $150.00            $400.00
3/16/2024                                             $400.00              $150.00            $400.00
3/18/2024                                             $400.00              $150.00            $400.00
3/18/2024                                             $400.00              $150.00            $400.00
3/18/2024                                             $400.00              $150.00            $400.00
3/18/2024                                             $200.00              $150.00            $400.00
3/18/2024                                              $40.00              $150.00            $400.00
3/19/2024                                             $200.00              $150.00            $400.00
3/20/2024                                             $200.00              $150.00             $0.00
3/21/2024                                             $200.00              $150.00            $400.00
3/21/2024                                             $400.00              $150.00            $400.00
3/25/2024                                             $400.00              $150.00            $400.00
3/28/2024                                             $200.00              $150.00            $400.00
3/28/2024                                             $400.00              $150.00            $400.00
                                                     $7,240.00            $3,600.00          $8,400.00

                           JLT=royl + training course                     $3,600.00
                         BioMod=BM4p 200/BMTP 400                         $7,240.00
                        BioTransducer BTCW/BT Pro 400                     $8,400.00
                                                                         $19,240.00




                                                                                                                                          APP 0089
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                                                                       Trng Course
                                                    BM4p $200 /     Officiating $100 /  BioTransducer
  Jan-23       Name                                 BMTP $ 400      Rylty New Dev $50 BTCW/BT Pro $400
             Redacted Customer Names for Filing
12/1/2023                                             $200.00           $150.00           $400.00
12/1/2023                                             $400.00           $150.00           $400.00
12/1/2023                                             $400.00           $150.00           $400.00
12/4/2023                                             $200.00           $150.00           $400.00
12/4/2023                                             $400.00           $150.00           $400.00
12/5/2023                                             $200.00           $150.00           $400.00
12/6/2023                                             $200.00           $150.00           $400.00
12/6/2023                                             $400.00           $150.00           $400.00
12/6/2023                                             $400.00           $150.00           $400.00
12/6/2023                                             $400.00           $150.00           $400.00
12/7/2023                                             $400.00           $150.00           $400.00
12/7/2023                                             $400.00           $150.00           $400.00
12/7/2023                                             $400.00           $150.00           $400.00
12/10/2023                                            $400.00           $150.00           $400.00
12/11/2023                                            $400.00           $150.00           $400.00
12/12/2023                                            $400.00           $150.00           $400.00
12/13/2023                                            $400.00           $150.00           $400.00
12/14/2023                                            $200.00           $150.00           $400.00
12/15/2023                                            $400.00           $150.00           $400.00
12/19/2023                                            $200.00           $150.00
12/21/2023                                            $200.00           $150.00           $400.00
12/21/2023                                            $200.00           $150.00           $400.00
12/21/2023                                    DO      $200.00           $150.00
12/29/2023                                            $200.00           $150.00           $400.00
                                                     $7,600.00         $3,600.00         $8,800.00


                                 BM4p $200 / BMTP $ 400                $7,600.00
                 Trng Course Officiating $100 / Rylty New Dev $50      $3,600.00
                           BioTransducer BTCW/BT Pro $400              $8,800.00
                                                                       $20,000.00




                                                                                                                          APP 0090
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                                                                      Trng Course
                                                   BM4p $200 /     Officiating $100 /  BioTransducer
  Feb-23        Name                               BMTP $ 400      Rylty New Dev $50 BTCW/BT Pro $400
 2/1/2023    Redacted Customer Names for Filing      $400.00           $150.00           $400.00
 2/2/2023                                            $200.00           $150.00           $400.00
 2/3/2023                                            $200.00           $150.00
 2/3/2023                                            $400.00           $150.00           $400.00
 2/6/2023                                            $200.00           $150.00
 2/6/2023                                            $400.00           $150.00
 2/8/2023                                            $400.00           $150.00           $400.00
 2/8/2023                                            $400.00           $150.00
 2/13/2023                                           $200.00           $150.00
 2/14/2023                                           $400.00           $150.00           $400.00
 2/15/2023                                           $200.00           $150.00
 2/16/2023                                           $400.00           $150.00           $400.00
 2/16/2023                                           $400.00           $150.00           $400.00
 2/17/2023                                           $200.00           $150.00
 2/21/2023                                           $200.00           $150.00           $400.00
 2/22/2023                                           $200.00           $150.00
 2/22/2023                                           $200.00           $150.00
 2/23/2023                                           $200.00           $150.00           $400.00
 2/23/2023                                           $400.00           $150.00           $400.00
 2/23/2023                                           $400.00           $150.00           $400.00
 2/23/2023                                           $400.00           $150.00           $400.00
 2/23/2023                                           $400.00           $150.00           $400.00
 2/24/2023                                           $400.00           $150.00           $400.00
 2/24/2023                                           $400.00           $150.00           $400.00
 2/24/2023                                           $400.00           $150.00           $400.00
 2/24/2023                                           $200.00           $150.00
 2/24/2023                                           $200.00           $150.00           $400.00
 2/24/2023                                           $200.00           $150.00
 2/25/2023                                           $200.00           $150.00           $400.00
 2/25/2023                                           $400.00           $150.00           $400.00
 2/26/2023                                           $200.00           $150.00
 2/26/2023                                           $400.00           $150.00           $400.00
 2/26/2023                                           $200.00           $150.00           $400.00
 2/27/2023                                           $400.00           $150.00           $400.00
 2/27/2023                                           $200.00           $150.00
 2/27/2023                                           $200.00           $150.00
 2/28/2023                                           $400.00           $150.00           $400.00
 2/28/2023                                           $400.00           $150.00           $400.00
 2/28/2023                                           $200.00           $150.00
 2/28/2023                                           $400.00           $150.00           $400.00
                                                   $12,200.00         $6,000.00        $10,000.00


                             BM4p $200 / BMTP $ 400                   $12,200.00
                Trng Course Officiating $100 / Rylty New Dev $50      $6,000.00
                         BioTransducer BTCW/BT Pro $400               $10,000.00
                                                                      $28,200.00




                                                                                                                          APP 0091
Case 3:24-cv-01852-E                               Document 48-1                Filed 10/11/24       Page 101 of 340    PageID 934
                                                                   Trng Course
                                                  BM4p $200 /   Officiating $100 /  BioTransducer
  Mar-23         Name                             BMTP $ 400    Rylty New Dev $50 BTCW/BT Pro $400
 3/1/2023    Redacted Customer Names for Filing
                                                    $400.00         $150.00           $400.00
 3/1/2023                                           $200.00         $150.00           $400.00
 3/2/2023                                           $200.00         $150.00
 3/3/2023                                           $400.00         $150.00           $400.00
 3/6/2023                                           $400.00         $150.00           $400.00
 3/7/2023                                           $400.00         $150.00           $400.00
 3/8/2023                                           $400.00         $150.00           $400.00
 3/9/2023                                           $200.00         $150.00
 3/9/2023                                           $400.00         $150.00           $400.00
 3/10/2023                                          $400.00         $150.00           $400.00
 3/10/2023                                          $400.00         $150.00           $400.00
 3/10/2023                                          $200.00         $150.00           $400.00
 3/13/2023                                          $400.00         $150.00           $400.00
 3/15/2023                                          $400.00         $150.00           $400.00
 3/16/2023                                          $400.00         $150.00           $400.00
 3/17/2023                                          $400.00         $150.00           $400.00
 3/20/2023                                          $400.00         $150.00           $400.00
 3/20/2023                                          $400.00         $150.00           $400.00
 3/20/2023                                          $400.00         $150.00           $400.00
 3/21/2023                                          $400.00         $150.00           $400.00
 3/23/2023                                          $400.00         $150.00           $400.00
 3/25/2023                                          $200.00         $150.00
 3/25/2023                                          $400.00         $150.00           $400.00
 3/27/2023                                          $400.00         $150.00           $400.00
 3/28/2023                                          $400.00         $150.00           $400.00
 3/31/2023                                          $200.00         $150.00
 3/31/2023                                          $200.00         $150.00           $400.00
                                                   $9,400.00       $4,050.00         $9,200.00


                             BM4p $200 / BMTP $ 400                $9,400.00
              Trng Course Officiating $100 / Rylty New Dev $50     $4,050.00
                        BioTransducer BTCW/BT Pro $400             $9,200.00
                                                                   $22,650.00




                                                                                                                       APP 0092
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                                                                    Trng Course
                                                   BM4p $200 /   Officiating $100 /  BioTransducer
  Apr-23         Name                              BMTP $ 400    Rylty New Dev $50 BTCW/BT Pro $400
 4/3/2023     Redacted Customer Names for Filing
                                                     $400.00         $150.00           $400.00
 4/5/2023                                            $200.00         $150.00
 4/5/2023                                            $400.00         $150.00           $400.00
 4/5/2023                                            $200.00         $150.00
 4/11/2023                                           $400.00         $150.00           $400.00
 4/12/2023                                           $400.00         $150.00           $400.00
 4/12/2023                                           $400.00         $150.00           $400.00
 4/12/2023                                           $400.00         $150.00           $400.00
 4/13/2023                                           $200.00         $150.00           $400.00
 4/13/2023                                           $400.00         $150.00           $400.00
 4/13/2023                                           $400.00         $150.00           $400.00
 4/14/2023                                           $200.00         $150.00
 4/17/2023                                           $200.00         $150.00           $400.00
 4/18/2023                                           $400.00         $150.00           $400.00
 4/18/2023                                           $200.00         $150.00           $400.00
 4/21/2023                                           $400.00         $150.00           $400.00
 4/21/2023                                           $200.00         $150.00
 4/21/2023                                           $400.00         $150.00           $400.00
 4/23/2023                                           $400.00         $150.00           $400.00
 4/25/2023                                           $400.00         $150.00           $400.00
 4/25/2023                                           $200.00         $150.00
 4/25/2023                                           $200.00         $150.00           $400.00
 4/25/2023                                           $400.00         $150.00           $400.00
 4/25/2023                                           $200.00         $150.00
 4/26/2023                                           $200.00         $150.00           $400.00
 4/27/2023                                           $400.00         $150.00           $400.00
 4/30/2023                                           $400.00         $150.00           $400.00
                                                    $8,600.00       $4,050.00         $8,400.00


                            BM4p $200 / BMTP $ 400                  $8,600.00
             Trng Course Officiating $100 / Rylty New Dev $50 $4,050.00
                      BioTransducer BTCW/BT Pro $400                $8,400.00
                                                                    $21,050.00




                                                                                                                        APP 0093
Case 3:24-cv-01852-E                               Document 48-1                Filed 10/11/24       Page 103 of 340    PageID 936
                                                                   Trng Course
                                                  BM4p $200 /   Officiating $100 /  BioTransducer
  May-23        Name                              BMTP $ 400    Rylty New Dev $50 BTCW/BT Pro $400
 5/1/2023    Redacted Customer Names for Filing
                                                    $400.00         $150.00           $400.00
 5/2/2023                                           $200.00         $150.00           $400.00
 5/3/2023                                           $400.00         $150.00           $400.00
 5/4/2023                                           $400.00         $150.00           $400.00
 5/4/2023                                           $400.00         $150.00           $400.00
 5/5/2023                                           $400.00         $150.00           $400.00
 5/5/2023                                           $400.00         $150.00           $400.00
 5/8/2023                                           $400.00         $150.00           $400.00
 5/8/2023                                           $200.00         $150.00           $400.00
 5/8/2023                                           $400.00         $150.00           $400.00
 5/9/2023                                           $200.00         $150.00           $400.00
 5/10/2023                                          $400.00         $150.00           $400.00
 5/10/2023                                          $200.00         $150.00
 5/10/2023                                          $400.00         $150.00           $400.00
 5/10/2023                                          $400.00         $150.00           $400.00
 5/10/2023                                          $400.00         $150.00           $400.00
 5/11/2023                                          $400.00         $150.00           $400.00
 5/11/2023                                          $200.00         $150.00           $400.00
 5/11/2023                                          $400.00         $150.00           $400.00
 5/11/2023                                          $200.00         $150.00           $400.00
 5/11/2023                                          $400.00         $150.00           $400.00
 5/12/2023                                          $200.00         $150.00           $400.00
 5/15/2023                                          $400.00         $150.00           $400.00
 5/15/2023                                          $400.00         $150.00           $400.00
 5/16/2023                                          $400.00         $150.00           $400.00
 5/16/2023                                          $400.00         $150.00           $400.00
 5/23/2023                                          $400.00         $150.00           $400.00
 5/23/2023                                          $200.00         $150.00
 5/23/2023                                          $400.00         $150.00           $400.00
 5/24/2023                                          $400.00         $150.00           $400.00
 5/24/2023                                          $200.00         $150.00           $400.00
 5/24/2023                                          $200.00         $150.00           $400.00
 5/24/2023                                          $400.00         $150.00           $400.00
 5/25/2023                                          $200.00         $150.00           $400.00
 5/25/2023                                          $200.00         $150.00           $400.00
 5/25/2023                                          $400.00         $150.00           $400.00
 5/26/2023                                          $400.00         $150.00           $400.00
 5/26/2023                                          $200.00         $150.00           $400.00
 5/26/2023                                          $200.00         $150.00
 5/27/2023                                          $400.00         $150.00           $400.00
 5/29/2023                                          $200.00         $150.00           $400.00
 5/30/2023                                          $200.00         $150.00           $400.00
 5/31/2023                                          $400.00         $150.00           $400.00
 5/31/2023                                          $200.00         $150.00
 5/31/2023                                          $200.00         $150.00           $400.00
 5/31/2023                                          $200.00         $150.00           $400.00
 5/31/2023                                          $200.00         $150.00           $400.00
 5/31/2023                                          $400.00         $150.00           $400.00
                                                  $15,200.00       $7,200.00        $17,600.00


                             BM4p $200 / BMTP $ 400                $15,200.00
             Trng Course Officiating $100 / Rylty New Dev $50      $7,200.00
                       BioTransducer BTCW/BT Pro $400              $17,600.00
                                                                   $40,000.00




                                                                                                                       APP 0094
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                                                   BioMod=BM4p    JLT=royl + training BioTransducer
  Jun-23         Name                              200/BMTP 400        course         BTCW/BT Pro 400
             Redacted Customer Names for Filing
 6/1/2023                                            $200.00          $150.00            $400.00
 6/1/2023                                            $200.00          $150.00
 6/1/2023                                            $200.00          $150.00            $400.00
 6/1/2023                                            $200.00          $150.00
 6/2/2023                                            $200.00          $150.00            $400.00
 6/4/2023                                            $400.00          $150.00            $400.00
 6/7/2023                                            $400.00          $150.00            $400.00
 6/7/2023                                            $400.00          $150.00            $400.00
 6/8/2023                                            $400.00          $150.00            $400.00
 6/8/2023                                            $400.00          $150.00            $400.00
 6/12/2023                                           $400.00          $150.00            $400.00
 6/13/2023                                           $400.00          $150.00            $400.00
 6/13/2023                                           $400.00          $150.00            $400.00
 6/13/2023                                           $400.00          $150.00            $400.00
 6/14/2023                                           $200.00          $150.00
 6/14/2023                                           $400.00          $150.00            $400.00
 6/15/2023                                           $200.00          $150.00            $400.00
 6/16/2023                                           $200.00          $150.00            $400.00
 6/16/2023                                           $400.00          $150.00            $400.00
 6/16/2023                                           $400.00          $150.00            $400.00
 6/16/2023                                           $200.00          $150.00
 6/16/2023                                           $400.00          $150.00            $400.00
 6/17/2023                                           $200.00          $150.00
 6/19/2023                                    na     $200.00          $150.00            $400.00
 6/20/2023                                           $200.00          $150.00
 6/20/2023                                           $200.00          $150.00            $400.00
 6/20/2023                                           $200.00          $150.00
 6/21/2023                                           $200.00          $150.00            $400.00
 6/22/2023                                           $400.00          $150.00            $400.00
 6/22/2023                                           $400.00          $150.00            $400.00
 6/23/2023                                           $400.00          $150.00            $400.00
 6/23/2023                                           $200.00          $150.00
 6/27/2023                                           $400.00          $150.00            $400.00
 6/27/2023                                           $200.00          $150.00
 6/28/2023                                           $400.00          $150.00            $400.00
 6/28/2023                                           $400.00          $150.00            $400.00
 6/29/2023                                           $400.00          $150.00
                                                    $11,400.00       $5,550.00         $10,800.00


                          BioMod=BM4p 200/BMTP 400                   $11,400.00
                             JLT=royl + training course              $5,550.00
                        BioTransducer BTCW/BT Pro 400                $10,800.00
                                                                     $27,750.00




                                                                                                                          APP 0095
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                                                                     Trng Course
                                                  BM4p $200 /     Officiating $100 /  BioTransducer
  Jul-23        Name                              BMTP $ 400      Rylty New Dev $50 BTCW/BT Pro $400
             Redacted Customer Names for Filing
 7/6/2023                                           $400.00           $150.00           $400.00
 7/7/2023                                           $400.00           $150.00           $400.00
 7/10/2023                                          $400.00           $150.00           $400.00
 7/11/2023                                          $200.00           $150.00           $400.00
 7/11/2023                                          $400.00           $150.00           $400.00
 7/11/2023                                          $400.00           $150.00           $400.00
 7/12/2023                                          $200.00           $150.00           $400.00
 7/13/2023                                          $400.00           $150.00           $400.00
 7/14/2023                                          $400.00           $150.00           $400.00
 7/14/2023                                          $200.00           $150.00           $400.00
 7/19/2023                                          $200.00           $150.00           $400.00
 7/19/2023                                          $400.00           $150.00           $400.00
 7/19/2023                                          $400.00           $150.00           $400.00
 7/19/2023                                          $400.00           $150.00           $400.00
 7/19/2023                                          $400.00           $150.00           $400.00
 7/20/2023                                          $400.00           $150.00           $400.00
 7/20/2023                                          $400.00           $150.00           $400.00
 7/21/2023                                          $400.00           $150.00           $400.00
 7/21/2023                                          $400.00           $150.00           $400.00
 7/24/2023                                          $200.00           $150.00           $400.00
 7/24/2023                                          $200.00           $150.00           $400.00
 7/25/2023                                          $400.00           $150.00           $400.00
 7/27/2023                                          $400.00           $150.00           $400.00
 7/31/2023                                          $200.00           $150.00           $400.00
 7/31/2023                                          $400.00           $150.00           $400.00
                                                   $8,600.00         $3,750.00        $10,000.00


                             BM4p $200 / BMTP $ 400                  $8,600.00
               Trng Course Officiating $100 / Rylty New Dev $50      $3,750.00
                        BioTransducer BTCW/BT Pro $400               $10,000.00
                                                                     $22,350.00




                                                                                                                         APP 0096
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                                                                      Trng Course
                                                   BM4p $200 /     Officiating $100 /  BioTransducer
  Aug-23        Name                               BMTP $ 400      Rylty New Dev $50 BTCW/BT Pro $400
             Redacted Customer Names for Filing
 8/1/2023                                            $200.00           $150.00           $400.00
 8/2/2023                                            $200.00           $150.00
 8/3/2023                                            $400.00           $150.00           $400.00
 8/8/2023                                            $200.00           $150.00
 8/8/2023                                            $200.00           $150.00
 8/10/2023                                           $400.00           $150.00           $400.00
 8/11/2023                                           $400.00           $150.00           $400.00
 8/11/2023                                           $400.00           $150.00           $400.00
 8/11/2023                                           $400.00           $150.00           $400.00
 8/14/2023                                           $200.00           $150.00           $400.00
 8/14/2023                                           $400.00           $150.00           $400.00
 8/15/2023                                           $400.00           $150.00           $400.00
 8/16/2023                                           $400.00           $150.00           $400.00
 8/16/2023                                           $400.00           $150.00           $400.00
 8/17/2023                                           $400.00           $150.00           $400.00
 8/18/2023                                           $400.00           $150.00           $400.00
 8/20/2023                                           $400.00           $150.00           $400.00
 8/21/2023                                           $400.00           $150.00           $400.00
 8/21/2023                                           $400.00           $150.00           $400.00
 8/21/2023                                           $400.00           $150.00           $400.00
 8/24/2023                                           $400.00           $150.00           $400.00
 8/25/2023                                           $400.00           $150.00           $400.00
 8/25/2023                                           $400.00           $150.00           $400.00
 8/25/2023                                           $400.00           $150.00           $400.00
 8/29/2023                                           $200.00           $150.00
 8/29/2023                                           $400.00           $150.00           $400.00
 8/31/2023                                           $400.00           $150.00           $400.00
 8/31/2023                                           $400.00           $150.00           $400.00
 8/31/2023                                           $400.00           $150.00           $400.00
                                                   $10,400.00         $4,350.00        $10,000.00


                             BM4p $200 / BMTP $ 400                   $10,400.00
                Trng Course Officiating $100 / Rylty New Dev $50      $4,350.00
                         BioTransducer BTCW/BT Pro $400               $10,000.00
                                                                      $24,750.00




                                                                                                                          APP 0097
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                                                                    Trng Course
                                                   BM4p $200 /   Officiating $100 /  BioTransducer
  Sep-23          Name                             BMTP $ 400    Rylty New Dev $50 BTCW/BT Pro $400
              Redacted Customer Names for Filing
 9/1/2023                                            $400.00         $150.00           $400.00
 9/1/2023                                            $400.00         $150.00           $400.00
 9/4/2023                                            $400.00         $150.00           $400.00
 9/5/2023                                     ran Affairs
                                                     $200.00         $150.00
 9/5/2023                                            $400.00         $150.00           $400.00
 9/11/2023                                           $200.00         $150.00           $400.00
 9/11/2023                                           $400.00         $150.00           $400.00
 9/13/2023                                           $200.00         $150.00           $400.00
 9/14/2023                                    o      $400.00         $150.00           $400.00
 9/14/2023                                           $200.00         $150.00           $400.00
 9/14/2023                                           $400.00         $150.00           $400.00
 9/14/2023                                           $400.00         $150.00           $400.00
 9/15/2023                                           $200.00         $150.00           $400.00
 9/18/2023                                           $200.00         $150.00           $400.00
 9/21/2023                                           $200.00         $150.00           $400.00
 9/21/2023                                           $400.00         $150.00           $400.00
 9/21/2023                                           $200.00         $150.00
 9/22/2023                                           $400.00         $150.00
 9/27/2023                                           $200.00         $150.00           $400.00
 9/28/2023                                           $400.00         $150.00           $400.00
 9/28/2023                                           $400.00         $150.00           $400.00
 9/28/2023                                           $200.00         $150.00
                                                    $6,800.00       $3,300.00         $7,200.00


                            BM4p $200 / BMTP $ 400                  $6,800.00
             Trng Course Officiating $100 / Rylty New Dev $50 $3,300.00
                      BioTransducer BTCW/BT Pro $400                $7,200.00
                                                                    $17,300.00




                                                                                                                        APP 0098
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                                                                         Trng Course
                                                      BM4p $200 /     Officiating $100 /  BioTransducer
  Oct-23         Name                                 BMTP $ 400      Rylty New Dev $50 BTCW/BT Pro $400
 10/1/2023    Redacted Customer Names for Filing        $400.00           $150.00           $400.00
 10/3/2023                                              $400.00           $150.00           $400.00
 10/4/2023                                              $400.00           $150.00           $400.00
 10/5/2023                                              $400.00           $150.00           $400.00
 10/6/2023                                              $400.00           $150.00           $400.00
 10/6/2023                                              $400.00           $150.00           $400.00
 10/10/2023                                             $400.00           $150.00           $400.00
 10/10/2023                                             $400.00           $150.00           $400.00
 10/11/2023                                             $400.00           $150.00
 10/12/2023                                             $400.00           $150.00           $400.00
 10/12/2023                                             $200.00           $150.00           $400.00
 10/13/2023                                             $400.00           $150.00           $400.00
 10/15/2023                                             $400.00           $150.00           $400.00
 10/16/2023                                             $400.00           $150.00           $400.00
 10/16/2023                                             $400.00           $150.00           $400.00
 10/16/2023                                             $400.00           $150.00           $400.00
 10/16/2023                                             $200.00           $150.00
 10/20/2023                                             $400.00           $150.00           $400.00
 10/20/2023                                             $400.00           $150.00           $400.00
 10/20/2023                                             $400.00           $150.00           $400.00
 10/20/2023                                             $400.00           $150.00           $400.00
 10/21/2023                                             $400.00           $150.00           $400.00
 10/21/2023                                             $400.00           $150.00           $400.00
 10/21/2023                                             $400.00           $150.00           $400.00
 10/24/2023                                             $400.00           $150.00
 10/24/2023                                             $400.00           $150.00           $400.00
 10/24/2023                                             $200.00           $150.00
 10/24/2023                                             $400.00           $150.00           $400.00
 10/26/2023                                             $400.00           $150.00           $400.00
 10/27/2023                                             $400.00           $150.00           $400.00
                                                      $11,400.00         $4,500.00        $10,400.00


                               BM4p $200 / BMTP $ 400                    $11,400.00
                   Trng Course Officiating $100 / Rylty New Dev $50      $4,500.00
                           BioTransducer BTCW/BT Pro $400                $10,400.00
                                                                         $26,300.00




                                                                                                                             APP 0099
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                                                                    Trng Course
                                                   BM4p $200 /   Officiating $100 /  BioTransducer
  Nov-23      Redacted Customer Names for Filing   BMTP $ 400    Rylty New Dev $50 BTCW/BT Pro $400
 11/1/2023                                           $200.00         $150.00           $400.00
 11/1/2023                                           $200.00         $150.00           $400.00
 11/1/2023                                           $400.00         $150.00           $400.00
 11/2/2023                                           $200.00         $150.00           $400.00
 11/2/2023                                           $400.00         $150.00           $400.00
 11/2/2023                                           $400.00         $150.00           $400.00
 11/3/2023                                           $400.00         $150.00           $400.00
 11/3/2023                                           $400.00         $150.00           $400.00
 11/6/2023                                           $200.00         $150.00
 11/9/2023                                           $400.00         $150.00           $400.00
 11/9/2023                                           $200.00         $150.00           $400.00
 11/9/2023                                           $200.00         $150.00           $400.00
 11/9/2023                                                           $150.00           $400.00
 11/10/2023                                          $400.00         $150.00           $400.00
 11/10/2023                                          $400.00         $150.00           $400.00
 11/10/2023                                          $200.00         $150.00           $400.00
 11/10/2023                                          $400.00         $150.00           $400.00
 11/13/2023                                          $200.00         $150.00           $400.00
 11/13/2023                                          $400.00         $150.00           $400.00
 11/15/2023                                          $200.00         $150.00
 11/20/2023                                          $400.00         $150.00           $400.00
 11/20/2023                                          $400.00         $150.00           $400.00
 11/21/2023                                          $400.00         $150.00           $400.00
 11/21/2023                                          $200.00         $150.00           $400.00
 11/21/2023                                          $400.00         $150.00           $400.00
 11/21/2023                                          $200.00         $150.00           $400.00
 11/21/2023                                          $400.00         $150.00           $400.00
 11/21/2023                                          $400.00         $150.00           $400.00
 11/24/2023                                          $200.00         $150.00           $400.00
 11/24/2023                                          $400.00         $150.00           $400.00
 11/26/2023                                          $400.00         $150.00           $400.00
 11/26/2023                                          $200.00         $150.00           $400.00
 11/27/2023                                          $400.00         $150.00           $400.00
 11/27/2023                                          $400.00         $150.00           $400.00
 11/27/2023                                          $200.00         $150.00
 11/27/2023                                          $200.00         $150.00           $400.00
 11/28/2023                                          $400.00         $150.00           $400.00
 11/28/2023                                          $200.00         $150.00           $400.00
 11/28/2023                                          $200.00         $150.00           $400.00
 11/30/2023                                          $400.00         $150.00           $400.00
 11/29/2023                                          $400.00         $150.00           $400.00
 11/30/2023                                          $400.00         $150.00           $400.00
 11/30/2023                                          $200.00         $150.00           $400.00
 11/30/2023                                          $400.00         $150.00           $400.00
                                                   $13,600.00       $6,600.00        $16,400.00


                              BM4p $200 / BMTP $ 400                $13,600.00
                Trng Course Officiating $100 / Rylty New Dev $50    $6,600.00
                         BioTransducer BTCW/BT Pro $400             $16,400.00
                                                                    $36,600.00




                                                                                                                   APP 00100
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                                                                           Trng Course
                                                       BM4p $200 /      Officiating $100 /  BioTransducer
      Dec-23         Name                              BMTP $ 400       Rylty New Dev $50 BTCW/BT Pro $400
     12/1/2023    Redacted Customer Names for Filing     $200.00            $150.00           $400.00
     12/1/2023                                           $400.00            $150.00           $400.00
     12/1/2023                                           $400.00            $150.00           $400.00
     12/4/2023                                           $200.00            $150.00           $400.00
     12/4/2023                                           $400.00            $150.00           $400.00
     12/4/2023                                           $200.00            $150.00
     12/5/2023                                           $200.00            $150.00           $400.00
     12/6/2023                                           $200.00            $150.00           $400.00
     12/6/2023                                           $400.00            $150.00           $400.00
     12/6/2023                                           $400.00            $150.00           $400.00
     12/6/2023                                           $400.00            $150.00           $400.00
     12/7/2023                                           $400.00            $150.00           $400.00
     12/7/2023                                           $400.00            $150.00           $400.00
     12/7/2023                                           $400.00            $150.00           $400.00
     12/10/2023                                          $400.00            $150.00           $400.00
     12/11/2023                                          $400.00            $150.00           $400.00
     12/12/2023                                          $400.00            $150.00           $400.00
     12/13/2023                                          $400.00            $150.00           $400.00
     12/14/2023                                          $200.00            $150.00           $400.00
     12/15/2023                                          $400.00            $150.00           $400.00
     12/21/2023                                          $200.00            $150.00           $400.00
     12/21/2023                                          $200.00            $150.00           $400.00
     12/21/2023                                          $200.00            $150.00
     12/29/2023                                          $200.00            $150.00           $400.00
                                                        $7,600.00          $3,600.00         $8,800.00


                                  BM4p $200 / BMTP $ 400                   $7,600.00
                     Trng Course Officiating $100 / Rylty New Dev $50      $3,600.00
                              BioTransducer BTCW/BT Pro $400               $8,800.00
                                                                           $20,000.00




                                                                                                                          APP 00101
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                                                                          Trng Course
                                                   BM4p $200 / BMTP    Officiating $100 /
 Jan-22       Name                                      $ 400          Rylty New Dev $50
            Redacted Customer Names for Filing
 1/5/2022                                               $400.00             $150.00
 1/7/2022                                               $200.00             $150.00
1/21/2022                                               $200.00             $150.00
1/25/2022                                               $200.00             $150.00
1/12/2022                                               $400.00             $150.00
 1/7/2022                                               $400.00             $150.00
1/31/2022                                               $400.00             $150.00
1/31/2022                                               $400.00             $150.00
1/25/2022                                               $400.00             $150.00
1/28/2022                                               $200.00             $150.00
1/12/2022                                               $400.00             $150.00
1/10/2022                                               $200.00             $150.00
1/31/2022                                               $200.00             $150.00
1/28/2022                                               $400.00             $150.00
1/10/2022                                               $400.00             $150.00
1/20/2022                                               $400.00             $150.00
                                                       $5,200.00           $2,400.00

                              BM4p $200 / BMTP $ 400                      $5,200.00
                   Trng Course Officiating $100 / Rylty New Dev $50       $2,400.00
                          BioTransducer BTCW/BT Pro $400                  $6,000.00
                                                                          $13,600.00




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                                                                                            Trng Course
  BioTransducer                                                         BM4p $200 / BMTP Officiating $100 /
BTCW/BT Pro $400        Feb-22     Name                                      $ 400       Rylty New Dev $50
    $400.00            2/11/2022   Redacted Customer Names for Filing
                                                                            $200.00            $150.00
    $400.00            2/10/2022                                            $400.00            $150.00
    $400.00            2/18/2022                                            $200.00            $150.00
    $400.00            2/28/2022                                            $200.00            $150.00
    $400.00            2/22/2022                                            $400.00            $150.00
    $400.00             2/2/2022                                            $200.00            $150.00
    $400.00             2/5/2022                                            $400.00            $150.00
    $400.00            2/14/2022                                            $200.00            $150.00
    $400.00            2/24/2022                                            $400.00            $150.00
                       2/22/2022                                            $200.00            $150.00
    $400.00            2/23/2022                                            $200.00            $150.00
    $400.00            2/24/2022                                            $400.00            $150.00
    $400.00            2/23/2022                                            $400.00            $150.00
    $400.00            2/25/2022                                            $200.00            $150.00
    $400.00             2/7/2022                                            $200.00            $150.00
    $400.00             2/9/2022                                            $400.00            $150.00
   $6,000.00            2/3/2022                                            $400.00            $150.00
                        2/9/2022                                            $400.00            $150.00
                       2/11/2022                                            $400.00            $150.00
                       2/28/2022                                            $400.00            $150.00
                       2/25/2022                                            $200.00            $150.00
                       2/15/2022                                            $400.00            $150.00
                        2/2/2022                                            $400.00            $150.00
                       2/28/2022                                            $200.00            $150.00
                       2/18/2022                                            $400.00            $150.00
                        2/2/2022                                            $200.00            $150.00
                       2/28/2022                                            $400.00            $150.00
                       2/18/2022                                            $400.00            $150.00
                        2/8/2022                                            $200.00            $150.00
                        2/9/2022                                            $400.00            $150.00
                       2/22/2022                                            $200.00            $150.00
                        2/8/2022                                            $400.00            $150.00
                       2/22/2022                                            $400.00            $150.00
                        2/3/2022                                            $200.00            $150.00
                        2/7/2022                                            $200.00            $150.00
                       2/17/2022                                            $200.00            $150.00
                                                                           $11,000.00         $5,400.00

                                              BM4p $200 / BMTP $ 400                          $11,000.00
                                   Trng Course Officiating $100 / Rylty New Dev $50            $5,400.00
                                          BioTransducer BTCW/BT Pro $400                      $12,400.00
                                                                                              $28,800.00


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                                                                                            Trng Course
  BioTransducer                                                         BM4p $200 / BMTP Officiating $100 /
BTCW/BT Pro $400        Mar-22      Name                                     $ 400       Rylty New Dev $50
                                   Redacted Customer Names for Filing
    $400.00            3/1/2022                                             $200.00            $150.00
                       3/2/2022                                             $400.00            $150.00
    $400.00            3/2/2022                                             $400.00            $150.00
                       3/2/2022                                             $400.00            $150.00
    $400.00            3/3/2022                                             $400.00            $150.00
    $400.00            3/3/2022                                             $400.00            $150.00
    $400.00            3/3/2022                                             $200.00            $150.00
    $400.00            3/3/2022                                             $200.00            $150.00
    $400.00            3/4/2022                                             $400.00            $150.00
    $400.00            3/4/2022                                             $400.00            $150.00
                       3/4/2022                                             $400.00            $150.00
    $400.00            3/4/2022                                             $400.00            $150.00
    $400.00            3/4/2022                                             $400.00            $150.00
    $400.00            3/4/2022                                             $400.00            $150.00
                       3/4/2022                                             $400.00            $150.00
    $400.00            3/4/2022                                             $400.00            $150.00
    $400.00            3/7/2022                                             $200.00            $150.00
    $400.00            3/7/2022                                             $400.00            $150.00
    $400.00            3/7/2022                                             $400.00            $150.00
    $400.00            3/8/2022                                             $200.00            $150.00
    $400.00            3/11/2022                                            $400.00            $150.00
    $400.00            3/11/2022                                            $400.00            $150.00
    $400.00            3/11/2022                                            $400.00            $150.00
    $400.00            3/11/2022                                            $200.00            $150.00
    $400.00            3/14/2022                                            $400.00            $150.00
                       3/14/2022                                            $400.00            $150.00
    $400.00            3/14/2022                                            $200.00            $150.00
    $400.00            3/15/2022                                            $400.00            $150.00
    $400.00            3/16/2022                                            $400.00            $150.00
    $400.00            3/16/2022                                            $400.00            $150.00
    $400.00            3/17/2022                                            $400.00            $150.00
    $400.00            3/17/2022                                            $200.00            $150.00
    $400.00            3/18/2022                                            $200.00            $150.00
    $400.00            3/18/2022                                            $200.00            $150.00
    $400.00            3/18/2022                                            $200.00            $150.00
    $400.00            3/26/2022                                            $400.00            $150.00
   $12,400.00          3/26/2022                                            $200.00            $150.00
                       3/28/2022                                            $400.00            $150.00
                       3/30/2022                                            $400.00            $150.00
                       3/29/2022                                            $400.00            $150.00
                       3/28/2022                                            $200.00            $150.00
                       3/31/2022                                            $200.00            $150.00


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                                   Redacted Customer Names for Filing

                       3/31/2022                                              $400.00         $150.00
                                                                             $14,400.00      $6,450.00

                                              BM4p $200 / BMTP $ 400                        $14,400.00
                                   Trng Course Officiating $100 / Rylty New Dev $50         $6,450.00
                                          BioTransducer BTCW/BT Pro $400                    $14,800.00
                                                                                            $35,650.00




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  BioTransducer                                                         BM4p $200 / BMTP $
BTCW/BT Pro $400        Apr-22      Name                                       400
                                   Redacted Customer Names for Filing
    $400.00             4/1/2022                                             $200.00
    $400.00             4/1/2022                                             $200.00
    $400.00             4/4/2022                                             $200.00
    $400.00             4/5/2022                                             $400.00
    $400.00             4/5/2022                                             $400.00
    $400.00             4/5/2022                                             $400.00
                        4/5/2022                                             $200.00
                        4/5/2022                                             $400.00
    $400.00             4/6/2022                                             $200.00
    $400.00             4/6/2022                                             $200.00
    $400.00             4/6/2022                                             $400.00
    $400.00             4/7/2022                                             $200.00
    $400.00            4/26/2022                                             $200.00
    $400.00            4/26/2022                                             $400.00
    $400.00            4/26/2022                                             $400.00
    $400.00            4/26/2022                                             $400.00
    $400.00            4/26/2022                                             $400.00
    $400.00            4/26/2022                                             $400.00
    $400.00            4/27/2022                                             $400.00
                       4/27/2022                                             $400.00
    $400.00            4/28/2022                                             $200.00
    $400.00            4/29/2022                                             $400.00
    $400.00            4/29/2022                                             $400.00
                       4/29/2022                                             $400.00
    $400.00            4/29/2022                                             $400.00
    $400.00            4/29/2022                                             $200.00
                                                                            $8,400.00
    $400.00
    $400.00                                    BM4p $200 / BMTP $ 400
    $400.00                         Trng Course Officiating $100 / Rylty New Dev $50
    $400.00                                BioTransducer BTCW/BT Pro $400
    $400.00
    $400.00
    $400.00
    $400.00
    $400.00
    $400.00
    $400.00
    $400.00

    $400.00
    $400.00


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    $400.00
   $14,800.00




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   Trng Course
Officiating $100 /     BioTransducer                                                        BM4p $200 / BMTP
Rylty New Dev $50    BTCW/BT Pro $400       May-22       Name                                    $ 400
                                                       Redacted Customer Names for Filing
     $150.00             $400.00            5/2/2022                                            $200.00
     $150.00             $400.00            5/5/2022                                            $200.00
     $150.00                                5/6/2022                                            $200.00
     $150.00             $400.00            5/9/2022                                            $400.00
     $150.00             $400.00            5/9/2022                                            $400.00
     $150.00             $400.00            5/9/2022                                            $400.00
     $150.00                                5/9/2022                                            $200.00
     $150.00             $400.00            5/9/2022                                            $200.00
     $150.00             $400.00            5/9/2022                                            $200.00
     $150.00             $400.00            5/9/2022                                            $200.00
     $150.00             $400.00           5/19/2022                                            $400.00
     $150.00                               5/23/2022                                            $200.00
     $150.00             $400.00           5/23/2022                                            $400.00
     $150.00             $400.00           5/23/2022                                            $400.00
     $150.00             $400.00           5/26/2022                                            $400.00
     $150.00             $400.00           5/26/2022                                            $400.00
     $150.00             $400.00           5/26/2022                                            $200.00
     $150.00             $400.00           5/26/2022                                            $200.00
     $150.00             $400.00           5/26/2022                                            $400.00
     $150.00             $400.00           5/26/2022                                            $400.00
     $150.00                               5/26/2022                                            $200.00
     $150.00             $400.00           5/26/2022                                            $200.00
     $150.00             $400.00           5/26/2022                                            $400.00
     $150.00             $400.00           5/31/2022                                            $200.00
     $150.00             $400.00                                                               $7,000.00
     $150.00
    $3,900.00           $8,400.00                                 BM4p $200 / BMTP $ 400
                                                       Trng Course Officiating $100 / Rylty New Dev $50
    $8,400.00                                                 BioTransducer BTCW/BT Pro $400
    $3,900.00
    $8,400.00
   $20,700.00




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   Trng Course
Officiating $100 /     BioTransducer                                                         BM4p $200 / BMTP $
Rylty New Dev $50    BTCW/BT Pro $400        Jun-22      Name                                       400
                                                        Redacted Customer Names for Filing
     $150.00                                 6/3/2022                                             $400.00
     $150.00                                 6/3/2022                                             $400.00
     $150.00                                 6/3/2022                                             $400.00
     $150.00             $400.00             6/3/2022                                             $400.00
     $150.00             $400.00             6/3/2022                                             $400.00
     $150.00             $400.00            6/10/2022                                             $400.00
     $150.00             $400.00            6/14/2022                                             $200.00
     $150.00             $400.00            6/15/2022                                             $400.00
     $150.00             $400.00            6/16/2022                                             $400.00
     $150.00             $400.00            6/16/2022                                             $200.00
     $150.00             $400.00            6/16/2022                                             $400.00
     $150.00             $400.00            6/16/2022                                             $400.00
     $150.00             $400.00            6/16/2022                                             $400.00
     $150.00             $400.00            6/17/2022                                             $200.00
     $150.00             $400.00            6/21/2022                                             $400.00
     $150.00             $400.00            6/21/2022                                             $400.00
     $150.00             $400.00            6/22/2022                                             $400.00
     $150.00             $400.00            6/22/2022                                             $400.00
     $150.00             $400.00            6/22/2022                                             $400.00
     $150.00             $400.00            6/22/2022                                             $400.00
     $150.00             $400.00            6/22/2022                                             $200.00
     $150.00             $400.00            6/22/2022                                             $200.00
     $150.00             $400.00            6/22/2022                                             $200.00
     $150.00             $400.00            6/24/2022                                             $400.00
    $3,600.00           $8,400.00           6/24/2022                                             $400.00
                                            6/24/2022                                             $200.00
   $7,000.00                                6/24/2022                                             $400.00
   $3,600.00                                6/24/2022                                             $400.00
   $8,400.00                                6/25/2022                                             $400.00
   $19,000.00                               6/25/2022                                             $400.00
                                            6/25/2022                                             $400.00
                                            6/27/2022                                             $400.00
                                            6/27/2022                                             $400.00
                                            6/27/2022                                    unes Palacios
                                                                                                  $200.00
                                            6/27/2022                                             $200.00
                                            6/28/2022                                             $400.00
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                                            6/28/2022                                             $200.00
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                                            6/29/2022                                             $400.00


                                                                                                APP 00109
Case 3:24-cv-01852-E   Document 48-1   Filed 10/11/24               Page 119 of 340        PageID 952
                                                   Redacted Customer Names for Filing
                                       6/30/2022                                         $400.00
                                                                                        $15,200.00

                                                              BM4p $200 / BMTP $ 400
                                                   Trng Course Officiating $100 / Rylty New Dev $50
                                                          BioTransducer BTCW/BT Pro $400




                                                                                        APP 00110
Case 3:24-cv-01852-E       Document 48-1   Filed 10/11/24            Page 120 of 340             PageID 953
   Trng Course
Officiating $100 /     BioTransducer                                                        BM4p $200 / BMTP $
Rylty New Dev $50    BTCW/BT Pro $400       Jul-22       Name                                      400
                                                       Redacted Customer Names for Filing
     $150.00             $400.00           7/1/2022                                              $200.00
     $150.00             $400.00           7/1/2022                                              $400.00
     $150.00             $400.00           7/5/2022                                              $400.00
     $150.00             $400.00           7/5/2022                                              $200.00
     $150.00             $400.00           7/7/2022                                              $200.00
     $150.00                               7/8/2022                                              $400.00
     $150.00                               7/8/2022                                              $200.00
     $150.00             $400.00           7/11/2022                                             $200.00
     $150.00             $400.00           7/12/2022                                             $400.00
     $150.00             $400.00           7/13/2022                                             $400.00
     $150.00             $400.00           7/14/2022                                             $200.00
     $150.00             $400.00           7/15/2022                                             $400.00
     $150.00             $400.00           7/18/2022                                             $400.00
     $150.00                               7/18/2022                                             $400.00
     $150.00             $400.00           7/19/2022                                             $400.00
     $150.00             $400.00           7/19/2022                                             $400.00
     $150.00             $400.00           7/20/2022                                             $400.00
     $150.00             $400.00           7/21/2022                                             $400.00
     $150.00             $400.00           7/21/2022                                             $200.00
     $150.00             $400.00           7/22/2022                                             $200.00
     $150.00             $400.00           7/22/2022                                             $400.00
     $150.00             $400.00           7/25/2022                                             $400.00
     $150.00             $400.00           7/26/2022                                             $400.00
     $150.00             $400.00                                                                $7,600.00
     $150.00             $400.00
     $150.00             $400.00                                   BM4p $200 / BMTP $ 400
     $150.00             $400.00                        Trng Course Officiating $100 / Rylty New Dev $50
     $150.00             $400.00                               BioTransducer BTCW/BT Pro $400
     $150.00             $400.00
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                                                                                             APP 00111
Case 3:24-cv-01852-E      Document 48-1   Filed 10/11/24   Page 121 of 340   PageID 954

    $150.00             $400.00
   $6,450.00           $15,200.00

   $15,200.00
    $6,450.00
   $15,200.00
   $36,850.00




                                                                        APP 00112
Case 3:24-cv-01852-E        Document 48-1    Filed 10/11/24            Page 122 of 340               PageID 955
   Trng Course
Officiating $100 /     BioTransducer                                                         BM4p $200 / BMTP $
Rylty New Dev $50    BTCW/BT Pro $400        Aug-22      Name                                       400
                                                        Redacted Customer Names for Filing
     $150.00             $400.00            8/2/2022                                              $400.00
     $150.00             $400.00            8/4/2022                                              $400.00
     $150.00             $400.00            8/4/2022                                              $400.00
     $150.00                                8/5/2022                                              $400.00
     $150.00                                8/9/2022                                              $400.00
     $150.00             $400.00            8/10/2022                                             $200.00
     $150.00             $400.00            8/10/2022                                             $200.00
     $150.00             $400.00            8/11/2022                                             $400.00
     $150.00             $400.00            8/12/2022                                             $400.00
     $150.00             $400.00            8/12/2022                                             $400.00
     $150.00             $400.00            8/12/2022                                             $400.00
     $150.00             $400.00            8/15/2022                                             $400.00
     $150.00             $400.00            8/15/2022                                             $400.00
     $150.00             $400.00            8/15/2022                                             $400.00
     $150.00             $400.00            8/16/2022                                             $400.00
     $150.00             $400.00            8/19/2022                                             $200.00
     $150.00             $400.00            8/22/2022                                             $200.00
     $150.00             $400.00            8/22/2022                                             $200.00
     $150.00                                8/23/2022                                             $400.00
     $150.00             $400.00            8/23/2022                                             $400.00
     $150.00             $400.00            8/24/2022                                             $400.00
     $150.00             $400.00            8/24/2022                                             $400.00
     $150.00             $400.00            8/24/2022                                             $400.00
    $3,450.00           $8,000.00           8/25/2022                                             $200.00
                                            8/25/2022                                             $400.00
   $7,600.00                                8/25/2022                                             $400.00
   $3,450.00                                8/26/2022                                             $200.00
   $8,000.00                                8/26/2022                                             $400.00
   $19,050.00                               8/29/2022                                             $400.00
                                            8/29/2022                                             $400.00
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                                            8/31/2022                                             $200.00


                                                                                                APP 00113
Case 3:24-cv-01852-E   Document 48-1    Filed 10/11/24                Page 123 of 340                 PageID 956
                                                   Redacted Customer Names for Filing

                                       8/31/2022                                                   $400.00
                                       8/31/2022                                                   $400.00
                                       8/31/2022                                                   $400.00
                                       8/31/2022                                                   $400.00
                                                                                                  $16,200.00

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                                                                                        $150.00
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                                                                                                  APP 00114
Case 3:24-cv-01852-E   Document 48-1   Filed 10/11/24   Page 124 of 340     PageID 957




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                                                                     APP 00115
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                                                                     APP 00116
Case 3:24-cv-01852-E      Document 48-1   Filed 10/11/24          Page 126 of 340                  PageID 959
   Trng Course
Officiating $100 /     BioTransducer
Rylty New Dev $50    BTCW/BT Pro $400        Sep-22      Name
                                                        Redacted Customer Names for Filing
     $150.00             $400.00           9/1/2022
     $150.00             $400.00           9/8/2022
     $150.00                               9/16/2022
     $150.00             $400.00           9/16/2022
     $150.00             $400.00           9/23/2022
     $150.00                               9/23/2022
     $150.00             $400.00           9/23/2022
     $150.00             $400.00           9/23/2022
     $150.00             $400.00           9/23/2022
     $150.00             $400.00           9/23/2022
     $150.00             $400.00           9/23/2022
     $150.00             $400.00           9/23/2022                                         s
     $150.00             $400.00           9/23/2022
     $150.00             $400.00           9/23/2022
     $150.00             $400.00           9/23/2022
     $150.00                               9/23/2022
     $150.00                               9/23/2022
     $150.00             $400.00           9/26/2022
     $150.00             $400.00           9/26/2022
     $150.00             $400.00           9/28/2022
     $150.00             $400.00           9/29/2022
     $150.00             $400.00           9/30/2022
     $150.00             $400.00
     $150.00
     $150.00             $400.00                                  BM4p $200 / BMTP $ 400
     $150.00             $400.00                       Trng Course Officiating $100 / Rylty New Dev $50
     $150.00             $400.00                              BioTransducer BTCW/BT Pro $400
     $150.00             $400.00
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                                                                                                 APP 00117
Case 3:24-cv-01852-E     Document 48-1   Filed 10/11/24   Page 127 of 340   PageID 960

    $150.00             $400.00
    $150.00             $400.00
    $150.00             $400.00
    $150.00             $400.00
   $6,900.00           $15,200.00

   $16,200.00
    $6,900.00
   $15,200.00
   $38,300.00




                                                                       APP 00118
Case 3:24-cv-01852-E   Document 48-1       Filed 10/11/24   Page 128 of 340   PageID 961




     50.00             100.00     400.00
     50.00             100.00
     50.00             100.00     400.00
     50.00             100.00     400.00
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     50.00             100.00     400.00
     (50.00)           (100.00)   ######
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                                                                         APP 00119
Case 3:24-cv-01852-E   Document 48-1      Filed 10/11/24   Page 129 of 340   PageID 962

     50.00             100.00    400.00
     50.00             100.00    400.00
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     50.00             100.00    400.00




                                                                        APP 00120
             Case 3:24-cv-01852-E              Document 48-1       Filed 10/11/24   Page 130 of 340   PageID 963
                                           Trng Course
             BM4p $200 / BMTP $         Officiating $100 /     BioTransducer
                    400                 Rylty New Dev $50    BTCW/BT Pro $400         Oct-22
                    $400.00                  $150.00             $400.00             10/1/2022
                    $200.00                  $150.00             $400.00             10/3/2022
                    $400.00                  $150.00             $400.00             10/3/2022
                    $200.00                  $150.00                                 10/5/2022
                    $200.00                  $150.00                                 10/5/2022
                    $400.00                  $150.00             $400.00             10/8/2022
                    $400.00                  $150.00             $400.00            10/10/2022
                    $400.00                  $150.00             $400.00            10/13/2022
                    $400.00                  $150.00             $400.00            10/14/2022
                    $200.00                  $150.00             $400.00            10/18/2022
                    $400.00                  $150.00             $400.00            10/19/2022
                    $400.00                  $150.00             $400.00            10/19/2022
                    $400.00                  $150.00             $400.00            10/20/2022
                    $200.00                  $150.00             $400.00            10/21/2022
                    $400.00                  $150.00             $400.00            10/21/2022
                    $400.00                  $150.00             $400.00            10/21/2022
                    $200.00                  $150.00             $400.00            10/26/2022
                    $400.00                  $150.00             $400.00            10/27/2022
                    $200.00                  $150.00             $400.00            10/27/2022
                    $200.00                  $150.00             $400.00            10/28/2022
                    $200.00                  $150.00             $400.00            10/28/2022
                    $400.00                  $150.00             $400.00            10/31/2022
                   $7,000.00                $3,300.00           $8,000.00           10/31/2022
                                                                                    10/31/2022
BM4p $200 / BMTP $ 400                      $7,000.00
 Officiating $100 / Rylty New Dev $50       $3,300.00
 ansducer BTCW/BT Pro $400                  $8,000.00
                                           $18,300.00




                                                                                                 APP 00121
    Case 3:24-cv-01852-E              Document 48-1       Filed 10/11/24     Page 131 of 340      PageID 964
                                                           Trng Course
                                     BM4p $200 / BMTP $ Officiating $100 /     BioTransducer
   Name                                     400         Rylty New Dev $50    BTCW/BT Pro $400
Redacted Customer Names for Filing
                                          $400.00             $150.00            $400.00
                                          $400.00             $150.00            $400.00
                                          $400.00             $150.00            $400.00
                                          $400.00             $150.00            $400.00
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                                          $400.00             $150.00            $400.00
                                          $200.00             $150.00
                                          $400.00             $150.00            $400.00
                                         $8,400.00           $3,600.00          $8,000.00

                BM4p $200 / BMTP $ 400                      $8,400.00
     Trng Course Officiating $100 / Rylty New Dev $50       $3,600.00
            BioTransducer BTCW/BT Pro $400                  $8,000.00
                                                            $20,000.00




                                                                                                APP 00122
Case 3:24-cv-01852-E                  Document 48-1            Filed 10/11/24     Page 132 of 340      PageID 965
                                                                          Trng Course
                                                      BM4p $200 / BMTP Officiating $100 /     BioTransducer
 Nov-22      Name                                          $ 400       Rylty New Dev $50    BTCW/BT Pro $400
             Redacted Customer Names for Filing
11/1/2022                                                 $200.00            $150.00
11/2/2022                                                 $200.00            $150.00            $400.00
11/2/2022                                                 $400.00            $150.00            $400.00
11/4/2022                                                 $400.00            $150.00            $400.00
11/5/2022                                                 $400.00            $150.00            $400.00
11/7/2022                                                 $400.00            $150.00            $400.00
11/8/2022                                                 $400.00            $150.00            $400.00
11/9/2022                                                 $400.00            $150.00            $400.00
11/10/2022                                                $400.00            $150.00            $400.00
11/10/2022                                                $400.00            $150.00            $400.00
11/10/2022                                                $400.00            $150.00            $400.00
11/10/2022                                                $400.00            $150.00            $400.00
11/12/2022                                                $400.00            $150.00            $400.00
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11/12/2022                                                $400.00            $150.00            $400.00
11/12/2022                                                $400.00            $150.00            $400.00
11/14/2022                                                $400.00            $150.00            $400.00
11/15/2022                                                $400.00            $150.00            $400.00
11/15/2022                                                $200.00            $150.00            $400.00
11/16/2022                                                $400.00            $150.00            $400.00
11/17/2022                                                $200.00            $150.00            $400.00
11/21/2022                                        n       $200.00            $150.00            $400.00
11/21/2022                                                $200.00            $150.00            $400.00
11/29/2022                                                $200.00            $150.00            $400.00
11/30/2022                                                $200.00            $150.00            $400.00
                                                         $9,000.00          $4,050.00          $10,000.00

                        BM4p $200 / BMTP $ 400                             $9,000.00
             Trng Course Officiating $100 / Rylty New Dev $50              $4,050.00
                    BioTransducer BTCW/BT Pro $400                         $10,000.00
                                                                           $23,050.00




                                                                                                   APP 00123
Case 3:24-cv-01852-E           Document 48-1               Filed 10/11/24      Page 133 of 340    PageID 966
                                                                         Trng Course
                                                   BM4p $200 / BMTP $ Officiating $100 /     BioTransducer
   Dec-22       Name                                      400         Rylty New Dev $50    BTCW/BT Pro $400
              Redacted Customer Names for Filing
 12/16/2022                                              $200.00             $150.00           $400.00
 12/16/2022                                              $400.00             $150.00           $400.00
 12/19/2022                                              $400.00             $150.00           $400.00
 12/19/2022                                              $400.00             $150.00           $400.00
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 12/22/2022                                              $200.00             $150.00           $400.00
 12/22/2022                                              $400.00             $150.00           $400.00
 12/27/2022                                              $200.00             $150.00           $400.00
 12/27/2022                                              $400.00             $150.00           $400.00
 12/28/2022                                              $400.00             $150.00           $400.00
 12/28/2022                                              $400.00             $150.00           $400.00
 12/28/2022                                              $400.00             $150.00           $400.00
 12/28/2022                                              $400.00             $150.00           $400.00
 12/29/2022                                              $400.00             $150.00           $400.00
                                                        $13,200.00          $5,250.00         $14,000.00

                          BM4p $200 / BMTP $ 400                            $13,200.00
               Trng Course Officiating $100 / Rylty New Dev $50             $5,250.00
                      BioTransducer BTCW/BT Pro $400                        $14,000.00
                                                                            $32,450.00



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               A - EXHIBIT 18




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  From: Linda Taylor linda@senergy.us
Subject: Fwd: Royalties 2020-2024
   Date: June 16, 2024 at 5:03 PM
     To: Jltennant@mac.com, Scott Tennant stennant@senergy.us


       Scott said you didn't receive the attachments so am resending. There are 4 for your review.

       Sent from my Verizon, Samsung Galaxy smartphone
       Get Outlook for Android

       From: Linda Taylor
       Sent: Wednesday, June 12, 2024 2:17:04 PM
       To: Jltennant@mac.com <Jltennant@mac.com>
       Cc: Scott Tennant <stennant@senergy.us>; Jerry Gutierrez <jerry@senergy.us>
       Subject: Royalties 2020-2024

       Please find attached spreadsheets with names, dates and amounts of royalties. In this
       audit I did discover a shortage on payment breaking down as follows:

           Total $
           Owed
            2020            $35,700.00
            2021           ($31,550.00)
            2022            $13,750.00
            2023            $2,950.00
            2024              $0.00
           Owed             $20,850.00

       The spreadsheets will verify these numbers. I am processing a payment today in the
       amount of $20,850.00 to correct this shortage.

       Please don’t hesitate to reach out if you have any questions.

       Have a blessed day.

       Linda Taylor
       Chief Financial Officer

       Get Well • Stay Well • Live Well®
       Senergy Medical Group®
       9901 Valley Ranch Pkwy, East
       Suite 1009
       Irving, Texas 75063
       Office Phone: 972.580.0545
       Direct Phone: 214-379-1378
       Direct Fax: 972.692.7240
       E-Mail: Linda@senergy.us




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        Dr Tennant Royalties 2020.xlsx          Dr Tennant Royalties 2021.xlsx
                                                41 KB




        Dr Tennant Royalties 2022.xlsx          Dr Tennant Royalties 2023.xlsx
                                                40 KB




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                       Trng Course
                        Officiating   BioTransducer
         BM4p $200 /   $100 / Rylty    BTCW/BT Pro                    New
 2020    BMTP $ 400    New Dev $50         $400           Totals     Devices   BM4p         BMTP     BTCW       BT Pro II   Actual Paid $   Money Owed $
  Jan     $10,000.00     $6,450.00      $11,600.00     $28,050.00      67       26           12       10           19        $31,400.00       -$3,350.00
  Feb     $12,400.00     $7,500.00      $17,200.00     $37,100.00      85       22           20       13           30        $53,250.00      -$16,150.00
 Mar       $8,000.00     $4,350.00      $9,600.00      $21,950.00      53       18           11        7           17        $24,950.00       -$3,000.00
  Apr      $5,000.00     $3,000.00      $6,000.00      $14,000.00      32        9            8        3           12          $0.00          $14,000.00
 May       $3,000.00     $1,350.00      $2,800.00       $7,150.00      16        3            6        2            5        $11,350.00       -$4,200.00
  Jun      $7,600.00     $3,750.00      $9,200.00      $20,550.00      48       12           13        3           20        $18,550.00        $2,000.00
  Jul     $11,800.00     $6,000.00      $14,400.00     $32,200.00      75       19           20        9           27        $37,750.00       -$5,550.00
 Aug      $12,600.00     $6,450.00      $16,800.00     $35,850.00      85       23           20        5           37        $27,250.00        $8,600.00
 Sep       $9,000.00     $4,950.00      $11,200.00     $25,150.00      60       19           13        3           25        $23,100.00        $2,050.00
  Oct      $8,400.00     $4,200.00      $10,000.00     $22,600.00      53        14           14       3           22        $21,750.00         $850.00
 Nov       $7,200.00     $4,200.00      $10,400.00     $21,800.00      54       20            8       16           10          $0.00          $21,800.00
 Dec       $6,800.00     $3,450.00      $8,400.00      $18,650.00      44       12           11        4           17          $0.00          $18,650.00
Totals   $101,800.00    $55,650.00     $127,600.00     $285,050.00    672       197          156      78          241       $249,350.00       $35,700.00




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                       Trng Course
                        Officiating   BioTransducer
         BM4p $200 /   $100 / Rylty    BTCW/BT Pro                    New                                                           Money Owed
 2021    BMTP $ 400    New Dev $50         $400          Totals      Devices   BM4p     BMTP    BTCW    BT Pro II   Actual Paid $         $
  Jan      $5,600.00     $2,850.00       $6,400.00    $14,850.00       35        10       9       1        15        $12,500.00      $2,350.00
 Feb       $3,200.00     $1,500.00       $3,600.00     $8,300.00       19        4        6       0        9         $24,950.00     -$16,650.00
 Mar      $11,800.00     $6,750.00      $16,000.00    $34,550.00       83        27       16      3        37        $33,800.00       $750.00
  Apr     $10,000.00     $5,100.00      $12,400.00    $27,500.00       65        18       16      1        30        $62,500.00     -$35,000.00
 May      $12,200.00     $6,150.00      $14,400.00    $32,750.00       76        19       21      2        34        $22,350.00     $10,400.00
  Jun     $11,400.00     $5,100.00      $13,200.00    $29,700.00       67        11       23      3        30        $34,350.00      -$4,650.00
  Jul     $12,000.00     $6,150.00      $15,600.00    $33,750.00       78        18       21      1        38        $32,450.00      $1,300.00
 Aug       $8,200.00     $4,350.00      $11,200.00    $23,750.00       56        15       13      2        26        $20,150.00      $3,600.00
 Sep       $7,800.00     $3,900.00       $8,800.00    $20,500.00       48        13       13      4        18        $20,650.00       -$150.00
  Oct     $32,600.00    $13,200.00      $35,200.00    $81,000.00      179        19       72      7        81        $51,050.00     $29,950.00
 Nov      $11,800.00     $4,950.00      $12,800.00    $29,550.00       66        9        25      1        31        $53,900.00     -$24,350.00
 Dec      $17,800.00     $8,400.00      $20,400.00    $46,600.00      108        25       32     12        39        $45,700.00       $900.00
Totals   $144,400.00    $68,400.00     $170,000.00    $382,800.00     880       188      267     37       388       $414,350.00     -$31,550.00




                                                                                                                         APP 00131
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                       Trng Course
                        Officiating BioTransducer
         BM4p $200 /   $100 / Rylty BTCW/BT Pro                    New
 2022    BMTP $ 400    New Dev $50       $400          Totals     Devices     BM4p           BMTP      BTCW       BT Pro II   Actual Paid $ Money Owed $
  Jan      $5,200.00     $2,400.00     $6,000.00     $13,600.00     31           5             11        1           14        $13,600.00       $0.00
  Feb     $11,000.00     $5,400.00    $12,400.00     $28,800.00     68          19             18        4           27        $28,800.00       $0.00
 Mar      $14,200.00     $6,450.00    $14,400.00     $35,050.00     80          14             29        1           36        $31,200.00     $3,850.00
  Apr      $8,400.00     $3,900.00     $8,400.00     $20,700.00     47          10             16        2           19        $20,700.00       $0.00
 May       $7,000.00     $3,600.00     $8,400.00     $19,000.00     45          13             11        1           20        $19,950.00     -$950.00
  Jun     $14,800.00     $6,450.00    $14,800.00     $36,050.00     81          10             33        0           38        $36,850.00     -$800.00
  Jul      $7,600.00     $3,450.00     $8,000.00     $19,050.00     45           7             17        0           21        $19,050.00       $0.00
  Aug     $16,200.00     $6,900.00    $15,200.00     $38,300.00     84          12             34        0           38        $38,300.00       $0.00
 Sep       $7,000.00     $3,300.00     $8,000.00     $18,300.00     43           8             14        0           21        $18,300.00       $0.00
  Oct      $8,400.00     $3,600.00     $8,000.00     $20,000.00     46           6             19        0           21        $20,400.00     -$400.00
 Nov       $9,000.00     $4,050.00    $10,000.00     $23,050.00     51           9             18        0           24        $23,050.00       $0.00
 Dec      $13,200.00     $5,250.00    $14,000.00     $32,450.00     70           4             31        0           35        $20,400.00    $12,050.00
Totals   $122,000.00    $54,750.00   $127,600.00    $304,350.00    691         117            251        9          314       $290,600.00    $13,750.00




                                                                                                                                 APP 00132
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                          Trng Course       BioTransducer
         BM4p $200 /   Officiating $100 /    BTCW/BT Pro                   New
 2023    BMTP $ 400    Rylty New Dev $50         $400          Totals     Devices      BM4p          BMTP      BTCW       BT Pro II   Actual Paid $   Money Owed $
  Jan     $8,400.00         $3,750.00         $9,200.00      $21,350.00     47           7             18        0           22        $19,800.00      $1,550.00
 Feb      $12,200.00        $6,000.00         $10,000.00     $28,200.00     65           19            21        0           25        $28,200.00         $0.00
 Mar      $9,400.00         $4,050.00         $9,200.00      $22,650.00     50           7             20        0           23        $22,650.00         $0.00
  Apr     $8,600.00         $4,050.00         $8,400.00      $21,050.00     48           11            16        0           21        $19,150.00      $1,900.00
 May      $15,000.00        $7,200.00         $17,600.00     $39,800.00     88           19            28        0           41        $40,000.00       -$200.00
  Jun     $11,400.00        $5,700.00         $10,400.00     $27,500.00     65           17            21        0           27        $27,750.00       -$250.00
  Jul     $8,600.00         $3,750.00         $10,000.00     $22,350.00     50           7             18        0           25        $23,150.00       -$800.00
 Aug      $10,400.00        $4,350.00         $10,000.00     $24,750.00     54           6             23        0           25        $24,000.00       $750.00
 Sep      $6,800.00         $3,300.00         $7,200.00      $17,300.00     40           10            12        0           18        $17,300.00         $0.00
  Oct     $11,400.00        $4,500.00         $10,400.00     $26,300.00     56           3             27        0           26        $27,050.00       -$750.00
 Nov      $13,600.00        $6,600.00         $16,400.00     $36,600.00     84           19            24        4           37        $36,600.00         $0.00
 Dec      $7,600.00         $3,600.00         $8,800.00      $20,000.00     46           10            14        3           19        $19,250.00       $750.00
Totals   $123,400.00       $56,850.00        $127,600.00    $307,850.00     693         135           242        7          309       $304,900.00      $2,950.00




                                                                                                                                          APP 00133
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                                                                                       Senergy Medical Group Device Sales
                                                                                              September 28, 2022


Sum of Qty                                                                                        Column Labels
Row Labels                                                                                        2021_01              2021_02        2021_03         2021_04        2021_05         2021_06        2021_07         2021_08        2021_09        2022_01        2022_02        2022_03         2022_04        2022_05        2022_06         2022_07        2022_08         2022_09        2021_10         2021_11         2021_12         Grand Total
BioTransducer Crystal Wave(BioTransducer Crystal Wave - Ruby Red (model # BTCW-R...                                7              6               6              1               3              4               4              2              5              4              6               5              3              3               0                                             1               7               1              16              84 BioTransducer Crystal Wave(BioTransducer Crystal Wave - Ruby Red (model # BTCW-R...
BioTransducer Pro II (BioTransducer Pro II (model # BTP) ($4,850 retail) A4556, D...                              32             40              60             48              51             46              54             46             25             42             39              50             39             33              56             30              84             32              88              46              57             998 BioTransducer Pro II (BioTransducer Pro II (model # BTP) ($4,850 retail) A4556, D...
Plus BioModulator (Tennant BioModulator Plus DME 1399, E0720 (model #A4 TB) (re...                                20             25              37             26              20             20              32             28             18             16             25              24             20             20              21             14              27             16              25              18              33             485 Plus BioModulator (Tennant BioModulator Plus DME 1399, E0720 (model #A4 TB) (re...
Pro 2.1 Tennant Biomodulator (PRO 2.1 backlighted - Tennant Biomodulator Pro 2.1 ...                              16             18              24             21              33             28              29             20             16             28             22              34             23             18              43             20              57             18              75              35              45             623 Pro 2.1 Tennant Biomodulator (PRO 2.1 backlighted - Tennant Biomodulator Pro 2.1 ...
Grand Total                                                                                                       75             89             127             96             107             98             119             96             64             90             92             113             85             74             120             64             168             67             195             100             151            2190




Sum of Amount                                                                                     Column Labels
Row Labels                                                                                        2021_01           2021_02     2021_03     2021_04     2021_05     2021_06     2021_07     2021_08     2021_09     2021_10     2021_11     2021_12     2022_01     2022_02     2022_03     2022_04     2022_05     2022_06     2022_07     2022_08     2022_09     Grand Total
BioTransducer Crystal Wave (BioTransducer Crystal Wave - Ruby Red (model # BTCW-R...                      17,699.79   17,299.79   16,579.71    2,299.79    6,999.58   12,000.00    5,349.79    3,750.00   15,000.00   20,299.79    2,299.79   37,904.67   11,005.34   13,368.82   13,559.84    6,449.58    8,279.92        0.00                            2,299.79    212,445.99
BioTransducer Pro II (BioTransducer Pro II (model # BTP) ($4,850 retail) A4556, D...                     123,014.44 153,541.24 226,260.42 179,031.61 188,842.53 171,076.65 205,531.61 152,274.07          96,547.99 329,351.32 158,068.81 207,549.60 141,527.84 134,910.37 160,275.02 141,254.09 111,694.09 193,727.46 102,078.95 280,779.12 128,123.31 3,585,460.54
Plus BioModulator (Tennant BioModulator Plus DME 1399, E0720 (model #A4 TB) (re...                        50,041.51   64,849.87   93,395.52   66,964.44   52,022.59   50,410.43   84,441.94   66,356.29   48,947.92   63,758.22   46,099.86   78,733.47   39,715.38   58,281.16   55,764.30   49,995.51   47,341.59   48,677.15   32,048.01   57,418.87   41,095.85 1,196,359.88
Pro 2.1 Tennant Biomodulator (PRO 2.1 backlighted - Tennant Biomodulator Pro 2.1 ...                      84,530.48   92,763.10 126,245.72 109,045.72 170,763.10 150,197.86 152,245.72 105,472.86         85,207.62 388,585.24 160,036.13 225,489.44 127,855.21 105,231.67 162,419.57 110,838.71          83,271.89 197,937.39    94,871.92 262,085.09    94,292.01 3,089,386.45
Grand Total                                                                                              275,286.22 328,454.00 462,481.37 357,341.56 418,627.80 383,684.94 447,569.06 327,853.22 245,703.53 801,994.57 366,504.59 549,677.18 320,103.77 311,792.02 392,018.73 308,537.89 250,587.49 440,342.00 228,998.88 600,283.08 265,810.96 8,083,652.86




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               A - EXHIBIT 21




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  Jerry Tennant as Grantor; 3009 Edgewood Lane; Colleyville, Texas 76034

  June 21, 2024




   Scott Tennant for himself personally and for Senergy, Senergy Wellness Group, etc. (“Senergy”)

  9901 Valley Ranch Pkwy E#1009; Irving, Texas 75063

   Re: Termination of Royalty Agreement and all Amendments

  Dear Scott Tennant, for himself personally and for Senergy Medical Group and/or Senergy
  Wellness Group:

  This is to notify you that Ihave elected to terminate the "Royalty Agreement" contracts and all
  amendments with you. This includes but is not limited to the original agreement dated June 15,
  2003, and subsequent agreements and offers dated October 1, 2012, March 15, 2016, and April
  22, 2016. This license and distribution termination applies to Scott Tennant personally as well as
  for Senergy Medical Group and/or Senergy Wellness Group and any employee, contractor, or
  any reseller (like Biohealth Energy Systems Ltd) or affiliate (like Lisa Williams). Termination is
  effective immediately, as of June 21, 2024. Note that our contract and amendments allow for
  termination for any reason or no reason.

  Grantor notes Scott Tennant /Senergy Medical Group and/or Senergy Wellness Group’s failure
  to meet their contractual obligations.

  Audit: In accordance with the terms of our agreement, you were required to provide detailed
  statements of sales monthly, which you have not done per the contract terms. You were also
  required to provide accurate record keeping so that the royalties due were accurate and
  transparent. Arecent, comprehensive audit done by Jerry Tennant, utilizing several sources, has
  determined that Scott Tennant, Jerry Gutierrez, and Linda Taylor have committed fraud,
  intentional interference with business and contractual relations, breach of contract, unjust
  enrichment, and promissory estoppel.

  This audit has come to the conclusion, for instance, that fraud has been committed at least since
  2021. In that calendar year, the number of reported device sales for BM4p, BMTP, BTCW, and
  BT Pro devices were ALL underreported. For instance, recovered data shows that Senergy
  Medical Group and/or Senergy Wellness Group sold approximately 1300 devices but only
  reported 880 sales. In addition, regarding the BT Pro SKU data, year after year, it is clear from
  the manufacturing source that Senergy Medical Group and/or Senergy Wellness Group has
  underrepresented their sales, which lowers the amount of claimed royalties due.

  Further, the audit likewise concluded that the royalty amounts were calculated using aproposed
  algorithm by Scott Tennant, never agreed to or signed by the Grantor. Grantor did not fully
  comprehend that Senergy Medical Group and/or Senergy Wellness Group was using this formula



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  until Ql’24, after Jerald Tennant repeatedly asked Senergy Medical Group and/or Senergy
  Wellness Group and Scott Tennant for sales numbers by SKU, including royalty calculations. It
  is Grantor’s prerogative to set the licensing rates and fees, but Scott Tennant +Senergy Medical
  Group and/or Senergy Wellness Group took it upon themselves to pay using anon-approved
  algorithm, while hiding the fact that they were using that methodology. That said, even using the
  formulas proposed by Scott Tennant, the audit concluded that the amounts owed (on the
  underreported volume) were incorrectly calculated -and when Senergy Medical Group and/or
  Senergy Wellness Group was asked to re-audit the (2021-current numbers) in IH’24, the errors
  were not corrected. For illustration, Senergy Medical Group and/or Senergy Wellness Group’s
  final ‘re-audit’ in early June 2024 claimed to have paid Grantor $414,350 in 2021, when in fact
  the IRS Form 1099 shows an actual payment of $350,900.

  Finally, both versions of the 2016 contractual amendments required Senergy Medical Group
  and/or Senergy Wellness Group to adjust royalties paid against the MSRP—which never
  happened. Here are the known price changes on the relevant SKUs:

  5                                            Price Change:             Price Change:                 Price Change:
  )Adjustments Agreed to:    Starting RetalL                   %Change      J u n - 2 3      %Change       Mar-24      %Change
  )BM4p (Biomodulator)           $2,250           $2,750         22.2%      $3,250            44.4%       $2,999        33.3%

  LBMTP (Biomodulator Pro)       $5,000           $5,000         0.0%       $6,000            20.0%       $7,650        53.0%

  >BTCW(CrystalWave)             $3,000           $3,000         0.0%       $3,850            28.3%       $3,500        16.7%

  5BTPro (Transducer Pro)                         $4,000                    $4,850            21.3%       $5,500        37.5%




  Grantor provided Scott Tennant and Senergy Medical Group and/or Senergy Wellness Group
  every opportunity to remedy their accounting and fraud, but instead Scott Tennant and Senergy
  Medical Group and/or Senergy Wellness Group have conspired to continue their ruse.

  Just for the 3calendar years 2021-2023, Senergy Medical Group and/or Senergy Wellness Group
  and Scott Tennant personally owe Grantor an estimated $2,434,672, and that is without
  calculating the royalties owed for non Biomodulators and Transducers products sold. The
  amount owed to Grantor since 2016 through May 2024 appears to be well north of $5M.

  Cease Purchase and Name Use: With this immediate notice of termination, you can no longer
  purchase or manufacture any device or product included within the scope of the contract and
  amendments; identify yourself as an authorized representative of Grantor verbally, on your
  website, in collateral, or otherwise; and any I.P. or branding license heretofore granted is
  likewise terminated.


  Finally, you may no longer use, in any shape or form. Grantor’s name, image and/or likeness.

  30-day Notice of Sales Termination: In accordance with the terms and provisions of the
  contract, you have 30 days notice at which time you may no longer sell any device or product
  included within the scope of the contract and amendments.

   You may contact me at the above address if you have any questions. My e-mail address is
  j1tennant(@m ac. com.




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       Sincen




      Jerry Tennant as Grantor




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  Dr. Jerald L. Tennant; 9901 Valley Ranch Pkwy E #2000; Irving, Texas 75063



  June 21, 2024

  Avazzia, Attn: Tammy Lahutsky

  13140 Coit Rd., Suite 515

  Dallas TX 75240 (214) 575-2820



  RE: Cease & Desist



  Dear Avazzia:



  As of June 21, 2024, Scott Tennant, Senergy Medical Group, Senergy Wellness Group, and
  anyone associated with Senergy or Scott Tennant are no longer licensed to manufacture, market
  or sell devices utilizing my name or I.P., including the Tennant Biomodulator(r) Plus, the
  Tennant Biomodulator(r) Pro, and/or the Tennant Biotransducer(r) Crystal Wave. My agreement
  with them has been terminated.

  This is a formal demand that you cease and desist selling said devices to Scott Tennant, Senergy
  Medical Group/Senergy Wellness Group, and/or their representatives immediately.

  I have alternative plans to sell said devices, and will reach out to you soon with an order.



  Sincerely,




  Dr. Jerald L. Tennant




                                                                                       APP 00147
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               A - EXHIBIT 23




                                                                     APP 00148
Case 3:24-cv-01852-E   Document 48-1   Filed 10/11/24   Page 158 of 340   PageID 991




                                                                     APP 00149
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               A - EXHIBIT 24




                                                                     APP 00150
Case 3:24-cv-01852-E               Document 48-1   Filed 10/11/24   Page 160 of 340   PageID 993

  From: Scott Tennant stennant@senergy.us
Subject: 2021 NOV Report 11-15-21.xlsx
   Date: December 27, 2021 at 1:49 PM
     To: Jerald L Tennant jltennant@mac.com


       This is a report for November 2021. $17,300 was sent in early December and the final
       amount $21,800 was bank wired today 12/27/2021.

       Thanks

       Scott


             2021 NOV Report 11-15-21.pdf




                                                                                 APP 00151
                                        Case 3:24-cv-01852-E                  Document 48-1           Filed 10/11/24       Page 161 of 340      PageID 994

              November 2021 device sales - paid in December
  Date                     Name                    Rep     Num       Type                   Item           BT IP 200 & PRO 400     Royalty 50      Train mgt 100       Biotransducer 400
             Redacted Customer Names for Filing
11/05/2021                                        SMG     20223 Invoice         Plus BM & BT Pro II               200               $50.00           $100.00                         400
11/29/2021                                        SMG     20326 Invoice         Pro 2.1 & BT Pro II               200               $50.00           $100.00                         400
11/01/2021                                        MoorB   20212 Invoice         Pro 2.1 & BT Pro II               400               $50.00           $100.00                         400
11/10/2021                                        SMG     20270 Credit Memo     Plus BM & BT Pro II               (200)             ($50.00)         ($100.00)                      -400
11/10/2021                                        SMG     89234 Sales Receipt   Plus BM & BTCW                    200               $50.00           $100.00                         400
11/09/2021                                        SMG     20266 Invoice         BT Pro II                           x                  x                 x                           400
11/25/2021                                        SMG     20322 Invoice         Plus BM                           200               $50.00           $100.00       x
11/29/2021                                        MoorB   20328 Invoice         Pro 2.1 & BT Pro II               400               $50.00           $100.00                         400
11/16/2021                                        SMG     20297 Invoice         Pro 2.1 & BT Pro II               400               $50.00           $100.00                         400
11/21/2021                                        FaldA   89311 Sales Receipt   Pro 2.1 & BT Pro II               400               $50.00           $100.00                         400
11/12/2021                                        SMG     20283 Invoice         Pro 2.1 & BT Pro II               400               $50.00           $100.00                         400
11/29/2021                                        SMG     89343 Sales Receipt   Plus BM                           200               $50.00           $100.00       x
11/04/2021                                        SMG     20221 Invoice         Plus BM & BT Pro II               200               $50.00           $100.00                         400
11/14/2021                                        SMG     20285 Invoice         Pro 2.1 & BT Pro II               400               $50.00           $100.00                         400
11/24/2021                                        SMG     20321 Invoice         Pro 2.1 & BT Pro II               400               $50.00           $100.00                         400
11/08/2021                                        SMG     20242 Invoice         Pro 2.1 & BT Pro II               400               $50.00           $100.00                         400
11/01/2021                                                20215 Invoice         Pro 2.1 & BT Pro II               400               $50.00           $100.00                         400
11/02/2021                                        MarsA   89166 Sales Receipt   Plus BM & BT Pro II               200               $50.00           $100.00                         400
11/29/2021                                        SMG     20323 Invoice         Pro 2.1 & BT Pro II               400               $50.00           $100.00                         400
11/15/2021                                        MoorB   20294 Invoice         Plus BM & BT Pro II               200               $50.00           $100.00                         400
11/15/2021                                        SMG     20287 Invoice         Pro 2.1 & BT Pro II               400               $50.00           $100.00                         400
11/10/2021                                        SMG     20273 Invoice         Plus BM & BT Pro II               200               $50.00           $100.00                         400
11/12/2021                                        SMG     20284 Invoice         Plus BM                           200               $50.00           $100.00       x
11/29/2021                                        MumaK 89344 Sales Receipt     Plus BM & BT Pro II               200               $50.00           $100.00                         400
11/29/2021                                        SMG     89349 Sales Receipt   Plus BM & BT Pro II               200               $50.00           $100.00                         400
11/09/2021                                        SMG     89220 Sales Receipt   Pro 2.1 & BT Pro II               400               $50.00           $100.00                         400
11/29/2021                                        SMG     89346 Sales Receipt   Pro 2.1 & BT Pro II               400               $50.00           $100.00                         400
11/02/2021                                        SMG     89168 Sales Receipt   Pro 2.1 & BT Pro II               400               $50.00           $100.00                         400
11/22/2021                                        MediJ   20314 Invoice         Pro 2.1 & BT Pro II               400               $50.00           $100.00                         400
11/05/2021                                        SMG     20229 Invoice         Pro 2.1 & BT Pro II               400               $50.00           $100.00                         400
11/29/2021                                        SMG     89341 Sales Receipt   Pro 2.1 & BT Pro II               400               $50.00           $100.00                         400
11/21/2021                                        SMG     89314 Sales Receipt   Pro 2.1 & BT Pro II               400               $50.00           $100.00                         400



                                                                                                                                                                 APP 00152
                                          Case 3:24-cv-01852-E               Document 48-1               Filed 10/11/24       Page 162 of 340     PageID 995
              Redacted Customer Names for Filing
 11/02/2021                                        SMG     20213 Invoice         Pro 2.1 & BT Pro II                400                $50.00         $100.00                 400
 11/05/2021                                        SMG     89193 Sales Receipt   BT Pro II                            x                $50.00         $100.00                 400
 11/16/2021                                        SMG     20300 Invoice         Pro 2.1 & BT Pro II                400                $50.00         $100.00                 400
 11/23/2021                                        VandL   26312 Invoice         Plus BM                            200                $50.00         $100.00       x
 11/23/2021                                        VandL   26312 Invoice         BT Pro II                            x                   x               x                   400
 11/11/2021                                        SMG     20274 Invoice         Pro 2.1 & BT Pro II                400                $50.00         $100.00                 400
 11/08/2021                                        SMG     89210 Sales Receipt   Plus BM                            200                $50.00         $100.00       x
 11/17/2021                                        SMG     89290 Sales Receipt   Pro 2.1 & BT Pro II                400                $50.00         $100.00                 400
 11/08/2021                                        SMG     89207 Sales Receipt   Pro 2.1 & BT Pro II                400                $50.00         $100.00                 400
 11/24/2021                                        MoorB   20318 Invoice         Plus BM                            200                $50.00         $100.00       x
 11/24/2021                                        SMG     89330 Sales Receipt   Pro 2.1 & BT Pro II                400                $50.00         $100.00                 400
 11/16/2021                                        SMG     89282 Sales Receipt   BT Pro II                            x                   x               x                   400
 11/03/2021                                        SMG     20218 Invoice         Pro 2.1 & BT Pro II              Senergy               SMG             SMG         SMG
 11/15/2021                                        SMG     89272 Sales Receipt   BT Pro II                            x                   x               x                   400
 11/09/2021                                        MayeA   89225 Sales Receipt   Pro 2.1 & BT Pro II                400                $50.00         $100.00                 400
 11/05/2021                                        SMG     20230 Invoice         Pro 2.1 & BT Pro II                400                $50.00         $100.00                 400
 11/09/2021                                        SMG     20264 Invoice         Pro 2.1 & BT Pro II                400                $50.00         $100.00                 400
 11/03/2021                                        SMG     20217 Invoice         Pro 2.1                            TIIM                TIIM            TIIM        x
 11/16/2021                                        MoorB   26303 Sales Receipt   Plus BM                            200                $50.00         $100.00       x
 11/10/2021                                        SMG     20272 Invoice         Pro 2.1 & BT Pro II                400                $50.00         $100.00        $    400.00
 11/30/2021                                        SMG     89364 Sales Receipt   Pro 2.1 & BT Pro II                400                $50.00         $100.00        $    400.00
11/308/2021                                        SMG     20340 Invoice         Pro 2.1 & BT Pro II                400                $50.00         $100.00        $    400.00
                                                                                                                   15000              $2,300.00       $4,600.00            17200

                                                                                 Total                           39,100.00
                                                                                      prepaid in Dec $                  17,300.00
                                                                                      paid 12/27/2021             21,800.00




                                                                                                                                                                  APP 00153
           Case 3:24-cv-01852-E   Document 48-1   Filed 10/11/24   Page 163 of 340   PageID 996




returned




                                                                                                  APP 00154
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               A - EXHIBIT 25




                                                                     APP 00155
        Case 3:24-cv-01852-E                        Document 48-1                   Filed 10/11/24                 Page 165 of 340                    PageID 998


From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Friday, June 29, 2018 11:01 PM
To:                        XXXX
Cc:                        XXXX
Subject:                   Official USPTO Notice of Acceptance/Acknowledgement Sections 8 and 15: U.S. Trademark RN 4334430: HEALING IS VOLTAGE

U.S. Serial Number: 85731084
U.S. Registration Number: 4334430
U.S. Registration Date: May 14, 2013
Mark: HEALING IS VOLTAGE
Owner: Tennant Family, Ltd.



                                                                                 Jun 29, 2018

                                                       NOTICE OF ACCEPTANCE UNDER SECTION 8
The declaration of use or excusable nonuse filed for the above-identified registration meets the requirements of Section 8 of the Trademark Act, 15 U.S.C. §1058. The Section
8 declaration is accepted.

                                                NOTICE OF ACKNOWLEDGEMENT UNDER SECTION 15
The declaration of incontestability filed for the above-identified registration meets the requirements of Section 15 of the Trademark Act, 15 U.S.C. §1065. The Section 15
declaration is acknowledged.

The registration will remain in force for the class(es) listed below, unless canceled by an order of the Commissioner for Trademarks or a Federal Court, as long as
the requirements for maintaining the registration are fulfilled as they become due.

Class(es):
016




TRADEMARK SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500




                                                         REQUIREMENTS FOR MAINTAINING REGISTRATION

WARNING: Your registration will be canceled if you do not file the documents below during the specified statutory time periods.

Requirements in the First Ten Years

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between the 9th and 10th years after the registration date.
See 15 U.S.C. §§1058, 1059.

Requirements in Successive Ten-Year Periods

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between every 9th and 10th-year period, calculated from the
registration date. See 15 U.S.C. §§1058, 1059.

Grace Period Filings

The above documents will be considered as timely if filed within six months after the deadlines listed above with the payment of an additional fee.

***THE USPTO IS NOT REQUIRED TO SEND ANY FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS. THE OWNER SHOULD CONTACT THE USPTO
ONE YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.***

To check the status of this registration, go to
https://tsdr.uspto.gov/#caseNumber=85731084&caseSearchType=US_APPLICATION&caseType=DEFAULT&searchType=statusSearch or contact the Trademark Assistance
Center at 1-800-786-9199.

To view this notice and other documents for this registration on-line, go to
https://tsdr.uspto.gov/#caseNumber=85731084&caseSearchType=US_APPLICATION&caseType=DEFAULT&searchType=documentSearch NOTE: This notice will only be
available on-line the next business day after receipt of this e-mail.

 *   For further information, including information on filing and maintenance requirements for U.S. trademark applications and registrations and required fees,
     please consult the USPTO website at https://www.uspto.gov/trademark/ or contact the Trademark Assistance Center at 1-800-786-9199.




                                                                                                                                             APP 00156
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               A - EXHIBIT 26




                                                                     APP 00157
       Case 3:24-cv-01852-E                        Document 48-1                   Filed 10/11/24                 Page 167 of 340                     PageID 1000


From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Monday, September 10, 2018 11:01 PM
To:                        XXXX
Cc:                        XXXX; XXXX; XXXX
Subject:                   Official USPTO Notice of Acceptance/Acknowledgement Sections 8 and 15: U.S. Trademark RN 4382782: TENNANT BIOTRANSDUCER:
                           Docket/Reference No. 21024.4

U.S. Serial Number: 85731087
U.S. Registration Number: 4382782
U.S. Registration Date: Aug 13, 2013
Mark: TENNANT BIOTRANSDUCER
Owner: Tennant Family, Ltd.



                                                                                 Sep 10, 2018

                                                       NOTICE OF ACCEPTANCE UNDER SECTION 8
The declaration of use or excusable nonuse filed for the above-identified registration meets the requirements of Section 8 of the Trademark Act, 15 U.S.C. §1058. The Section
8 declaration is accepted.

                                                NOTICE OF ACKNOWLEDGEMENT UNDER SECTION 15
The declaration of incontestability filed for the above-identified registration meets the requirements of Section 15 of the Trademark Act, 15 U.S.C. §1065. The Section 15
declaration is acknowledged.

The registration will remain in force for the class(es) listed below, unless canceled by an order of the Commissioner for Trademarks or a Federal Court, as long as
the requirements for maintaining the registration are fulfilled as they become due.

Class(es):
010




TRADEMARK SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500




                                                         REQUIREMENTS FOR MAINTAINING REGISTRATION

WARNING: Your registration will be canceled if you do not file the documents below during the specified statutory time periods.

Requirements in the First Ten Years

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between the 9th and 10th years after the registration date.
See 15 U.S.C. §§1058, 1059.

Requirements in Successive Ten-Year Periods

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between every 9th and 10th-year period, calculated from the
registration date. See 15 U.S.C. §§1058, 1059.

Grace Period Filings

The above documents will be considered as timely if filed within six months after the deadlines listed above with the payment of an additional fee.

***THE USPTO IS NOT REQUIRED TO SEND ANY FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS. THE OWNER SHOULD CONTACT THE USPTO
ONE YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.***

To check the status of this registration, go to
https://tsdr.uspto.gov/#caseNumber=85731087&caseSearchType=US_APPLICATION&caseType=DEFAULT&searchType=statusSearch or contact the Trademark Assistance
Center at 1-800-786-9199.

To view this notice and other documents for this registration on-line, go to
https://tsdr.uspto.gov/#caseNumber=85731087&caseSearchType=US_APPLICATION&caseType=DEFAULT&searchType=documentSearch NOTE: This notice will only be
available on-line the next business day after receipt of this e-mail.

 *   For further information, including information on filing and maintenance requirements for U.S. trademark applications and registrations and required fees,
     please consult the USPTO website at https://www.uspto.gov/trademark/ or contact the Trademark Assistance Center at 1-800-786-9199.




                                                                                                                                             APP 00158
Case 3:24-cv-01852-E   Document 48-1   Filed 10/11/24   Page 168 of 340   PageID 1001




                A - EXHIBIT 27




                                                                      APP 00159
       Case 3:24-cv-01852-E                        Document 48-1                   Filed 10/11/24                 Page 169 of 340                     PageID 1002


From:                      TMOfficialNotices@USPTO.GOV
Sent:                      Saturday, May 7, 2022 11:03 PM
To:                        XXXX
Cc:                        XXXX; XXXX
Subject:                   Official USPTO Notice of Acceptance/Acknowledgement Sections 8 and 15: U.S. Trademark RN 4878439: HEALING IS VOLTAGE:
                           Docket/Reference No. 21024.7

U.S. Serial Number: 86424790
U.S. Registration Number: 4878439
U.S. Registration Date: Dec 29, 2015
Mark: HEALING IS VOLTAGE
Owner: Tennant Family, Ltd.



                                                                                 May 6, 2022

                                                       NOTICE OF ACCEPTANCE UNDER SECTION 8
The declaration of use or excusable nonuse filed for the above-identified registration meets the requirements of Section 8 of the Trademark Act, 15 U.S.C. §1058. The Section
8 declaration is accepted.

                                                NOTICE OF ACKNOWLEDGEMENT UNDER SECTION 15
The declaration of incontestability filed for the above-identified registration meets the requirements of Section 15 of the Trademark Act, 15 U.S.C. §1065. The Section 15
declaration is acknowledged.

The registration will remain in force for the class(es) listed below, unless canceled by an order of the Commissioner for Trademarks or a Federal Court, as long as
the requirements for maintaining the registration are fulfilled as they become due.

Class(es):
041




TRADEMARK SPECIALIST
POST-REGISTRATION DIVISION
571-272-9500




                                                         REQUIREMENTS FOR MAINTAINING REGISTRATION

WARNING: Your registration will be canceled if you do not file the documents below during the specified statutory time periods.

Requirements in the First Ten Years

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between the 9th and 10th years after the registration date.
See 15 U.S.C. §§1058, 1059.

Requirements in Successive Ten-Year Periods

What and When to File: You must file a declaration of use (or excusable nonuse) and an application for renewal between every 9th and 10th-year period, calculated from the
registration date. See 15 U.S.C. §§1058, 1059.

Grace Period Filings

The above documents will be considered as timely if filed within six months after the deadlines listed above with the payment of an additional fee.

***THE USPTO IS NOT REQUIRED TO SEND ANY FURTHER NOTICE OR REMINDER OF THESE REQUIREMENTS. THE OWNER SHOULD CONTACT THE USPTO
ONE YEAR BEFORE THE EXPIRATION OF THE TIME PERIODS SHOWN ABOVE TO DETERMINE APPROPRIATE REQUIREMENTS AND FEES.***

To check the status of this registration, go to
https://tsdr.uspto.gov/#caseNumber=86424790&caseSearchType=US_APPLICATION&caseType=DEFAULT&searchType=statusSearch or contact the Trademark Assistance
Center at 1-800-786-9199.

To view this notice and other documents for this registration on-line, go to
https://tsdr.uspto.gov/#caseNumber=86424790&caseSearchType=US_APPLICATION&caseType=DEFAULT&searchType=documentSearch NOTE: This notice will only be
available on-line the next business day after receipt of this e-mail.

 *   For further information, including information on filing and maintenance requirements for U.S. trademark applications and registrations and required fees,
     please consult the USPTO website at https://www.uspto.gov/trademark/ or contact the Trademark Assistance Center at 1-800-786-9199.




                                                                                                                                             APP 00160
Case 3:24-cv-01852-E   Document 48-1   Filed 10/11/24   Page 170 of 340   PageID 1003




                A - EXHIBIT 28




                                                                      APP 00161
Case 3:24-cv-01852-E   Document 48-1   Filed 10/11/24   Page 171 of 340   PageID 1004




                                                                      APP 00162
Case 3:24-cv-01852-E   Document 48-1   Filed 10/11/24   Page 172 of 340   PageID 1005




                                                                      APP 00163
Case 3:24-cv-01852-E   Document 48-1   Filed 10/11/24   Page 173 of 340   PageID 1006




                A - EXHIBIT 29




                                                                      APP 00164
Case 3:24-cv-01852-E   Document 48-1   Filed 10/11/24   Page 174 of 340   PageID 1007




                                                                      APP 00165
Case 3:24-cv-01852-E   Document 48-1   Filed 10/11/24   Page 175 of 340   PageID 1008




            EXHIBIT B




                                                                      APP 00166
Case 3:24-cv-01852-E       Document 48-1    Filed 10/11/24   Page 176 of 340    PageID 1009


                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

                                               §
   MARTEN GROUP, INC. d/b/a                    §
   SENERGY MEDICAL GROUP and                   §
   SCOTT TENNANT,                              §
                                               § Case No. 3:24-cv-01852
             Plaintiffs,                       §
                                               § JURY TRIAL DEMANDED
   v.                                          §
                                               §
                                               §
   JERALD TENNANT, MD, JOHN                    §
   TENNANT, TERESA JESSEN                      §
   TENNANT, JARED TENNANT,                     §
   TENNANT DEVICES AND                         §
   ACCESSORIES, LLC, and                       §
   CURADOR, LLC,                               §
                                               §
             Defendants.

  DECLARATION OF TYLER L. FARMER IN SUPPORT OF DEFENDANTS’
            MOTION FOR PRELIMINARY INJUNCTION


        I, Tyler L. Farmer, hereby declare as follows:

        1.       I am one of the attorneys for Defendants in this matter. I am over age 18

 and am competent to be a witness. I am making this declaration based on facts within

 my own personal knowledge.

        2.       Attached as Exhibit B-1 is a true and correct copy of a website printout

 from https://store.senergy.us/products/tennant-emerald-package (last accessed on

 Aug. 28, 2024).




                                                                             APP 00167
Case 3:24-cv-01852-E    Document 48-1     Filed 10/11/24    Page 177 of 340    PageID 1010


          3.   Attached as Exhibit B-2 is a true and correct copy of a website printout

 from https://senergywebsite.s3.us-east-2.amazonaws.com/Healthy+Cells+Doc.pdf

 (last accessed on Aug. 28, 2024).

          4.   Attached as Exhibit B-3 is a true and correct copy of a website printout

 from https://senergy.us/educationcenter/healing-is-voltage/ (last accessed on Aug. 28,

 2024).

          5.   Attached as Exhibit B-4 is a true and correct copy of a letter dated July

 23, 2024 from Alison Battiste Clement, defendants former counsel, to Casey Griffith,

 counsel for Scott Tennant.

          6.   Attached as Exhibit B-5 is a true and correct copy of a letter dated

 August 22, 2024 from Matthew Acosta, counsel for Avazzia, Inc., to me in response

 to my August 20, 2024 letter to Avazzia.

          7.   Attached as Exhibit B-6 is a true and correct copy of a screen shot from

 the webpage where a video about the BioModulator Pro can be found. Last accessed

 on Aug. 28, 2024, the court can view this video at:

 https://store.senergy.us/pages/biomodulator-

 pro?_gl=1*jyfq58*_gcl_aw*R0NMLjE3MjQxOTM4MTEuRUFJYUlRb2JDaE1Jbk5

 mOGhOS0VpQU1WMWlDdEJoMjl6eFlaRUFFWUFTQUJFZ0sweF9EX0J3RQ..*_

 gcl_au*MTk4NzQ1ODQ0Ny4xNzI0MTkzNzk3*_ga*MTA3Njg2NjM5My4xNzI0M




                                                                           APP 00168
Case 3:24-cv-01852-E   Document 48-1     Filed 10/11/24    Page 178 of 340    PageID 1011


 TkzNzk3*_ga_N5JWL755H2*MTcyNDg2MTkzNS4xMy4xLjE3MjQ4NjM4MjIuN

 TYuMC4w

        8.    Attached as Exhibit B-7 is a true and correct copy of a website printout

 from https://senergy.us/courses-for-everyone/ (last accessed on Aug. 28, 2024).

        9.    Attached as Exhibit B-8 is a true and correct copy of a website printout

 from https://senergy.us/scientific-research/ (last accessed on Aug. 28, 2024).

        10. Attached as Exhibit B-9 is a true and correct copy of a website printout

 from https://avazzia.com/tennant-biomodulator-differences/ (last accessed on Aug.

 28, 2024).

        11. Attached as Exhibit B-10 is a true and correct copy of a letter dated

 August 16, 2024 from me to Casey Griffith, counsel for Scott Tennant enclosing a

 proposed engagement letter from Robert Lang of Alvarez & Marsal to conduct an

 independent review of the royalty payments.

        12. Attached as Exhibit B-11 is a true and correct copy of Casey Griffith’s

 August 20, 2024 email responding to my August 16, 2024 letter.




                                                                          APP 00169
Case 3:24-cv-01852-E    Document 48-1    Filed 10/11/24   Page 179 of 340     PageID 1012


       I declare under penalty of perjury under the laws of the United States that the

 foregoing is true and correct.

       Executed at Seattle, Washington on this 28th day of August, 2024.



                                             s/Tyler L. Farmer
                                             Tyler L. Farmer, WSBA #39912




                                                                          APP 00170
Case 3:24-cv-01852-E   Document 48-1     Filed 10/11/24     Page 180 of 340   PageID 1013




                           CERTIFICATE OF SERVICE


 I certify that this document is being served via ECF on counsel of record.

                                       /s/Tyler L. Farmer
                                       Tyler L. Farmer




                                                                          APP 00171
Case 3:24-cv-01852-E   Document 48-1   Filed 10/11/24   Page 181 of 340   PageID 1014




                  B - EXHIBIT 1




                                                                      APP 00172
8/26/24, 3:10 PM                                                          Emerald Package – Senergy
       Case 3:24-cv-01852-E                  Document         48-1 Filed 10/11/24                       Page 182 of 340
                                             “Future medicine will be the medicine of frequencies” - Albert Einstein
                                                                                                                          PageID 1015




https://store.senergy.us/products/tennant-emerald-package
                                                                                                                      APP 00173         1/23
8/26/24, 3:10 PM                                                       Emerald Package – Senergy
       Case 3:24-cv-01852-E                  Document 48-1           Filed 10/11/24        Page 183 of 340   PageID 1016
            HOME                     MENU                   SEARCH                SHOP              CART          ACCOUNT




https://store.senergy.us/products/tennant-emerald-package
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   HOME /



   SENERGY



   Emerald Package
   $ 11,750 .00

   Description



   BACK TO SCHOOL SALE - $450 OFF (Discount reflected in cart)

   This is a prescription device. If you feel that you are a candidate for this device and do not have someone who can prescribe one, we can connect you to a physician to assist in
   your prescription! If you purchase without a prescription we will contact you before shipping your device. Alternatively, you can call our office for assistance at 972-580-0545 to
   place your order.

   At this time, DO, MD, PA and NP, DDS, DPM and DVMs can all write a prescription for you.


https://store.senergy.us/products/tennant-emerald-package
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   THE EMERALD PACKAGE – TENNANT BIOMODULATOR PRO 2.1 & BIOTRANSDUCER CRYSTAL WAVE          Filed 10/11/24                    Page 201 of 340                      PageID 1034
   The Emerald
           HOME
               Package includes:               MENU                           SEARCH                            SHOP                              CART                          ACCOUNT



     1 Tennant BioModulator Pro 2.1 (professional model 60+ modes)*
     Includes 1 QuickStart Manual Reference Guide, 1 Polarity Reference Card, 1 Small Black Carry Case
     1 Tennant BioTransducer Crystal Wave
     Includes 1 RCA Connection Wire
     1 Hand Grip/Foot Plate Bundle with Wires
     1 Y-Electrode with 4Pin Lead Wire & Sleeve Protector
     1 Professional Protective Case
     1 Large Carry Case
     3″ Round Conductive Pads
     4PIN Connection 2/2 Lead Wire
     Lifetime Education/Support (valued at $2,499) as long as you own your device*
     24/7 Access to Education Portal
     Tennant Health Conference Tickets (1 per device) online or in-person
     1 on 1 support on video or in person
     Live Chat Support Mon-Fri 9am – 6pm
     Monthly Q&A Zoom for Device Owners Only

   *These educational materials are included with every purchase of a Tennant Device to ensure you can confidently operate your equipment and optimize your
   overall health and wellness.

   Shipping costs calculated during purchase.

   WARNING: Tennant BioModulator devices are not intended for individuals with a pacemaker or other implanted electronic devices, or who may be pregnant. Please call Senergy at
   (972-580-0545) to speak with an Advisor for more information.



           ABOUT SENERGY WELLNESS

     We work in partnership with renowned doctor and surgeon, Dr. Jerry Tennant . He invented this health system after developing encephalitis and a bleeding disorder in
     November 1995. Diagnostic tests confirmed he had three viruses in his brain and Dr. Tennant’s physicians told him nothing could be done. He started to expand his
     research beyond Western Medicine, into the world of energy and cellular therapy, and healed himself.

     Every day we use his health system, and the device he designed, the Tennant BioModulator® , to help others just like you, get back to the pain-free life you
     deserve. Learn more here .


           ABOUT DR. JERRY TENNANT

     Click Here To Read More about Dr. Jerry Tennant

     Dr. Jerry Tennant, MD, MD(H), PScD, is the founder of The Tennant Institute for Integrative Medicine, a world-renowned physician and integrative health practitioner,
     and the inventor of the Tennant BioModulator®.

     Dr. Jerry Tennant is a true Renaissance man. He is a teacher, inventor, healer, scholar, humanitarian, innovator, and entrepreneur — those are just a few of the ways we
     describe Dr. Tennant who has led a remarkable life dedicated to healing and innovation, which has altered the paradigm of western medicine. People from around the
     world travel to the Tennant Institute for Integrative Medicine in Colleyville, Texas, to seek out and benefit from his healing expertise.

     Through his Tennant Principles, Dr. Tennant’s mission is to inform patients and practitioners how the body requires voltage to make new cells in order to maintain
     health and wellness, as well as incorporate traditional medicine with integrative medicine for better results.

     H i    l    th      th      fH   li g i V lt g ™ Th H     db   k H    li g i V lt g ™ T     tb   k H    li g i V lt g ™ H      li g E   Di          H   li g i V lt g ™
           LEGAL DISCLAIMER

     Legal Disclaimer: This product is not intended to diagnose, mitigate, treat, cure or prevent any disease. Contact your health-care provider immediately if you suspect that you have a
     medical problem. Content on this site is for reference purposes and is not intended to substitute for advice given by a physician, pharmacist, or other licensed health-care professional.
     You should not use this information as self-diagnosis or for treating a health problem or disease.Actual product packaging and materials may contain more and/or different
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            HOME                        MENU                        SEARCH                               SHOP              CART                      ACCOUNT




   If you have any questions about financing, please call/text us at: (972)580-0545


       Share




                                                                                   FAQs
   How can I speak to someone about which device/product is best for me?
   Please book an appointment with one of our Senergy Advisors at this link . While we cannot give out specific medical advice, we are more than happy to help you
   take the next steps on your health journey.



   How can I learn more about Senergy & the Tennant Devices?
   We have many free resources available online! Click here to visit our YouTube Channel .

   Also, make sure to browse our website for more information.



   Why is the Tennant BioModulator not used by doctors in the general practice of medicine?
   Doctors and medical science normally pay attention to the chemical aspect of the body; therefore, they primarily use surgery and drug therapy as their method of
   treatment.




                                                                             Testimonials




                                                                                  ★★★★★

                                      "I am thrilled to tell you that, so far I have had great success with the Tennant
                                     BioModulator. I have no more pain in back, neck or shoulder pain which I’ve had
                                       for a very long time even though I have been receiving chiropractic, massage
                                    therapy as well as physiotherapy. I would highly recommend the BioModulator to
                                      anyone who has aches or pains or an illness as our entire body is electric, and
                                    voltage is the key to putting some “healing energy” back where it needs to be for
                                                                       complete healing."

                                                                             – K A. Brantford, Ontario




                                                                   You May Also Like




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   SENERGY - A4557                                                      SENERGY

   4PIN Connection 1/1 Lead Wire                                        Age Defiance Face Cream
   $ 25 .00                                                              $ 125 .00




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   SENERGY                                                      Document 48-1                            Filed 10/11/24
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   Conductive Pads - 3" Round White Foam                                                                         Small BioModulator Carry Case
              HOME                                  MENU                                 SEARCH                                 SHOP                                CART                               ACCOUNT
   $ 20 .00                                                                                                      $ 20 .00




                                                                                   Unsure Where To Start?
                                                       We know tackling a health crisis or maintaining your current health can be challenging.
                                              We have been helping thousands of people around the world get well and stay well for over 20 years.
                                                                                     Let us help you invest in your future self.



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     Hours:                                                                              About Senergy                                                        Tennant BioModulator

     M-F 9am-6pm CST                                                                     Education Center                                                     Device Bundles
                                                                                         Conditions Treated                                                   Accessories

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     Email us: live.well@senergy.us                                                      Proof It Works                                                       Water & Air Purification
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     Make a FREE appointment with a Senergy advisor.
                                                                                         Contact Us                                                           Frequently Asked Questions
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       Schedule Appointment




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     or diagnosis. Tennant BioModulator is only FDA accepted for pain management. This product is not intended to diagnose, treat, cure, or prevent any disease.




https://store.senergy.us/products/tennant-emerald-package
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                              HEALING IS
                              VOLTAGE™
                         Learn why chronic
                       disease & chronic pain
                       occur and how healthy
                        cells heal the body...




FOR MORE INFORMATION:
PLEASE GO TO WWW.SENERGY.US
CALL/TEXT +1 972-580-0545
                                                                         APP 00197
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     CELL                          HEALTH CELLS




07 5 FACTORS                   08 NUTRITION                  09 DETOX

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                  OUR STORY
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To begin, we must start with Dr. Jerry Tennant, MD, MD(H), PScD. The founder
of The Tennant Institute for Integrative Medicine, a world-renowned physician
and integrative health practitioner, and the inventor of the Tennant
BioModulator®.

At the height of Dr. Jerry Tennant’s career, the unthinkable happened. Being
one of the first surgeons in the US to place intraocular lenses in eyes after
cataract surgery, he was unaware that viruses existing in a patient’s eyes could
possibly be passed on to the surgeon. At the height of his career he was forced
to retire after diagnostic tests confirmed he had three viruses in his brain and
Dr. Tennant’s physicians told him nothing could be done. He started to expand
his research beyond Western Medicine, into the world of energy and cellular
therapy, and healed himself.




                                              HOW HE HEALED HIMSELF
                                              After years of research, Dr. Tennant
                                              began to understand that cells must
                                              have enough voltage to work and
                                              that chronic disease is associated
                                              with loss of voltage. His next step
                                              was to find out how to measure the
                                              voltage, and then developed the
                                              Tennant BioModulator® which adds
                                              voltage to the cells and keeps it at
                                              optimal levels. Following this path,
                                              he was able to heal himself naturally.


Today, Senergy is at the forefront of medical technology and the exclusive
distributor of the Tennant BioModulator®, the same handheld, FDA Accepted
device that was developed by Dr. Tennant.

Every day, by using his health system, and the device he designed, the
Tennant BioModulator® and its accessories, we help thousands of others just
like you, get back to the pain-free life they deserve.


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  THE LIFE OF A CELL
     Our cells are constantly wearing out and must be replaced.
  Chronic disease occurs when you lose the ability to make new cells
                              that work.

FACT: Your entire body rebuilds itself in less than 2 years — and 98% in less
                              than 365 days!

    Every cell in your body eventually dies and is replaced by new cells.

             Every day is a new opportunity to build a new body.


                          LEARN MORE - WHY
                       CHRONIC DISEASE OCCURS


                              WWW.SENERGY.US

                                                                     APP 00200
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      WHAT DOES IT TAKE TO MAKE
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       NEW CELLS THAT WORK?
Dr. Tennant has discovered 3 things that the body needs to make
                    new and healthy cells...


                                         VOLTAGE
                                         Cel l s need -25 mi ll ivol ts of el ectron
                                         donors to work. I t takes -50 millivolts to
                                         make a new cel l.

                                         Chronic disease i s al ways characterized
                                         by a lack of vol tage.




                                         NUTRITION
                                         To make a new cel l, you must have all
                                         the things it takes to make a cell. If you
                                         are missing even one nutri ent, your
                                         cel ls will not function normal l y. I f a
                                         tornado/hurricane destroys your home,
                                         you can’ t rebuild i t with doorknobs and
                                         bathroom til es — you need all the parts
                                         to make a new home. Thi s i s all about
                                         nutrition.




                                         DETOX
                                         You must deal wi th any toxins that can
                                         damage cel ls as fast as you make them.

                                         This can incl ude toxi ns from your
                                         water, heavy metal s i n your food and
                                         surrounding environment.




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    HOW DO WE ADDRESS
      THESE ISSUES?
      From the Tennant BioModulator® and its
       accessories, to our full Tennant Health
        System, to the support offered by Dr.
     Tennant's clinic, The Tennant Institute, we
    have developed an innovative way for you to
      become pain-free and live your best life.

            Learn more on the following pages!




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                                VOLTAGE

Our muscles are just like
rechargeable batteries. They are
stacked, one on top of the other, to                       When a rechargeable battery drains
form a battery pack. Every organ in                         all the way to zero, its polarity flips
the body has its own battery pack                          (+ to -) and it can no longer accept a
to provide the -25 millivolts to                           charge. Just like a battery, when our
function and the -50 millivolts to                            body and muscles are completely
repair cells when they wear out or                           discharged, their polarities flip and
                                                                 the body CAN NOT absorb any
are damaged.
                                                                                    more voltage.
A stack of muscle batteries is what
is also called an acupuncture
meridian.

The Tennant BioModulator® is used to add voltage in your
body and the Tennant BioTransducer® is used to flip the
polarities, but it is also important to address why your
batteries drained (your polarities flipped) in the first place.
Dr. Tennant has discovered 5 root causes for this voltage
drain (see next page!).

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                             5 FACTORS
   We have identified five things that drain your batteries and cause them to
                               flip their polarity:

 1. Inadequate thyroid hormone (when we address this, we usually order special
    blood tests that most doctors don’t).
 2. Scars and tattoos that short out circuit(s).
 3. Dental infections (all circuits pass through specific teeth and an infection will
    lower the voltage or act like a circuit breaker to inactivate the circuit).
 4. Emotional baggage (stored as magnetic fields that block circuit(s)).
 5. Toxins (bacteria, viruses, fungus, pesticides, GMO foods, etc.).

If you have batteries with reversed polarity, you will need to correct the ROOT
CAUSE that caused them to drain as discussed above by correcting the thyroid,
scars, dental infections, emotional baggage, and toxins.




                          LEARN MORE ABOUT
                         EACH 5 FACTOR HERE!


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                             NUTRITION
  Dr. Tennant has developed a core group of nutritional alternative health care
 products that support the production of new cells. Dr. Tennant's system aims to
          successfully help patients improve their health and wellness.

This core group of products (Dr. Tennant's Core 5)
contains only the purest and most biologically active
substances available, many of which are available
only by license. The Core 5 contains everything we
can identify that cells need to be replaced and
function normally.

The Core 5 consists of RESTORE™ (about 80% of
what cells need), Raw Materials® (every known
vitamin, mineral, and amino acid balanced by nature),
Lugol’s Iodine Plus (things needed to make stomach
acid and to make the thyroid function normally as
well as the first line of defense for the immune
system), and Digestive Enzyme Support (essentially
every known digestive enzyme to ensure you can
digest what you eat).

                           L EA R N MO R E A ND P U R C HA S E
                              T ENNA NT S U P P L EMENT S

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                                     DETOX
Anything you put into your body that is not used to make new cells, help cells work, or
used for fuel, the body has to try to excrete from the body. If it cannot do so, it stores
such toxins in various cells of the body, particularly in fat cells. The liver is the primary
organ tasked with the problem of getting things out of the body that don't belong
there.

Most toxins are fat-soluble and the liver must convert them to water-soluble, so you
can pee them out using the kidneys. Particularly damaging are heavy metals like
mercury, lead, cadmium, aluminum, etc.

Anything you put into your body that is
                                                    To learn more about this detox
not used to make new cells, help cells
                                                 process, click on the blog link below:
Every atom has a different frequency.
Every molecule has a specific combination
of frequencies. One can identify specific
molecules with a mass spectrometer. One
can scan the body and find the frequencies
that don’t belong there. Therefore, we can
eliminate toxins from the body using these
frequencies. This can be done through a
visit to the Tennant Institute clinic or a
telemedicine appointment with Dr. Chase
Faldmo who specializes in this detox
process.


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                              THANK YOU!
This healthy cells e-book contains all the basic information you need to start learning from
Dr, Tennant about how your body builds new and healthy cells.

As Dr. Tennant says, "all chronic disease can be traced to a lack of proper voltage in the
body."

Senergy and Dr, Tennant have devoted their lives to making sure you have the proper tools
and education to heal your body. Please contact Senergy if you have any questions, would
like to discuss purchasing a device. or need any assistance.


   CLICK THE BUTTON BELOW FOR ADDITIONAL VIDEOS SO YOU CAN LEARN HOW
                     TO GET WELL. BE WELL. LIVE WELL.™


                                   LEARN MORE




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   www.tennantinstitute.com                                         live.well@senergy.us

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8/21/24, 12:48 PM                                                Healing Is Voltage™ - Senergy Wellness Group
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                                                                                       




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                                                   HEALING IS VOLTAGE™




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                                                                                                                   APP 00209          1/14
8/21/24, 12:48 PM                                            Healing Is Voltage™ - Senergy Wellness Group
        Case 3:24-cv-01852-E                   Document 48-1     Filed 10/11/24            Page 219 of 340    PageID 1052




                                                         Share This Class:

                                                                            

              Login




                                                             OVERVIEW
         Our cells are constantly wearing out and must be replaced. Chronic disease occurs when you
         lost the ability to make new cells that work.


         FACT: Your entire body rebuilds itself in less than 2 years — and 98% in less than 365 days! Every
         cell in your body eventually dies and is replaced by new cells. Every day is a new opportunity to
         build a new body.




https://senergy.us/educationcenter/healing-is-voltage/
                                                                                                            APP 00210       2/14
8/21/24, 12:48 PM                                              Healing Is Voltage™ - Senergy Wellness Group
        Case 3:24-cv-01852-E Document 48-1 Filed 10/11/24                 Page 220 of 340 PageID 1053
        Take this free course to learn the basics of Dr. Tennant’s revolutionary Healing is Voltage™
         health and wellness philosophy.




                                                  WHO IS THE COURSE FOR?

          This course is for anyone who is interested in learning more about Dr. Tennant and his Healing
            is Voltage™ principle. If you have been wanting more information about why your cells need
                                               voltage to survive, this is the course for you!




                                                  LESSONS IN THE COURSE:




           Healthy Cells
                                                                  See More




https://senergy.us/educationcenter/healing-is-voltage/
                                                                                                              APP 00211   3/14
8/21/24, 12:48 PM                                          Healing Is Voltage™ - Senergy Wellness Group
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           Voltage

                                                               See More




https://senergy.us/educationcenter/healing-is-voltage/
                                                                                                          APP 00212       4/14
8/21/24, 12:48 PM                                          Healing Is Voltage™ - Senergy Wellness Group
        Case 3:24-cv-01852-E                   Document 48-1   Filed 10/11/24            Page 222 of 340    PageID 1055
           Holistic Nutrition

                                                               See More




           Eliminate Toxins
                                                               See More




https://senergy.us/educationcenter/healing-is-voltage/
                                                                                                          APP 00213       5/14
8/21/24, 12:48 PM                                          Healing Is Voltage™ - Senergy Wellness Group
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           Muscle Battery Packs

                                                               See More




https://senergy.us/educationcenter/healing-is-voltage/
                                                                                                          APP 00214       6/14
8/21/24, 12:48 PM                                          Healing Is Voltage™ - Senergy Wellness Group
        Case 3:24-cv-01852-E                   Document 48-1   Filed 10/11/24            Page 224 of 340    PageID 1057
           Who Is Dr. Jerry Tennant?

                                                               See More




           Background
                                                               See More




https://senergy.us/educationcenter/healing-is-voltage/
                                                                                                          APP 00215       7/14
8/21/24, 12:48 PM                                          Healing Is Voltage™ - Senergy Wellness Group
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           Personal Health Journey

                                                               See More




https://senergy.us/educationcenter/healing-is-voltage/
                                                                                                          APP 00216       8/14
8/21/24, 12:48 PM                                          Healing Is Voltage™ - Senergy Wellness Group
        Case 3:24-cv-01852-E                   Document 48-1   Filed 10/11/24            Page 226 of 340    PageID 1059
           Q&A with Dr. Tennant

                                                               See More




           Testimonials
                                                               See More




https://senergy.us/educationcenter/healing-is-voltage/
                                                                                                          APP 00217       9/14
8/21/24, 12:48 PM                                          Healing Is Voltage™ - Senergy Wellness Group
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           Dr. Tennant’s Live Presentation

                                                               See More




https://senergy.us/educationcenter/healing-is-voltage/
                                                                                                          APP 00218       10/14
8/21/24, 12:48 PM                                          Healing Is Voltage™ - Senergy Wellness Group
        Case 3:24-cv-01852-E                   Document 48-1   Filed 10/11/24            Page 228 of 340    PageID 1061
           The 5 Factors of Low Voltage

                                                               See More




           Learn More About Voltage
                                                               See More




https://senergy.us/educationcenter/healing-is-voltage/
                                                                                                          APP 00219       11/14
8/21/24, 12:48 PM                                          Healing Is Voltage™ - Senergy Wellness Group
        Case 3:24-cv-01852-E                   Document 48-1   Filed 10/11/24            Page 229 of 340    PageID 1062




           Join our next Tennant Health Conference!
                                                               See More




 Materials
 Healing is Voltage PDF
 click below




https://senergy.us/educationcenter/healing-is-voltage/
                                                                                                          APP 00220       12/14
8/21/24, 12:48 PM                                           Healing Is Voltage™ - Senergy Wellness Group
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                     Take your health in your own hands, recharge your cells, and live the life you’ve always wanted.




https://senergy.us/educationcenter/healing-is-voltage/
                                                                                                           APP 00221         13/14
8/21/24, 12:48 PM                                                Healing Is Voltage™ - Senergy Wellness Group
        Case 3:24-cv-01852-E                   Document 48-1         Filed 10/11/24            Page 231 of 340    PageID 1064
      Shop Now                                                            Support

      Financing Options                                                   Shipping & Returns

      Tennant BioModulator                                                Giving Back

      Device Packages                                                     Frequently Asked Questions

       Device Accessories                                                 Contact Us

      Senergy Skincare                                                    Your Account

      Water/Air Filtration



      Get Started                                                         About

      Conditions Treated                                                  About Senergy

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      Healthcare Professionals

      Home Use

      Scienti c Research
               fi
      Testimonials




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          Senergy Medical Group is the exclusive distributor of the Tennant BioModulator. Senergy is not a medical
         office and cannot provide medical advice or diagnosis. Tennant BioModulator is only FDA-accepted for pain
                  management. This product is not intended to diagnose, treat, cure, or prevent any disease.


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https://senergy.us/educationcenter/healing-is-voltage/
                                                                                                                APP 00222       14/14
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                  B - EXHIBIT 4




                                                                      APP 00223
Case 3:24-cv-01852-E         Document 48-1          Filed 10/11/24        Page 233 of 340       PageID 1066

                          BATTISTE CLEMENT PLLC
   ALISON BATTISTE CLEMENT                                               ALISON@BATTISTECLEMENT.COM
   2626 COLE AVENUE, SUITE 300                                           (214) 540-7206
   DALLAS, TEXAS 75204

                                                 July 23, 2024

   Via Electronic Mail (Casey.Griffith@griffithbarbee.com)

   Casey Griffith
   Griffith Barbee PLLC
   One Arts Plaza
   1722 Routh Street, Suite 910
   Dallas, Texas 75201

   Re: Infringement of Trademarks owned by Tennant Devices and Accessories, LLC

   Dear Mr. Griffith,

            My firm and I represent Jerald Tennant, MD, John Tennant, Teresa Jessen Tennant, Jared
   Tennant, Tennant Devices and Accessories, LLC, and Curador, LLC. In 2006, Jerald L. Tennant,
   MD acquired the TENNANT BIOTRANSDUCER Mark, US Registration Number 4382782, and
   the TENNANT BIOMODULATOR Mark, US Registration Number 3157112 (together, “The
   Marks”), which are in full force and effect. On May 16, 2024, the Marks were assigned to Tennant
   Devices and Accessories, LLC (“Tennant Devices”). Copies of our Client’s registrations are
   enclosed herein. You can verify the registrations using the search tools at the USPTO website. Your
   clients, Marten Group, Inc. d/b/a Senergy Medical Group and Scott Tennant (together “Your
   Clients”), have no ownership interest in The Marks.
           Prior to June 21, 2024, Dr. Tennant permitted Your Clients to market his devices, including
   the Tennant BioModulator Plus, Tennant BioModulator Pro, and Tennant Crystal Wave
   BioTransducer, pursuant to royalty agreements between Dr. Tennant and Your Clients. The royalty
   agreements created a fiduciary relationship between Your Clients and Dr. Tennant and subjected
   Your Clients to confidentiality requirements, in which Your Clients acknowledged Dr. Tennant’s
   trade secrets, i.e., the confidential and proprietary nature of his information. It was this confidential
   and fiduciary relationship by which Dr. Tennant entrusted Your Clients to market his devices and
   communicate with his patients, who purchased his devices, regarding the use, maintenance, and
   warranties of the medical devices.
          However, on June 21, 2024, Dr. Tennant provided Your Clients with notice that he
   terminated the royalty agreements due to Your Clients’ breaches of the royalty agreements, and that
   Your Clients must stop selling his devices within 30 days of the letter, which was July 21, 2024. On
   June 23, 2024, Your Clients acknowledged receipt of Dr. Tennant’s June 21, 2024 letter.
         In addition, as Your Clients know, any sale of the Tennant BioModulator Plus, Tennant
   BioModulator Pro, or Tennant Crystal Wave BioTransducer requires a prescription, by law.
         It has come to our attention that not only are Your Clients defying the June 21, 2024 letter,
   which terminated any and all rights Your Clients previously had to market the Tennant
   BioModulator Plus, Tennant BioModulator Pro, and Tennant Crystal Wave BioTransducer, but




                                                                                            APP 00224
Case 3:24-cv-01852-E        Document 48-1        Filed 10/11/24       Page 234 of 340       PageID 1067

   Casey Griffith
   July 23, 2024
   Page 2

   Your Clients are also infringing on The Marks by continuing to sell the devices. It has also come to
   our attention that Your Clients are illegally selling the devices without a prescription.
            The above use of The Marks in connection with the Tennant BioModulator Plus, Tennant
   BioModulator Pro, and Tennant Crystal Wave BioTransducer subjects Your Clients to liability for
   willful trademark infringement in violation of the Lanham Trademark Act, 15 U.S.C. § 1051 et. seq.
   The civil remedies available for these violations include immediate and permanent injunctive relief,
   recovery of Your Clients’ profits, and up to three times the amount of monetary damages suffered
   by our client, as well as an award of attorneys’ fees.
          Moreover, Your Clients’ continual failure to provide Dr. Tennant with their database of Dr.
   Tennant’s patients and the serial numbers of the devices Dr. Tennant’s patients purchased puts Dr.
   Tennant’s patients’ health in peril and further damages Dr. Tennant’s and Tennant Devices’ brand,
   which they have spent over 20 years developing.
           Dr. Tennant and Tennant Devices demand that Your Clients immediately cease and desist
   such infringing and illegal activity, specifically:
          1. cease and desist from selling or marketing the Tennant BioModulator Plus, Tennant
          BioModulator Pro, and Tennant Crystal Wave BioTransducer; and
          2. cease and desist from all further use of The Marks and any other designations likely to
          cause confusion with The Marks.
           Dr. Tennant and Tennant Devices further demand that Your Clients provide, no later than
   the close of business on July 24, 2024, written confirmation that Your Clients will comply with these
   demands and provide a copy of the entire patient database, including patient contact information
   and serial numbers of their devices within a week of this letter.
          Dr. Tennant and Tennant Devices are prepared to try to resolve this matter amicably
   provided that Your Clients cooperate fully by immediately ceasing all sales of the Tennant
   BioModulator Plus, Tennant BioModulator Pro, and Tennant Crystal Wave BioTransducer.
            Your Clients are specifically advised that any failure or delay in complying with these
   demands will likely compound the damages for which Your Clients may be liable. If Dr. Tennant
   and Tennant Devices do not receive a satisfactory and timely response, they are prepared to take all
   steps necessary to protect their valuable intellectual property rights, protect the health of Dr.
   Tennant’s patients, and stop Your Clients’ illegal sales of the Tennant BioModulator Plus, Tennant
   BioModulator Pro, and Tennant Crystal Wave BioTransducer, without further notice to Your
   Clients.
            The above is not an exhaustive statement of all the relevant facts and law. Dr. Tennant and
   Tennant Devices expressly reserve all their legal and equitable rights and remedies, including the
   right to seek injunctive relief and recover monetary damages.

                                                         Kind regards,



                                                         Alison Battiste Clement



                                                                                        APP 00225
Case 3:24-cv-01852-E          Document 48-1   Filed 10/11/24   Page 235 of 340   PageID 1068

   Casey Griffith
   July 23, 2024
   Page 3


   enclosures

   cc:      Melanie Bell (in firm)
            Michael Barbee
            Kirk Voss
            Joshua Yun




                                                                             APP 00226
Case 3:24-cv-01852-E   Document 48-1   Filed 10/11/24   Page 236 of 340   PageID 1069




                  B - EXHIBIT 5




                                                                      APP 00227
Case 3:24-cv-01852-E          Document 48-1           Filed 10/11/24          Page 237 of 340          PageID 1070
                                                                                           Matthew C. Acosta
                                                                                                      Partner
                                                                                   macosta@plattrichmond.com




                                                 August 22, 2024

   VIA Email
   Tyler L. Farmer
   BRYAN CAVE LEIGHTON PAISNER LLP
   999 Third Avenue Suite 4400
   Seattle WA 98704
   tyler.farmer@bclplaw.com


          RE:      Marten Group, Inc., et al. v. Jerald Tennant, et al. – Avazzia, Inc.; N.D. Tex.
                   Dallas Division – No. 3:24-cv-01852-E

   Dear Tyler:

          This letter is in reply to your correspondence to Avazzia, Inc. ("Avazzia") dated August 20,
   2024 (the "Letter"). Given the extensive remedies your client is requesting, it seems unreasonable
   to expect a response in under 48 hours. Nevertheless, we address the issues raised in your letter
   below.

           The Letter asserts that Avazzia was aware, or should have been aware, of Scott Tennant,
   Senergy Medical Group, and/or Senergy Wellness Group's (collectively, “Senergy”) alleged
   trademark infringement by June 21, 2024. However, our examination of public records does not
   indicate that your client has filed a trademark infringement claim against Senergy. In fact,
   Senergy's federal lawsuit actively disputes any claim that Dr. Tennant has in the subject trademark.
   Your statement that Dr. Tennant “will enforce” his “trademark rights”, is ambiguous as to whether
   he is alleging that Synergy has infringed trademarks, or which trademarks (if any) they are
   allegedly infringing. As we understand, Dr. Tennant has filed a lawsuit against Synergy and did
   not assert any trademark infringement claims. Moreover, the information provided to date does
   not clarify whether your client has even formally or informally notified Senergy of the alleged
   trademark infringement claim, and we have not seen evidence of any such notice.

           That said, it appears that Dr. Tennant agrees that Senergy was at least a licensee of the of
   the subject trademarks at some time. While the letter claims that Senergy is “no longer licensed to
   use the Tennant Biomodulator or Tennant Biotransducer mark,” you have not provided a copy of
   the relevant license nor the alleged revocation or rescission of the license. To assess the claims in
   your letter, we will need a copy of all relevant documents supporting your allegations.

           Given the circumstances and lack of supporting information provided by your letter,
   Avazzia is still unable to assess the validity of Dr. Tennant’s or Senergy’s claims. As such, Avazzia
   has no basis to alter its established practices and regular business operations at this time. Feel free
   to provide me additional information and explanation of your position for my client to consider.




           1201 N. RIVERFRONT BLVD., SUITE 150 | DALLAS, TEXAS 75207 | MAIN 214.559.2700 | FAX 214.559.4390
                                                 WWW.PLATTRICHMOND.COM
                                                                                                  APP 00228
Case 3:24-cv-01852-E        Document 48-1         Filed 10/11/24       Page 238 of 340        PageID 1071
                                                                                                  Page 2


            Additionally, your Letter suggests that Dr. Tennant has some ownership interest in Avazzia
   products. My client is unaware of any ownership interest that Dr. Tennant has in any products
   manufactured by Avazzia, and do not know of any long term or ongoing agreement between Dr.
   Tennant and Avazzia. If Dr. Tennant wants to discuss a long-term business arrangement, Avazzia
   will consider the request just as it would with any other potential customer. However, Avazzia is
   not aware of any obligation to sell anything to Dr. Tennant without an agreement between the
   parties.



                                                                 Sincerely,

                                                                 /s/ Matthew C. Acosta

                                                                 Matthew C. Acosta

   MCA/aw




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                                                                                         APP 00229
Case 3:24-cv-01852-E   Document 48-1   Filed 10/11/24   Page 239 of 340   PageID 1072




                  B - EXHIBIT 6




                                                                      APP 00230
8/28/24, 9:54 AM                                                      BioModulator Pro – Senergy
       Case 3:24-cv-01852-E              Document         48-1 Filed 10/11/24                       Page 240 of 340
                                         “Future medicine will be the medicine of frequencies” - Albert Einstein
                                                                                                                      PageID 1073




                                                          BioModulator Pro
        The Tennant BioModulator Pro 2.1 is a battery-powered, easy to use, hand-held medical device for pain relief uses microcurrent
              technology to engage the body’s natural resources and assist in the process of pain management & rehabilitation.


                                            LEARN MORE ABOUT WHAT THE TENNANT DEVICES CAN DO




  What is the BioModulator Pro?

  The Tennant BioModulator Pro stimulates the body at the cellular level through electrical impulses transmitted by electrodes in the
  device, restoring cellular metabolic activity in the area of treatment.
  The Tennant BioModulator Pro is designed for deep stimulation for effective, long-lasting pain relief to help patients from all walks of
  life suffering from all types of conditions.
  FDA-accepted, these devices have been proven to alleviate muscle, tendon, and ligament pain due to injury, arthritis, fibromyalgia,
  diabetic neuropathy, carpal tunnel, sports injuries, phantom limb pain and Parkinson’s disease, just to name a few.



  Bundles with the BioModulator Pro




                                                                                                                  APP 00231
https://store.senergy.us/pages/biomodulator-pro?_gl=1*jyfq58*_gcl_aw*R0NMLjE3MjQxOTM4MTEuRUFJYUlRb2JDaE1Jbk5mOGhOS0VpQU1WMWl…                1/5
8/28/24, 9:54 AM                                                BioModulator Pro – Senergy
        Case 3:24-cv-01852-E            Document 48-1        Filed 10/11/24           Page 241 of 340      PageID 1074
            HOME                 MENU               SEARCH                  SHOP               CART                 ACCOUNT




                                               ADD TO CART                                                     ADD TO CART



  Tennant BioModulator Pro 2.1                                   Pro/Crystal Wave Bundle
   $ 7,650 .00                                                    $ 11,250 .00




                                                                                                      APP 00232
https://store.senergy.us/pages/biomodulator-pro?_gl=1*jyfq58*_gcl_aw*R0NMLjE3MjQxOTM4MTEuRUFJYUlRb2JDaE1Jbk5mOGhOS0VpQU1WMWl…   2/5
8/28/24, 9:54 AM                                                    BioModulator Pro – Senergy
       Case 3:24-cv-01852-E             Document 48-1            Filed 10/11/24           Page 242 of 340      PageID 1075
            HOME                 MENU                  SEARCH                   SHOP                  CART            ACCOUNT




                                                                                                                 ADD TO CART


  Emerald Package
   $ 11,750 .00




                                                       Backed by science.
                                         The Tennant Devices have the clinical studies to prove it.


                                                          READ CLINICAL STUDIES




                                                                 FAQs
         HOW DOES THE BIOMODULATOR PRO WORK?

                                                                                                             APP 00233
https://store.senergy.us/pages/biomodulator-pro?_gl=1*jyfq58*_gcl_aw*R0NMLjE3MjQxOTM4MTEuRUFJYUlRb2JDaE1Jbk5mOGhOS0VpQU1WMWl…   3/5
8/28/24, 9:54 AM                                                                                BioModulator Pro – Senergy
       Case  3:24-cv-01852-E Document 48-1
       WHAT ARE THE BENEFITS OF BIOMODULATOR THERAPY?
                                                                                            Filed 10/11/24                 Page 243 of 340          PageID 1076
            HOME                                  MENU                          SEARCH                         SHOP                        CART          ACCOUNT


        WHAT’S THE DIFFERENCE BETWEEN A TENS UNIT (TRANSCUTANEOUS ELECTRICAL NERVE STIMULATOR) & A TENNANT BIOMODULATOR?



        WHAT DOES THE BIOMODULATOR THERAPY FEEL LIKE? IS IT SAFE?



        HOW DO I USE THE TENNANT BIOMODULATOR PRO?



        HOW DO I TAKE CARE OF MY BIOMODULATOR® PRO?



        W H AT I S T H E D A I LY P R O T O C O L ?



        DOES THE TENNANT BIOMODULATOR HAVE FDA APPROVAL/ACCEPTANCE?



        WHERE CAN I LEARN MORE ABOUT THE BIOMODULATOR PRO?




                                                                                BioModulator Technology




                                                                            Unsure Where To Start?
                                                      We know tackling a health crisis or maintaining your current health can be challenging.
                                            We have been helping thousands of people around the world get well and stay well for over 20 years.
                                                                             Let us help you invest in your future self.




https://store.senergy.us/pages/biomodulator-pro?_gl=1*jyfq58*_gcl_aw*R0NMLjE3MjQxOTM4MTEuRUFJYUlRb2JDaE1Jbk5mOGhOS0VpQU1WMWl…
                                                                                                                                                  APP 00234        4/5
8/28/24, 9:54 AM                                                                                            BioModulator Pro – Senergy
        Case 3:24-cv-01852-E                                   Document 48-1                           Filed 10/11/24                        Page 244 of 340                           PageID 1077
                                                              Schedule A Call That Will Change The Way You See Health, Forever...
              HOME                                 MENU                                SEARCH                                 SHOP                                 CART                               ACCOUNT




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https://store.senergy.us/pages/biomodulator-pro?_gl=1*jyfq58*_gcl_aw*R0NMLjE3MjQxOTM4MTEuRUFJYUlRb2JDaE1Jbk5mOGhOS0VpQU1WMWl…
                                                                                                                                                                               APP 00235                                   5/5
Case 3:24-cv-01852-E   Document 48-1   Filed 10/11/24   Page 245 of 340   PageID 1078




                  B - EXHIBIT 7




                                                                      APP 00236
8/21/24, 5:19 PM                                      Courses for Everyone - Senergy Wellness Group
        Case 3:24-cv-01852-E               Document 48-1    Filed 10/11/24            Page 246 of 340   PageID 1079
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     Courses For Everyone
     These courses are for anyone who is interested in learning more about Dr.
     Jerry Tennant, Healing is Voltage™, and why your body needs proper voltage
     in order to create new and healthy cells.

     Finished the courses and want to talk to someone about next steps or any
     questions you have? Make a FREE appointment with our advisors. They would
     be more than happy to assist you!



                                                 SCHEDULE AN APPOINTMENT




                                                  RETURN TO ALL COURSES




https://senergy.us/courses-for-everyone/
                                                                                                      APP 00237       1/5
8/21/24, 5:19 PM                                      Courses for Everyone - Senergy Wellness Group
        Case 3:24-cv-01852-E               Document 48-1    Filed 10/11/24           Page 247 of 340    PageID 1080
     $450




     Integrative Health Conference for Public
     Our cells are constantly wearing out and must be replaced. Chronic disease occurs when you lost the
     ability to make new cells that work.

     FACT: Your entire body rebuilds itself in less than 2 years — and 98% in less than 365 days! Every cell in
     your body eventually dies and is replaced by new cells. Every day is a new opportunity to build a new body.

     Take this course to learn the basics of Dr. Tennant’s revolutionary Healing is Voltage™ health and wellness
     philosophy.


                                                           Enroll Now




https://senergy.us/courses-for-everyone/
                                                                                                      APP 00238       2/5
8/21/24, 5:19 PM                                      Courses for Everyone - Senergy Wellness Group
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     Free




     Healing Is Voltage™
     Our cells are constantly wearing out and must be replaced. Chronic disease occurs when you lost the
     ability to make new cells that work.

     FACT: Your entire body rebuilds itself in less than 2 years -- and 98% in less than 365 days! Every cell in
     your body eventually dies and is replaced by new cells. Every day is a new opportunity to build a new body.

     Take this free course to learn the basics of Dr. Tennant's revolutionary Healing is Voltage™ health and
     wellness philosophy!


                                                           Enroll Now




https://senergy.us/courses-for-everyone/
                                                                                                      APP 00239       3/5
8/21/24, 5:19 PM                                           Courses for Everyone - Senergy Wellness Group
        Case 3:24-cv-01852-E               Document 48-1         Filed 10/11/24           Page 249 of 340      PageID 1082

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                                (972) 580-0545

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      Tennant BioModulator                                           Giving Back

      Device Packages                                                Frequently Asked Questions

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      Water/Air Filtration



      Get Started                                                    About

      Conditions Treated                                             About Senergy

      Blog                                                           Senergy Advisor Appointments

https://senergy.us/courses-for-everyone/
                                                                                                           APP 00240         4/5
8/21/24, 5:19 PM                                      Courses for Everyone - Senergy Wellness Group
        Case 3:24-cv-01852-E               Document 48-1    Filed 10/11/24            Page 250 of 340   PageID 1083
      Healthcare Professionals

      Home Use

      Scienti c Research
              fi
      Testimonials




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         office and cannot provide medical advice or diagnosis. Tennant BioModulator is only FDA-accepted for pain
                  management. This product is not intended to diagnose, treat, cure, or prevent any disease.


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https://senergy.us/courses-for-everyone/
                                                                                                      APP 00241       5/5
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                  B - EXHIBIT 8




                                                                      APP 00242
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                                          Scienti c Research
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                                           CLINICAL STUDIES: VIDEOS

https://senergy.us/scientific-research/
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8/21/24, 5:12 PM                                                          Scientific Research - Senergy Wellness Group
        Case 3:24-cv-01852-E   Document
                   Daily Home Electrical    48-1 Filed
                                         Stimulation as an10/11/24     Page 253
                                                           Adjunctive Therapy to of 340                                                             PageID 1086
                   Accelerate Wound Healing
                   – Authored by Brian D. Lepow, DPM; and Alejandro Zulbaran, MD
                            Brian D. Lepow, DPM and Alejandro Zulbaran, MD present their study, “Effectiveness of Daily
                            Home Electrical Stimulation as an Adjunctive Therapy to Accelerate Wound Healing in People with Diabetic
                            Foot Ulcer – a Double-blinded Randomized Controlled Trail,” at SAWC Virtual 2020. This study was awarded
                            1st place in the Oral Abstract category. In addition to Drs. Lepow and Zulbaran, fellow coauthors of this
                            study include Hector Elizondo, MD; Akashdeep Singh, DPM; Jeffry Ross, DPM; and Bijan Naja , PhD.




                                                                                                                                   fi
                                                                            READ THE STUDY




                                          EP6




                            Video presentation of the Baylor College of Medicine study titled “Effectiveness of Lower Extremity Electrical
                            Stimulation to Improve Skin Perfusion” by Alejandro Zulbaran, Brian Lepow, Catherine Park, Bijan Naja .
                                                                                                                                        fi
                                                                              WATCH VIDEO




                                                   CLINICAL RESEARCH PAPERS
                            Promotion of Wound Healing in Diabetic Foot Ulceration with the
                            Tennant BioModulator and Tennant BioTransducer
                            – Researched by Lilia Feria NMD, Anthony Pinazza NMD & Joe TiIchen’s
                            NMD
                            “Diabetic foot ulceration is major source of morbidity with an estimated prevalence of 9- 25% among the
                            estimated 30.3 million people with diabetes in the United States (1-4). Approximately 5.0 per 1,000 people
                            with diabetes will undergo limb amputation annually (5). As ulceration signi cantly ampli es risk of
                                                                                                               fi
                                                                                                                              fi
                            amputation, improvements to limb salvage efforts are needed.

                            Current best practices in the management diabetic foot wounds involve three major elements: regular
                            monitoring, wound cleaning and dressing, and mechanical off-loading (6-7). These strategies focus on
                            mitigation of factors that may inhibit wound healing. Estimated rates of wound healing are 1-2% per day
                            with standard methods (8). While glucose control is standard in management of diabetes, signi cant
                                                                                                                                             fi
                            evidence has not been found to correlate glucose control and wound healing (9). A large number of
                            treatments undergoing evaluation focus on reducing risk of infection while waiting for wound closure but
                            do not yield enhanced rates of closure. Hyperbaric oxygen therapy has shown some evidence of improving

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8/21/24, 5:12 PM                                                            Scientific Research - Senergy Wellness Group
        Case 3:24-cv-01852-E            Document
                   healing rates, but quality            48-1
                                              of data does           Filed
                                                           not yet support   10/11/24
                                                                           generalized        Page 254
                                                                                       recommendations for thisof  340 PageID 1087
                                                                                                                treatment
                            (10). Other approaches to biochemically enhance biological processes at work in the wound have not
                            provided evidence of improved rates of healing. Physical therapies such as microcurrent and pEMF have
                            shown positive but limited evidence in small studies of improving rates of healing (11-12). ”



                                                                             READ THE STUDY




                            Effectiveness of Daily Home Electrical Stimulation As An Adjunctive
                            Therapy to Accelerate Wound Healing In People With Diabetic Foot
                            Ulcer
                            – A Double-Blinded Randomized control trial –

                            By: Alejandro Zulbaran, Naima Rodriguez, Hector Elizondo, Anmol Momin, Jeffrey Ross,

                            Miguel Montero-Baker, Brian Lepow, Joseph L. Mills, Bijan Naja




                                                                                            fi
                            Division of Vascular Surgery and Endovascular Therapy,

                            Michael E. DeBakey Department of Surgery

                            Diabetic foot Ulcers (DFUs) create a high expenditure for healthcare systems and could lead to limb loss.
                            Electrical Stimulation (E-stim) is an alternative treatment option to speed up wound healing. The study’s
                            aim is to evaluate whether home-based daily E-stim therapy can speed up wound healing. The hypothesis
                            is that daily E-stim therapy would improve tissue oxygenation of DFUs, therefore accelerating the healing
                            process.

                            The rst RCT study examined feasibility and effectiveness of home-based E-stim therapy to improve wound
                                fi
                            healing. With over 90% self-adherence, the study suggests high perceived ease of use and bene t to wound




                                                                                                                                    fi
                            healing among people with DFU’s. Our results revealed positive contribution of E-stim to improve tissue
                            oxygen saturation, a key ingredient for wound healing.



                                                                             READ THE STUDY



                            Effectiveness of Lower Extremity Electrical Stimulation to Improve Skin
                            Perfusion
                            Alejandro Zulbaran, Brian Lepow, Catherine Park, Bijan Naja Division of Vascular Surgery and Endovascular Therapy,
                                                                                       fi
                            Michael E. DeBakey Department of Surgery



                                                                             READ THE STUDY



                            Severe Long-term Knee Pain and Limp Mitigated with BioTransducer
                            Case Study of Patient with Possible Ahlback Disease, Data Provided by Jarrah Ali Al-Tubaikh MD, Sabah Hospital,
                            Kuwait City, Kuwait

                            A 71-year-old diabetic patient with hepatitis C presented with a history of right knee osteoarthritis due to a
                            fracture suffered 20 years ago. The patient came limping in to the radiology department to investigate his
                            severe right-sided knee pain that hindered his gait.



                                                                             READ THE STUDY



                            Accelerate wound healing and increase perfusion potential
                            – Geoffrey C. Gurtner, MD, FACS (Stanford University), Lawrence Lavery,
                            DPM,MPH, Brian D. Lepow, DPM
https://senergy.us/scientific-research/
                                                                                                                                          APP 00245   3/11
8/21/24, 5:12 PM                                                        Scientific Research - Senergy Wellness Group
        Case 3:24-cv-01852-E           Document
                   “Three US. medical centers           48-1
                                              are currently         Filedto evaluate
                                                            collaborating   10/11/24            Page
                                                                                     the bio-electric    255 of 340
                                                                                                      neuromodulation device PageID 1088
                            (FDA- cleared for pain relief) and asses its potential to increase perfusion in chronic wounds.”



                                                                          READ THE STUDY



                            Treatment of Idiopathic Late Onset Cerebellar Ataxia A Case Study
                            – Tony Pinazza NMD, Jeffrey Langland PhD, Lilia Feria NMD, Joseph
                            Tilchen
                            “This case represents the successful treatment of late onset cerebellar ataxia with Biomodulator therapy.
                            This treatment demonstrated the ability to improve muscle strength, coordination and ADL’s better than
                            conventional treatment standards. ”



                                                                          READ THE STUDY



                            X-Rays Show Structural Changes After Biomodulator Microcurrent
                            Treatment
                            – Dr Jarrah Ali Al-Tubaikh, MD
                            “Since learning of the BioModulator microcurrent device for drug-free, non-invasive pain relief, Dr. Al-
                            Tubaikh has used it with patients and co-workers at his hospital as well as with friends, all of whom suffer
                            from severe unresolved pain symptoms. In two cases, he used the BioModulator with patients speci cally




                                                                                                                                    fi
                            referred to him because of severe back pain, as word of the “miracle” treatment spread. In each case, Dr.
                            Tubaikh said he takes images before and after treatment to document changes that have taken place after
                            BioModulator treatment. “It is hard to argue against radiological images because the evidence is clear; it
                            is not placebo anymore.”



                                                                          READ THE STUDY



                            MRI Improvement in Necrotic Knee after use of BioModulator
                            Jarrah Ali Al-Tubaikh, MD
                            “A 71-year-old diabetic, hepatitis-C positive patient presented with a history of right knee osteoarthritis
                            resulting from a fracture that had occurred approximately 20 years ago. On October 24, 2014, the patient
                            limped into the radiology department. The initial MRI images showed severe osteoarthritis, complete
                            cartilage loss in the medial femoral condyle (the lower end of the thigh bone at the knee), osteoarthritic
                            changes, and marked edema (swelling) in the medial femoral condyle, suspiciously like Ahlback’s disease.
                            Ahlback’s disease is the result of vascular arterial insuf ciency to the medial femoral condyle of the knee
                                                                                     fi
                            resulting in necrosis (death) and destruction of bone.1 Traditional treatments for Ahlback’s disease are
                            bisphosphonates, a group of drugs that are used in the treatment of osteoporosis and bone malignancies,
                            and/or surgery. Additionally, chronic infections with hepatitis C virus add to age-dependent bone loss and
                            may contribute to lower bone strength in the elderly.

                            After discussing therapeutic options with the patient, which, in this case, were restricted due to advanced
                            age and deteriorated health, the option of pulsed electromagnetic frequency therapy using Tennant’s
                            Biomodulator with the biotransducer attachment was suggested. Beginning on November 3, 2014, the
                            patient was treated daily for 30 to 45 minutes for one month. During the period of therapy, the patient
                            reported reduction in pain and swelling of the knee and improved ability to walk normally. An MRI scan was
                            repeated in December 2, 2014, to document any differences in the MRI image.

                            The MRI images showed almost 90% resolution of the medial femoral condyle edema and the normal bone
                            marrow signal returned to almost 90% normal. The lack of signi cant changes in the tibia is simply
                                                                                             fi
                            because the position of the biotransducer probe was concentrated for the treatment period over the medial
                            femoral condyle region, mainly, the focus of pain”



https://senergy.us/scientific-research/
                                                                                                                                    APP 00246   4/11
8/21/24, 5:12 PM                                                         Scientific Research - Senergy Wellness Group
        Case 3:24-cv-01852-E     Document
                   Anti-in ammatory     Effects48-1     Filed 10/11/24
                                                of Electronic             Page 256 of 340
                                                              Signal Treatment                                                             PageID 1089




                                             fl
                   Source: Odell, Robert H., MD, PhD, and Sorgnard, Richard E. PhD
                   (2008)
                   Pain Physician, 11 891-907 Las Vegas.




                                                     :
                            Summary: We postulate that pharmaceuticals have a tendency to overwhelm biosystems, a very unnatural
                            progression as evidenced by the side effect pro les. EST works through biosystems and their controls. We




                                                                                     fi
                            have presented multiple mechanisms, most documented and one postulated, which demonstrate initial
                            facilitation and then quick resolution of the in ammatory process to prevent it from leading to chronic




                                                                               fl
                            in ammation and chronic pain. While complex, all concepts above t together when taken into the context
                              fl
                                                                                                    fi
                            of signaling cAMP; however, the basic signaling mechanism could easily be the oscillo/torsional ionic
                            action on cyclic AMP. Through this and the other mechanisms discussed, cellular derangements are
                            returned to normal in optimum physiological time.

                            A paradigm shift in our approach should begin soon. Many patients in chronic pain are simply being under
                            treated for various reasons. Narcotic medications are being diverted in increasing numbers. Most
                            importantly, a recent study on adverse drug events based on the FDA voluntary reporting system has found
                            the death rate has increased out of proportion to the increase in the number of prescriptions written, and
                            the greatest culprits are pain medications and immune modulating drugs. The authors emphasized that
                            these ndings “show that the existing system is not adequately protecting patients and underscores the
                                        fi
                            importance of recent reports urging far-reaching legislative, policy and institutional changes.” One
                            purpose of this paper is to get the pain management physician to start to think about modifying the
                            therapeutic approach, which might begin by emphasizing the physics approach as well as the
                            pharmacological approach.

                            The following from Potter and Funk, written in 1917, still apply: “Success in electrotherapeutics depends on
                            an adequate knowledge of physiology and pathology as related to the human body; on a mastery of the
                            laws that govern electricity [physics]; on the possession of ef cient apparatus, the achievement of good
                                                                                               fi
                            technique by practice and the good judgment to apply all these requirements … Electrotherapeutics is not a
                            system to be used to the exclusion of other therapeutic measures, but is a worthy addition to any
                            physician’s armamentarium …”

                            Conclusion: While we believe additional studies involving the treatment of in ammatory processes with
                                                                                                           fl
                            EST are important, there appears to be enough evidence to encourage the primary or adjuvant use of EST
                            for in ammatory conditions and for the potential replacement of chemical steroids. EST and the evidence
                                   fl
                            presented have placed us on a threshold of discovery; it is time to apply this knowledge in the clinical
                            setting. The alternative role of EST will depend on the outcomes of well-conducted clinical trials which
                            utilize this reasonable and safe approach.



                                                                          READ THE STUDY



                            Bioelectricity and microcurrent therapy for tissue healing – a narrative
                            review
                            Source: Poltawski, L and Watson, T: Physical Therapy Reviews 2009 VOL
                            14 NO 2 (105-114); School of Health and Emergency Professions,
                            University of Hertfordshire, Hat eld, AL10 9AB, UK
                                                                                    fi
                            Background: Microcurrent therapy (MCT) uses electric currents similar to those produced by the body
                            during tissue healing. It may be a particularly bene cial where endogenous healing has failed.
                                                                                          fi
                            Aim: To review evidence regarding microcurrent in tissue healing and the application of MCT.

                            Methods: All peer-reviewed studies concerning microcurrent and MCT were sought, and representative
                            literature was synthesized to indicate the scope and weight of current evidence.

                            Results: Microcurrent appears to play a signi cant role in the healing process, and MCT can promote
                                                                          fi
                            healing in a variety of bone and skin lesions. The evidence for other tissues is encouraging but presently
                            scant.

https://senergy.us/scientific-research/
                                                                                                                                   APP 00247             5/11
8/21/24, 5:12 PM                                                         Scientific Research - Senergy Wellness Group
        Case 3:24-cv-01852-E
                   Summary: MCT mayDocument
                                   have unrealized 48-1
                                                   potential inFiled   10/11/24
                                                               the treatment             Page
                                                                             of dysfunctional      257
                                                                                              tissue     of and
                                                                                                     healing 340                             PageID 1090
                            deserves greater attention by researchers and clinicians.

                            Conclusions: The evidence in support of MCT is convincing enough to justify its inclusion in the clinician’s
                            repertoire for treatment of several examples of recalcitrant bone and skin lesions.




                                                                           LINK TO SOURCE



                            The use of acupuncture-like electrical stimulation for wound healing of
                            lesions unresponsive to conventional treatment
                            Sumano H, Mateos G (1999): Am J Acupunct. Sep-Oct;9(5) 42-5.




                                                                                                                      :
                            Source: Program of Physical Therapy, Marquette University,
                            Milwaukee, Wis, USA.
                            Abstract: Based on previous experimental evidence suggesting improved healing of wounds treated with
                            electrical stimulation, we conducted a clinical trial with patients seeking alternative medicine after
                            unsuccessful conventional medical treatment. Electricity was delivered in two forms: (1) For wounds with
                            extensive loss of tissue and/or those that had failed to heal spontaneously, electrical stimulation was
                            delivered via subcutaneously inserted needles surrounding the wound edges and applying a dose charge of
                            0.6 coulombs/cm2/day; (2) in second degree burn injuries, lesions were covered with gauze soaked in a
                            10% (w/v) sterile saline solution and the same dose of electricity was applied as for (1). Forty-four patients
                            were treated with electrical stimulation of the skin; 34 in group (1) and 10 in group (2). Following
                            electrostimulation in all patients in both groups healing proceeded in a thoroughly organized manner,
                            almost regardless of the severity of the type of wound or burn treated. Advantages and limitations of this
                            technique are discussed. PMID: 10513093



                                                                           READ THE STUDY



                            Promotion of wound healing with electrical stimulation
                            Kloth LC, McCulloch JM (1996) Adv Wound Care., 27(1-2) 5-14.
                                                                                                                  :
                            Department of Physiology and Pharmacology, School of Veterinary
                            Medicine, National Autonomous University of Mexico, Mexico City.
                            Abstract: Clinicians involved in the conservative care of chronic wounds have many treatment
                            interventions from which to choose, including debridement/irrigation, dressings, pressure-relieving
                            devices, hyperbaric or topically applied oxygen, whirlpool/pulsed lavage, ultrasound, topical antibiotics,
                            and cytokine growth factors. All except the last two interventions are physical treatments that create a
                            wound-tissue environment conducive to healing.

                            Unfortunately, many chronic wounds heal very slowly, do not heal, or worsen despite the best efforts of
                            caregivers to promote tissue repair. An intervention commonly used to treat chronic wounds, especially by
                            physical therapists, is electrical stimulation (ES).

                            The rationale for use of this method is based on the fact that the human body has an endogenous
                            bioelectric system that enhances healing of bone fractures and soft-tissue wounds. When the body’s
                            endogenous bioelectric system fails and cannot contribute to wound repair processes, therapeutic levels of
                            electrical current may be delivered into the wound tissue from an external source. The external current may
                            serve to mimic the failed natural bioelectric currents so that wound healing can proceed.
                            Certain chemotaxic factors found in wound substrates contribute to tissue repair processes by attracting
                            cells into the wound environment. Neutrophil, macrophage, broblast, and epidermal cells involved in
                                                                                          fi
                            wound repair carry either a positive or negative charge. When these cells are needed to contribute to
                            autolysis, granulation tissue formation, anti-in ammatory activities, or epidermal resurfacing, ES may
                                                                             fl
                            facilitate galvanotaxic attraction of these cells into the wound tissue and thereby accelerate healing. PMID:
                            9069747



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                                                                            READ THE STUDY



                            The Effect of Microcurrent Electrical Stimulation on the Foot Blood
                            Circulation and Pain of Diabetic Neuropathy
                            Park, RJ; Son, H; Kim, K et al. (2011) Journal of Physical Therapy
                            Science (23)3 515-518




                                               :
                            Source: Department of Physical Therapy, College of Rehabilitation
                            Science, Daegu University, South Korea
                            Purpose: This study was performed to investigate the effect of microcurrent electrical stimulation on the
                            foot blood circulation and the degree of pain experienced by diabetes patients. Twenty nine patients with
                            diabetic neuropathy over the age of 60 were randomly divided into an experimental (16 patients, 67.9 ± 8.0
                            years) and a control group (13 patients, 70.4 ± 4.4 years).

                            Methods: Both groups walked on a treadmill at a comfortable pace for 50 min/day, 5 days/week for 4
                            weeks, and each participant’s body weight, body composition, and blood lipid were examined at the
                            baseline and 4 weeks later.

                            Results: The results show that the foot blood ow rate increment after the intervention was signi cantly
                                                                             fl
                                                                                                                                     fi
                            different between the experimental group and the control group, and the VAS was also signi cantly




                                                                                                                           fi
                            different.

                            Conclusion: Based on the study results, we consider that microcurrent electric stimulation of the foot may
                            be helpful for preventing the pain and diabetic ulcers by increasing the foot blood circulation in diabetes
                            patients.



                                                                            READ THE STUDY



                            Electro-membrane microcurrent therapy reduces signs and symptoms of
                            muscle damage
                            Lambert MI, Marcus P, Burgess T, Noakes TD (2002). Med Sci
                            Sports Exerc. Apr;34(4) 602-7.
                                                               :
                            Source: MRC/UCT Research Unit for Exercise Science and Sports
                            Medicine, P.O. Box 115, Newlands, South Africa.
                            Purpose: Delayed onset muscle soreness (DOMS) occurs after unaccustomed physical activity or
                            competitive sport, resulting in stiff, painful muscles with impaired function. Acustat electro-membrane
                            microcurrent therapy has been used to treat postoperative pain and soft tissue injury; however, its ef cacy
                                                                                                                                          fi
                            in reducing symptoms of muscle damage is not known.

                            Methods: Thirty healthy men were recruited for a double-blind, placebo-controlled trial. The muscles of
                            their nondominant arms were damaged using an eccentric-exercise protocol. Subjects were then randomly
                            assigned to treatment with either Acustat or a matching placebo membrane for 96 h and monitored for a
                            total of 168 h.

                            Results: Subjects in both groups experienced severe pain and swelling of the elbow exors after the
                                                                                                                      fl
                            eccentric exercise. After 24 h, the elbow joint angle of the placebo group had increased signi cantly more
                                                                                                                                fi
                            than those in the Acustat group (13.7 +/- 8.9 degrees vs 7.5 +/- 5.5 degrees; placebo vs Acustat, P < 0.05),
                            possibly as a consequence of the elbow exor muscles shortening. For the rst 48 h after exercise,
                                                                      fl
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                            maximum voluntary contraction of the elbow exor muscles was signi cantly impaired in the placebo
                                                                                  fl
                                                                                                        fi
                            group by up to 25% (P < 0.05), whereas muscle function was unchanged in the Acustat group. Peak plasma
                            creatine kinase activity was also lower in the Acustat group (peak = 777 +/- 1438 U.L-1) versus the placebo
                            group (peak = 1918 +/- 2067 U.L-1; (P < 0.05). The membranes were well tolerated by the subjects in both
                            groups without any adverse effects.

                            Conclusion: These data show that treatment of muscle damage with Acustat electro-membrane
                            microcurrent therapy reduces the severity of the symptoms. The mechanisms of action are unknown but


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                   are likely related to maintenance     48-1 Filed
                                                     of intracellular        10/11/24
                                                                      Ca2+ homeostasis         Page
                                                                                       after muscle    259 exercise.
                                                                                                    damaging of 340PMID:PageID 1092
                            11932567


                                                                               READ THE STUDY



                            Microcurrent therapy: a novel treatment method for chronic low back
                            myofascial pain
                            McMakin, Carolyn R, MA, DC. (2004) Journal of Bodywork and
                            Movement Therapies. Apr(8)2 143–153




                                                                           :
                            Source: Fibromyalgia and Myofascial Pain Clinic of Portland, 17214 SE
                            Division Street, Portland, OR 97230, USA
                            Abstract: Chronic low back pain associated with myofascial trigger point activity has been historically
                            refractory to conventional treatment (Pain Research and Management 7 (2002) 81). In this case series
                            study, an analysis of 22 patients with chronic low back pain, of 8.8 years average duration, is presented.
                            Following treatment with frequency-speci c microcurrent, a statistically signi cant 3.8-fold reduction in



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                            pain intensity was observed using a visual analog scale. This outcome was achieved over an average
                            treatment period of 5.6 weeks and a visit frequency of one treatment per week. When pain chronicity
                            exceeded 5 years, there was a trend toward increasing frequency of treatment required to achieve the same
                            magnitude of pain relief. In 90% of these patients, other treatment modalities including drug therapy,
                            chiropractic manipulation, physical therapy, naturopathic treatment and acupuncture had failed to
                            produce equivalent bene ts. The microcurrent treatment was the single factor contributing the most
                                                     fi
                            consistent difference in patient-reported pain relief. These results support the observation that rigorously
                            designed clinical investigations are warranted.



                                                                               READ THE STUDY



                            Acupuncture Treatment Reduced Phantom-Limb Pain and Sensation
                            Medical Acupuncture
                            Volume 25, Number 1, 2013
                            Mary Ann Liebert, Inc.
                            DOI: 10.1089/acu.2012.0928
                            Synopsis: This study reviewed current publications to determine if acupuncture therapy had been shown
                            to have a positive effect on the symptoms of phantom-limb syndrome. Avazzia technology, especially
                            combined with the Avazzia MEAD, can be used as a needleless form of acupuncture.



                                                                               READ THE STUDY



                            Nerve Stimulation Cuts Down on Migraines
                            By Crystal Phend, Senior Staff Writer, MedPage Today
                            Published: February 11, 2013
                            Reviewed by Robert Jasmer, MD; Associate Clinical Professor of
                            Medicine, University of California, San Francisco and Dorothy Caputo,
                            MA, BSN, RN, Nurse Planner
                            Synopsis: A noninvasive device that electrically stimulates the trigeminal nerve prevented migraines for
                            patients whose episodes could not be controlled by medication alone, a trial showed. The number of days
                            with a migraine dropped signi cantly, by about two per month, in the supraorbital transcutaneous
                                                          fi
                            stimulation group, without a change in the sham control group, Jean Schoenen, MD, PhD, of Belgium’s
                            Liège University, and colleagues found.



                                                                                 READ MORE




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                                                                                                                                  APP 00250   8/11
8/21/24, 5:12 PM                                                                     Scientific Research - Senergy Wellness Group
        Case 3:24-cv-01852-E   Document
                   Transcutaneous Electrical48-1    Filed 10/11/24
                                             Nerve Stimulation        PagePostherpetic
                                                               for Chronic 260 of 340                                                      PageID 1093
                            Neuralgia
                            – Malcolm R. Ing, MD
                            “Treatment of postherpetic neuralgia (PHN) remains a challenging problem for clinicians. Herpes zoster is
                            a relatively common disease with an incidence of 5 per 1000 patients per year. Involvement of the
                            ophthalmic branch of the trigeminal nerve occurs in about 20% of cases. The typical clinical presentation
                            of ophthalmic zoster is blisters and in ammation of the skin supplied by the rst division of the




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                            trigeminal nerve. If the pain and in ammation remains in the skin after one month with persisting




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                            neuropathic pain, it is termed chronic PHN.

                            The risk of developing PHN is highest with increasing age and presents a major public health issue. Many
                            treatment modalities have been considered with limited success. Side effects from medical treatment
                            include nausea, sedation, postural hypotension, dizziness, and somnolence. Constipation and sedation
                            from opioids make these drugs poorly tolerated in the elderly.

                            Biofeedback is a well accepted therapeutic treatment option. Electronic devices are often utilized in
                            biofeedback therapy. Modern modi cation of these self-controlled electronic neuroadaptive regulation
                                                                 fi
                            (SCENAR) devices, such as the Tennant BioModulator (TBM), have been granted a Food and Drug
                            Administration class II designation to help with CPN.



                                                                                         READ MORE



                            97% of Terminal Cancer Patients Previously Had This Dental
                            Procedure…….
                            – Joseph Mercola, MD
                            “Do you have a chronic degenerative disease? If so, have you been told, “It’s all in your head?” Well, that
                            might not be that far from the truth…The root cause of your illness may be in your mouth. There is a
                            common dental procedure that nearly every dentist will tell you is completely safe, despite the fact that
                            scientists have been warning of its dangers for more than 100 years.
                            Every day in the United States alone, 41,000 of these dental procedures are performed on patients who
                            believe they are safely and permanently xing their problem.
                                                                                fi
                            What is this dental procedure? The root canal. More than 25 million root canals are performed every year in
                            this country.
                            Root-canaled teeth are essentially “dead” teeth that can become silent incubators for highly toxic
                            anaerobic bacteria that can, under certain conditions, make their way into your bloodstream to cause a
                            number of serious medical conditions—many not appearing until decades later.

                            Most of these toxic teeth feel and look ne for many years, which make their role in systemic disease even
                                                                           fi
                            harder to trace back.
                            Sadly, the vast majority of dentists are oblivious to the serious potential health risks they are exposing
                            their patients to, risks that persist for the rest of their patients’ lives. The American Dental Association
                            claims root canals have been proven safe, but they have NO published data or actual research to
                            substantiate this claim.”



                                                                                         READ MORE



                            Application of a BioModulator for Enhancing the Ef cacy of Antibiotics
                                                                                                                 fi
                            Against Wound Pathogens
                            – Vanessa Marcel1, Hosan Kim, Ph.D.1, and Mina Izadjoo1, and Jerry
                            Tennant, MD2




https://senergy.us/scientific-research/
                                                                                                                                      APP 00251          9/11
8/21/24, 5:12 PM                                                       Scientific Research - Senergy Wellness Group
        Case 3:24-cv-01852-E           Document
                   “In this study we used              48-1
                                          a BioModulator          Filed
                                                         technology* which10/11/24         Page
                                                                          generates microcurrent,    261 of
                                                                                                  electrical    340 that PageID 1094
                                                                                                             impulses
                            are transmitted by electrodes in the device through the skin to interface with the body’s internal peripheral
                            nervous system for various therapeutic intervention. This technology is FDA approved for pain
                            management. This research was focused on evaluation of the BioModulator and determine if
                            synergistically enhances ef cacy of antibiotics for treating wound infections. We studied the synergistic




                                                           fi
                            effect of the BioModulator and antibiotics by employing various testing parameters.”


                            Antimicrobial Ef cacy Testing of a BioModulator Technology




                                                      fi
                            – Hosan Kim, Ph.D. 1, Jerry Tennant, MD2, and Mina Izadjoo1

                            “Due to the emergence of antibiotic and multi-drug resistant pathogens, there is a growing need for
                            development of novel and effective antimicrobial therapeutics and devices. Infections have become the
                            greatest threat to the life and recovery of the combat casualty who survives the immediate trauma of the
                            insult. The Tennant BioModulators generates microcurrent, electrical impulses that are transmitted by
                            electrodes in the device through the skin to interface with the body’s internal peripheral nervous system
                            for various therapeutic intervention. This technology is FDA approved for pain management. Our Study was
                            focused on further evaluation of the handheld Tennant BioModulators as an antimicrobial therapeutic
                            device.”



                                                                            READ MORE



                            A randomized trial comparing the Tennant BioModulator to
                            transcutaneous electrical nerve stimulation and traditional Chinese
                            acupuncture for the treatment of chronic pain in military service members
                            -Kimberly S. Peacock, Erika Stoerkel, Salvatore Libretto, Weimin Zhang,
                            Alice Inman, Michael Schlicher, John D. Cowsar Jr., David Eddie and Joan
                            Walter
                            “Background: The present investigation tested the ef cacy of the Tennant BioModulator, a novel pain
                                                                                 fi
                            management intervention that uses biofeedback-modulated electrical stimulation, to reduce chronic pain
                            and its psychosocial sequelae in a sample of current and former military service members. The Tennant
                            BioModulator used on its most basic setting was compared to two commonly used, non-pharmacological
                            pain treatments—traditional Chinese acupuncture and transcutaneous electrical nerve stimulation (TENS)
                            —in a comparative ef cacy, randomized, open-label trial.
                                                 fi
                            Methods: Participants included 100 active duty and retired service men and women with chronic pain
                            undergoing treatment at the Brooke Army Medical Center in Texas, USA, randomly assigned to receive six,
                            weekly sessions of either Tennant BioModulator treatment, traditional Chinese acupuncture, or TENS, in
                            addition to usual care. Recruitment was conducted between May 2010 to September 2013. Outcome
                            measures were collected at intake, before and after each treatment session, and at a 1-month follow-up.
                            Intent-to-treat analyses were used throughout, with mixed models used to investigate main effects of
                            group, time, and group × time interactions with consideration given to quadratic effects. Outcomes
                            measured included ratings of chronic pain, pain-related functional disability, and symptoms of post-
                            traumatic stress disorder (PTSD) and depression.”



                                                                         READ THE STUDY



                            Past Study by the SCNM Research Department

                            “SCNM residents are advancing the frontiers of medicine by turning scienti c insights into treatments
                                                                                                        fi
                            that improve patients’ lives.”



https://senergy.us/scientific-research/
                                                                                                                                  APP 00252   10/11
8/21/24, 5:12 PM                                                                Scientific Research - Senergy Wellness Group
        Case 3:24-cv-01852-E                         Document 48-1                     Filed 10/11/24                   Page 262 of 340             PageID 1095
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                              Tennant BioModulator                                           Giving Back

                              Device Packages                                                Frequently Asked Questions

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                              Water/Air Filtration



                              Get Started                                                    About

                              Conditions Treated                                             About Senergy

                              Blog                                                           Senergy Advisor Appointments

                              Healthcare Professionals

                              Home Use

                              Scienti c Research
                                     fi
                              Testimonials




                                                        Copyright © 2024 Senergy Medical Group All Rights Reserved.
                              Senergy Medical Group is the exclusive distributor of the Tennant BioModulator. Senergy is not a medical office and
                              cannot provide medical advice or diagnosis. Tennant BioModulator is only FDA-accepted for pain management. This
                                                   product is not intended to diagnose, treat, cure, or prevent any disease.


                                                                                                        




https://senergy.us/scientific-research/
                                                                                                                                                APP 00253         11/11
Case 3:24-cv-01852-E   Document 48-1   Filed 10/11/24   Page 263 of 340   PageID 1096




                  B - EXHIBIT 9




                                                                      APP 00254
                                                              Cart   Login    Support 3
  214-575-2820
                                                               0 Items
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                                                                             U    a


 Tennant Biomodulator® Devices
 What is the difference between Biomodulators and other Avazzia
 Devices?




                                                                      APP 00255
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 Available exclusively from Senergy Medical Group per licensing agreement

 See Senergy website for:

 Product information
 Training and education
 Customer Service

 See product comparisons:

 Tennant Biomodulator
 Tennant Biomodulator Professional

 Avazzia devices including the Biomodulator devices are U.S. FDA cleared for
 treating pain. They have been reviewed and cleared by the U.S. FDA for pain relief
 and for use with lead wires and electrode accessories that are listed and shown in
 the owner’s manual instructions provided with the devices by the manufacturer.
 Electrode accessories include the self-adhesive, conductive electrode pads
 (patches), the Y-electrode for reaching and large tissue areas, the brush electrode
 for treating hairy areas, and the pencil electrode for treating small areas.

 Information on this page is provided by Senergy Medical Group.




                                                                         APP 00256
Case 3:24-cv-01852-E   Document 48-1   Filed 10/11/24   Page 266 of 340   PageID 1099




                                                                      APP 00257
 What is the difference
Case 3:24-cv-01852-E
                            between Biomodulators
              Document 48-1 Filed 10/11/24 Page 267 of 340 PageID 1100

 and other Avazzia Devices?

   Dr. Tennant’s frequency sets, protocols, training, and books                

   Biomodulators are premier microcurrent devices include a number of preset
   modes with frequency settings and patterns exclusively developed for Dr.
   Tennant and Senergy Medical Group, the exclusive distributor for Dr.
   Tennant’s devices.

   The exclusive modes are based on Dr. Tennant’s research and are not
   available in any other Avazzia electrical stimulation medical device.

   Dr. Tennant’s protocols maximize pain management as well as overall health
   and wellness.

   Biomodulator purchases includes self-study materials, coaching and support
   through Senergy Medical Group and access to the training conference live or
   online as well as master course information.

   Information about Health Conferences is on the Senergy website under
   HEALTH CONFERENCE.

   The Biomodulator PRO device was speci cally developed with the
                                            fi
   practitioner in mind to maximize their clinical treatment services and patient
   experience. More sophisticated lay persons sometimes choose to purchase as
   well.

   The Biomodulator PLUS home unit was the rst custom device developed for
                                                 fi
   Dr. Tennant and is a work horse in itself.

   Both of these devices are manufactured by Avazzia exclusively for Senergy
   Medical Group, the exclusive distributor for Dr. Tennant’s devices




   Senergy’s staff, support, and service                                       

                                                                        APP 00258
CaseCustomer  support, Document
     3:24-cv-01852-E   training, and
                                 48-1education  by email Page
                                        Filed 10/11/24   or phone for
                                                              268 of  maximizing
                                                                     340 PageID 1101
    the Biomodulator devices is available with Tennant Biomodulator devices:
   See link for training and education.

   The Senergy Medical Group support sta         are professional and experienced to




                                            ff
   help you.

   The main di erence with the Biomodulator devices is that the Biomodulator
                    ff
   devices have custom proprietary modes that were developed for it by request
   from Dr. Tennant. The custom modes that were developed for Dr. Tennant
   are not available in any other Avazzia devices. There are no other modes in
   any other Avazzia devices that are the same as the custom modes developed
   for Dr. Tennant.




   Effectiveness                                                                        

   When asked if some of the other modes are as e ective as his modes, Dr.
                                                      ff
   Tennant said that he doesn’t know because he has modes that work, so those
   are the modes that he uses. He doesn’t try to use the other modes because it
   is not a valuable use of his time or his patient’s time and experience.

   Take cars for example. Both small cars and luxury cars can get you there, but
   they are di erent.
               ff
   Avazzia medical devices including the Tennant Biomodulator devices are US
   FDA cleared for transcutaneous electric nerve stimulation for pain relief, but
   some of the speci c mode frequency sets within the range of settings are
                         fi
   di erent.
     ff
   What do the reaction numbers mean?                                                   

   Dr. Tennant’s published information about what is being measured is
   described in his book, Healing is Voltage® On/O              Switches, The Atlas, page
                                                           ff
   137. Dr. Tennant’s published information is rich in discussions related to
   various meridians, batteries, and ow of energy, and other analytical aspects.
                                                                               APP 00259
                                     fl
   Dr. Tennant wrote on page 137:
Case 3:24-cv-01852-E Document 48-1 Filed 10/11/24   Page 269 of 340 PageID 1102
         “The BioModulator reads impedance with reactance and capacitance
        over time instead of ohms. It has been calibrated to be similar but not
        always exactly the same since it is reading something di erent than




                                                                  ff
        ohms.

        You can’t use just a voltmeter to measure these circuits because the
        voltage in the body is constantly pulsing and you can’t get a proper end
        point. Thus since voltage is equal to amperage multiplied by impedance,
        it is assumed that if amperage is constant, voltage equals impedance, so
        that the impedance *(ohms) reading you get is an indicator of voltage.

        In all of the devices, readings are obtained by passing electrons through
        the system and reading what comes back.”

   Avazzia does not speak “Voltage” language on the body as it is presented in
   Dr. Tennant’s book.

   Avazzia’s explanations for the numbers and readings from a di erent




                                                                       ff
   perspective and are documented in Avazzia FAQs online at: IR-OR-D-Z .




   Do the reaction numbers work the same in all the devices?                      

   The numbers are calculated similarly; however, the non-Biomodulator
   devices have never been tried, tested, or evaluated for use with Dr. Tennant’s
   techniques that he uses in his clinic or that he teaches. If Dr. Tennant’s
   techniques are desired, then Dr. Tennant’s Biomodulator frequencies are the
   ones that he has evaluated.

   Are the Reaction readings on ProSport the same as the Tennant Biomodulator
   Pro? The Reaction IR/OR readings are similar; however the Reaction readings
   on the Tennant Biomodulator Pro are scaled for consistency to his trainings.
   D, Z, and speed of reaction are the same.

   Is there an advantage either way? The Tennant Biomodulator Pro Reaction
   IR/OR numbers are scaled for his training.

                                                                            APP 00260
CaseAre these devices like
     3:24-cv-01852-E       TENS48-1
                      Document  devices?
                                      Filed 10/11/24   Page 270 of 340      PageID1103

   While Avazzia’s electrical stimulation medical devices, including the Tennant
   Biomodulator devices fall within the broad general class of TENS, they o er




                                                                              ff
   built-in unique features including unique interactive waveforms and
   REACTION Technology™ and responses to the tissue. An overview of the
   neurostimulation technology is here.

   Avazzia Basic Neuromodulation Technology is also explained: click here




   All Microcurrent is not equal.                                                  

   Avazzia devices incorporate a dynamic high-voltage biphasic (AC)
   asymmetrical damped sinusoidal waveforms that result in gentle
   microcurrent output.

   Microcurrent outputs vary and can be produced by any number of output
   patterns and still be microcurrent.

   Avazzia microcurrent devices including the Biomodulators produce various
   frequency output patterns with these damped sinusoidal frequency patterns.
   Microcurrent output in Avazzia devices is dynamic as well. See link to
   technology page.

   Biphasic damped asymmetrical sinusoidal complex frequency patterned
   microcurrent:




                                                                      APP 00261
Case 3:24-cv-01852-E   Document 48-1    Filed 10/11/24   Page 271 of 340   PageID 1104




   Tennant Biomodulators are made with the same Avazzia quality and
   dependability:
     Technology
     Microcurrent
     Output Waveforms
     REACTION Technology™ and digital objective format including Initial
     Reactions, Ongoing Reactions, Speed of Reactions
     Dynamic changing outputs
     Manufactured and assembled by Avazzia in Texas with foreign and
     domestic components


   Biomodulators are made with the same Bio-Electric Stimulation
   Technology™ (BEST) platform, but with unique frequency patterns
   developed for Dr. Tennant based on his years of research and clinical
   experiences.


   The BEST™ platform provides for 5 control variables for modulating the
   output wave forms and frequency patterns:
   1) frequency of output stimulation
   2) pulses per packet
   3) timing between pulsed outputs per packet
   4) damping of outputs changing the max voltage and the pulse width
                                                                       APP 00262
     5) modulation of output on and o                       (example on for 3 seconds, o               for 1




                                                       ff
                                                                                                  ff
Casesecond).
     3:24-cv-01852-E              Document 48-1             Filed 10/11/24          Page 272 of 340        PageID 1105


     Current is a function derived from the output waveform shape, damping,
     pulses per packet and frequency and power intensity settings.


     The custom frequency patterns and settings developed for Dr. Tennant are in
     the Biomodulator devices, and they are not found in any other Avazzia
     devices.


     The Biomodulator PRO devices have both standard Avazzia frequency sets
     and modes as well as Dr. Tennant’s custom modes.


     The Biomodulator devices are exclusively available from Senergy per
     licensing agreements.



 In summary, what is the Tennant Biomodulator di erence?
                                                                             ff
    Dr. Tennant’s frequency sets and unique modes
    Dr. Tennant’s experience, teachings, training, and books
    Senergy Medical Group Sta , Support, and Service
                                             ff
 Prescription required. Avazzia devices are not intended for diagnosis or treatment of disease.
 Not covered by most insurance.
 Warning: Not intended for individuals with pacemaker or other implanted electronic device or who may be pregnant.

 MKT-180401-72 B




                                                                                                       APP 00263
Case 3:24-cv-01852-E       Document 48-1     Filed 10/11/24    Page 273 of 340     PageID 1106

 PATIENTS                                          PRODUCTS
 Overview                                          Avazzia for Professionals
 Find a Practitioner                               Home Pain Relief (Rx)
 Testimonials                                      Home Pain Relief (OTC)
 Prescription Info.                                Facelift Technology
                                                   Animal Health
 PROFESSIONALS
                                                   International Customers
 Overview
                                                   Avazzia en Español
 Practice Bene ts
                 fi
 How it Works                                      SUPPORT
 Locate an HCP                                     Service Request
 Resources                                         FAQs
                                                   Troubleshooting
                                                   Safety Precautions
                                                   Warranty & Returns




 TRAINING                                          SHOP
 Training Overview                                 Medical Devices and Kits
 Events Calendar                                   Cosmetic Devices and Kits
 Partner Training                                  Veterinary Devices and Kits
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                                                                                 APP 00264
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                B - EXHIBIT 10




                                                                      APP 00265
Case 3:24-cv-01852-E          Document 48-1          Filed 10/11/24         Page 275 of 340         PageID 1108



   August 16, 2024


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   Casey Griffith
   Michael Barbee
   Kirk Voss
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   One Arts Plaza
   1722 Routh St., Ste. 910
   Dallas, TX 75201

   Sent via Email

   Re:      Marten Group, Inc., et al. v. Jerald Tennant, et al.
            N.D. Texas Dallas Division – No. 3:24-cv-01852-E

   Dear Counsel:

   We write on behalf of Dr. Tennant and the other defendants in the above captioned lawsuit. We enclose
   for your and Scott Tennant’s review, a proposed engagement letter from Robert Lang of Alvarez & Marsal
   (A&M). We propose, and understand that Scott Tennant has already agreed to, A&M conducting an
   independent review of royalty payments in accordance with Sec. 6 of the Royalty Agreement. Dr.
   Tennant agrees to bear the cost of the review while reserving the right to be reimbursed in the event
   that A&M determines that Grantee has underpaid the royalties due under the Agreement. In light of the
   pending lawsuits between the parties and the parties’ mutual interest in minimizing any alleged damages
   relating to each side’s claims, we propose the following:

   1. The independent certified public accountant shall perform his work during the balance of August and
   as needed in September. A&M will include each side’s counsel on all of its work product, including its
   final report.

   2. The parties agree to mediate all of their disputes before John DeGroote on October 1, 7, or 8, 2024.
   The time between the parties’ agreeing to this approach and the mediation date will be the “Dispute
   Resolution Period.”

   3. To the extent your clients have instructed or required Avazzia not to sell products to Dr. Tennant or
   his affiliates (e.g., Tennant Products, Tennant Systems, et al.), they will withdraw that mandate during
   the pendency of the Dispute Resolution Period.

   We think that the framework described above will provide the parties with a realistic opportunity to reach
   a global resolution of their disputes. If your clients would prefer to continue to litigate, our clients will
   vigorously protect their rights in both the federal and state court suits.




                                                                                                APP 00266
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   August 16, 2024
   Page 2




   If your clients agree to this approach, please return the executed A&M agreement and confirm your
   agreement by 5:00 p.m. Pacific on August 20.

   Very truly yours,




   Tyler L. Farmer
   Partner

   TLF:emf
   Enclosure

   cc:      Ariel Martinez




                                                                                          APP 00267
Case 3:24-cv-01852-E                  Document 48-1       Filed 10/11/24   Page 277 of 340       PageID 1110
                                                                                                  Alvarez &Marsal
                                                                                   Disputes and Investigations, LLC
                                                                                       600 Madison Avenue, 8th Roor
                                                                                                New York, NY 10022
                                                                                           Phone:+1 212 759 4433
                                                                                              Fax:+1 212 759 5532




                                                                                    CONFIDENTIAL


    August 14, 2024

    D r. J e r a l d Te n n a n t
    Tennant Devices and Accessories, LLC
    9901 Valley Ranch Pwky East, Suite #2000
    Irving, TX 75063

    S c o t t Te n n a n t

    Marten Group, Inc, d/b/a Senergy Medical Group
    9901 Valley Ranch Pkwy East, Suite #1009
    Irving, TX 75063

             Re: Independent Review of Royalty Payments (the “Action”)
    D e a r D r, Te n n a n t a n d M r. Te n n a n t :


    This letter confirms our understanding of the scope and terms of the joint retention of Alvarez &
    Marsal Disputes and Investigations, LLC (“A&M”) as aneutral independent expert by Tennant
    Devices and Accessories LLC and The Marten Group, Inc. d/b/a Senergy Medical Group to
    perform certain services further described below in connection with the above referenced Action
    (the “Engagemenf’). In this letter, Tennant Devices and Accessories LLC and The Marten Group,
    Inc. are referred to jointly as the “Parties” and each as a“Party.” Unless you notify us in writing
    prior to A&M commencing services, the terms hereof will be deemed accepted as of the date of
    this letter and will terminate at the conclusion of such services.

    I.         Description of Sei*vices


    A&M shall provide the following services to the Parties as an independent third-party expert in
    connection with the Action:


         (1) Review of accounting, sales and other data necessary to calculate royalties; and

         (2) such other services as may be agreed to by A&M and the Parties,

    The specific procedures to be performed by A&M will be established based on discussions with
    you as the Engagement progresses and as additional information is obtained. Because A&M will
    be acting as independent experts or consultants, its reports or advice must be objective and
    impartial. The Parties acknowledge that no reliance shall be placed on draft reports, or preliminary
    conclusions or advice, whether written or oral. A&M agrees to perform its work in consultation
    with the Parties but A&M shall have sole control over the substance of its conclusions and the




                                                                                           APP 00268
                                                                                          wwwalvarezandmarsal.com
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    form and content of its reports.

    II.    E n g a g e m e n t S t a f fi i i 2 a n d F e e s


    Robert Lang, an A&M Managing Director, will be responsible for this Engagement on behalf of
    A&M. Other A&M professionals will also be working on this Engagement, as appropriate. A&M
    personnel providing services to you may also work with other A&M clients in conjunction with
    unrelated matters. A&M may use subcontractors to provide services described herein.

    A&M bills for its professional services on the basis of its hourly rates, which range from $250 to
    $800. These rates shall be subject to adjustment annually at such time as A&M adjusts its rates.
    A&M agrees to inform the Parties promptly of any rate adjustment.

    A&M also will bill for reasonable direct out-of-pocket third-party expenses and 8% of fees billed
    for in-house indirect administrative expenses such as telephone charges, computer use, in-house
    copying, facsimiles, and other internal services.

    All fees and expenses will be billed and payable on amonthly basis or, at A&M’s discretion, more
    frequently. Invoices will be sent directly to Dr. Jerald Tennant and Tennant Devices and
    Accessories, EEC and are 100% payable by this Party. Payment is due upon receipt and is not
    contingent upon the substance of any conclusions reached by A&M or the outcome or final
    resolution of the Action. In addition, A&M shall be reimbursed by Dr. Jerald Tennant for the
    reasonable fees and expenses of its counsel incurred in connection with the enforcement of this
    agreement.

    A&M requires that all outstanding fees and expenses incurred be paid before the issuance and
    delivery of any report, attendance at any deposition or hearing or the rendering of any deposition
    or trial testimony or other sworn statement/submission.

    Dr. Tennant/Tennant Devices and Accessories, EEC shall promptly remit to A&M aretainer in
    the amount of $10,000 (the “Retainer”). The Retainer will be held in asegregated non-interest-
    bearing account (which may hold other A&M and A&M affiliate client retainers), separate from
    the general account to which A&M will direct payment of ongoing fees and expenses. Absent your
    agreement to the contrary, A&M may only draw on the Retainer (or aportion thereof) in order to
    apply to invoices that are due and payable or other amounts due under this agreement or as the
    Party may otherwise agree and the Party will be informed of such application of the Retainer. If a
    Retainer is to be increased or decreased, the foregoing shall apply.

    III.   T e r m


    This Engagement shall be deemed to have commenced on the date the services described therein
    were first requested and may be terminated by any party without cause by giving 30 days’ written
    notice to the other parties. In the event of any such termination, any fees and expenses incurred
    by A&M shall be remitted promptly. The engagement will otherwise terminate at the conclusion
    of the tasks pursuant to the Order as set out in Section Iabove.




                                                                                               APP 00269
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     I V .     Relationship of the Parties and Regulatoi-y Body Standards


    The parties intend that an independent contractor relationship will be created by this engagement
    letter. A&M will comply with applicable professional standards. Further, the Engagement shall
    not constitute an audit, review, or compilation that is subject to the rules of the AICPA, SEC, the
    PCAOB, or other state, national, or international professional or regulatory bodies.

    V .        N o T h i r d - P a r t y B e n e fi c i a i ’ v a n d L i m i t a t i o n s o n U s e


    The Parties agree that, without A&M’s prior written permission, there are no third-party
    beneficianes. Other than in connection with the Action or as required by law, no A&M work
    product (written or oral) generated in connection with this Engagement shall be made public,
    including by filing with any court. A&M work product may not be used for any purpose other than
    in connection with the Action as set out in the Order.


    V I .      C o n fl i c t s a n d R e l a t e d U n d e r s t a n d i n e s


    A&M has performed an internal search for any potential conflicts based upon the names in the
    Action. Nothing has come to our attention that, in our Judgment, would impair our ability to
    objectively act as an impartial independent expert in this Engagement. The Parties agree that they
    will inform us promptly of additional parties in the Action or of name changes from those parties
    whose names were provided. It is possible that A&M may have rendered or will render services
    to or have associations with any of the Parties in matters unrelated to this Engagement. A&M
    will not represent, in this Action, the interests of either of the Parties in connection with the Action.

    We will not be prevented or restricted by this Engagement from providing services in matters
    unrelated to the Action, and you agree to waive any conflict of interest that may arise in connection
    with any such other engagement. It is agreed that, during the term of this Engagement, A&M and
    its affiliates may continue or accept other engagements to provide professional services for or
    relating to any of the Parties in connection with matters unrelated to this Engagement. Each of the
    Parties acknowledges and agrees that A&M will be under no obligation to update its conflicts
    search or otherwise to undertake any process to identify other engagements that might be accepted
    or continued during the term of this Engagement or to identify other relationships or interests with
    the Parties. Each of the Parties also acknowledges and agrees that A&M will have no obligation
    to obtain the consent of or make any disclosures to any of the Parties with respect to A&M’s
    acceptance or continuation of such other engagements, relationships, or interests.

    Each of the Parties acknowledges and agrees that (1) none of the relationships set forth or described
    in the foregoing paragraphs of this “Conflicts” section will adversely impact the impartiality of
    A&M hereunder and (2) A&M will be deemed to be impartial both in appearance and in fact for
    purposes of this Engagement.

    VII.     C o n fi d e n t i a l i t y


    A&M agrees that it will take steps to limit access to any Engagement information to those who
    have aneed to know such information. All obligations as to non-disclosure shall cease as to any




                                                                                                                      APP 00270
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    part of Engagement information to the extent that 1) such information is or becomes public other
    than as aresult of abreach of this provision, 2) as directed by the Parties, or 3) as required by law.

    If any person or entity requests or subpoenas any information or materials relating to the Action,
    we will inform the Parties of such request or subpoena. The Parties agree on ajoint and several
    basis to reimburse A&M for any time and expenses related to the request or subpoena.

    VIII. Limitation on Liability


    In no event shall A&M, its affiliates, and their partners, principals, and personnel be liable to the
    Parties, whether aclaim be in tort, contract or otherwise, for any amount in excess of the total
    professional fees paid pursuant to this agreement except to the extent the damages were caused
    primarily and directly from the fraud or willful misconduct of A&M relating to such services. In
    no event shall A&M or its personnel be liable for any consequential, special, indirect, incidental,
    punitive, or exemplary loss, damage, or expense relating to this Engagement (including, without
    limitation, loss of profit, data, business or goodwill or similar damages) even if advised of the
    possibility of such damages. In no event shall A&M be responsible for damage to computers or
    electronic media of any type, including tapes, CDs, DVDs or hard drives, etc. A&M does not
    warrant and is not responsible for any third-party software.

    I X .   I n d e m n i fi c a t i o n


    The Parties agree on ajoint and several basis to hold harmless and indemnify A&M and its
    affiliates (including their officers, partners, principals, members, managers, employees, and
    agents) against all claims, damages, and costs (including reasonable attorney’s fees and
    disbursements) arising out of this Engagement, except to the extent such claims, damages and costs
    are finally determined to have resulted from any actions by A&M constituting fraud or willful
    misconduct..


    X .      Disputes


    This agreement (a) shall be governed and construed in accordance with the laws of the State of
    New York, regardless of the laws that might otherwise govern under applicable principles of
    conflict of laws thereof; (b) incorporates the entire understanding of the parties with respect to the
    subject matter hereof; and (c) may not be amended or modified except in writing executed by all
    parties hereto. Any claims and disputes arising under or relating to this agreement or the services
    will be submitted to the Amen can Arbitration Association (“AAA”) for binding arbitration before
    three (3) arbitrators and prompt resolution pursuant to the Federal Arbitration Act (Title 9of the
    United States Code) and the AAA’s published Commercial Arbitration Rules in effect on the date
    of this agreement. A&M and the Parties each shall nominate one arbitrator and the two arbitrators
    so appointed shall appoint the third arbitrator. A&M and the Parties agree to this exclusive remedy,
    and to be bound by the results of arbitration.

     The arbitration hearing will be held in New York, New York. Notwithstanding the foregoing,
     either party shall be entitled to seek injunctive or other equitable relief from any court of competent
    jurisdiction, without the need to resort to arbitration. To the extent that the rules of arbitration set




                                                                                             APP 00271
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    forth above permit the commencement of any judicial proceeding, each party consents and submits
    to the personal jurisdiction of and exclusive venue in the federal courts with jurisdiction over the
    Southern District of New York or, if such courts lack subject matter jurisdiction, in the New York
    state courts with jurisdiction over New York County, New York. Each party waives all defenses
    of lack of personal jurisdiction and forum non-conveniens in such courts. Any action against
    A&M must be brought within 18 months after the services giving rise to the action are rendered.

    If any term or provision of this agreement is determined to be illegal or unenforceable, such term
    or provision shall be deemed stricken, and all other terms and provisions shall remain in full force
    and effect.


    X I .   Miscellaneous


    Unless otherwise agreed, A&M shall retain all documents received and workpapers prepared in
    accordance with our retention policy.

    Sections V, VII, Vm, IX, Xand XI of this agreement shall survive the expiration or termination
    of this agreement.

    This agreement contains the entire understanding between the parties hereto, including the Parties.
    No term of this agreement shall be deemed waived, altered or amended other than by adocument
    in writing signed by the party against whom such waiver, alteration or modification is sought to
    be enforced.


    This agreement may be signed in one or more counterparts (by original or facsimile or electronic
    signature) and each of which, when so executed, shall be deemed to be an original, and such
    counterparts together shall constitute one in the same instrument.

    Depending on future developments, the spread of the Coronavirus has the potential to affect the
    services provided under this agreement. Travel, workplace and mobility restrictions (to include
    measures reasonably mandated by A&M with respect to its employees and personnel) may restrict
    travel to the Parties and other work sites as well as limit access to facilities, infrastructure,
    information and personnel of A&M, the Parties or others. Such circumstances may adversely
    affect the timetable or content of A&M's deliverables and completion of the scope of services
    included in this Agreement. A&M will discuss with the Parties if A&M believes that the services
    may be impacted in this way. The Parties accept and acknowledge that A&M employees and
    personnel may attend at the Parties’ work locations or physically interact with the Parties’
    employees and personnel mconnection with the services, unless A&M or the Parties decide that
    this should not be the case.


    The parties acknowledge that: (i) A&M may correspond or convey documentation via Internet e-
    mail unless the Parties expressly requests otherwise, (ii) A&M has no control over the
    performance, reliability, availability, or security of Internet e-mail, and (iii) A&M shall not be
    liable for any loss, damage, expense, harm or inconvenience resulting from the loss, delay,
    interception, corruption, or alteration of any Internet e-mail due to any reason beyond A&M’s
    reasonable control.




                                                                                         APP 00272
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    If the foregoing is acceptable to you, kindly sign the enclosed copy to acknowledge your agreement
    with its terms.


    Very truly yours.

    A LVA R E Z & M A R S A L D I S P U T E S A N D I N V E S T I G AT I O N S , E E C




    By:


    Name: Robert Lang


    Title: Managing Director




    AGREED TO AND ACCEPTED:



    TennantDevicesandAccessori^LLC
    By:               ' C 7 '




    Name:



    Title:


    AGREED TO AND ACCEPTED:



    Marten Group, Inc. d/b/a Senergy
    Medical Group



    By:


    Name:



    Title:




                                                                                              APP 00273
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                B - EXHIBIT 11




                                                                      APP 00274
    Case 3:24-cv-01852-E                     Document 48-1      Filed 10/11/24        Page 284 of 340         PageID 1117

Kellie McDonald

From:                                    Casey Griffith <casey.griffith@griffithbarbee.com>
Sent:                                    Tuesday, August 20, 2024 4:13 PM
To:                                      Tyler Farmer
Cc:                                      Erin Fujita; Ariel Martinez; Kellie McDonald; Michael Barbee; Kirk Voss; Joshua Yun
Subject:                                 Marten Group, Inc. v. Jerald Tennant, et al.


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     protect y our
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     download of
     this pictu re
     from the
     In ternet.




Tyler,



I’m writing in response to your August 16, 2024 correspondence to my firm. Regarding your
proposal:



    1. We will not agree to an independent review of royalty payments.
    2. We agree to an early mediation but do not agree to John DeGroote. For a dispute like this, we
       propose Ross Stoddard. Please let us know if you are okay with Stoddard and we can check
       dates.
    3. We do not agree to any restrictions on our communications or dealings with Avazzia.



Happy to discuss further if you wish.



Regards,



Casey Griffith | Partner
Griffith Barbee PLLC

1722 Routh St., Ste. 910, Dallas, TX 75201

O: 214.446.6022 C: 214.662.7140




                                                                   1

                                                                                                          APP 00275
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              EXHIBIT C




                                                                      APP 00276
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

                                              §
   MARTEN GROUP, INC. d/b/a                   §
   SENERGY MEDICAL GROUP and                  §
   SCOTT TENNANT,                             §
                                              § Case No. 3:24-cv-01852
             Plaintiffs,                      §
                                              § JURY TRIAL DEMANDED
   v.                                         §
                                              §
                                              §
   JERALD TENNANT, MD, JOHN                   §
   TENNANT, TERESA JESSEN                     §
   TENNANT, JARED TENNANT,                    §
   TENNANT DEVICES AND                        §
   ACCESSORIES, LLC, and                      §
   CURADOR, LLC,                              §
                                              §
             Defendants.

   DECLARATION OF JARED TENNANT IN SUPPORT OF DEFENDANTS’
            MOTION FOR PRELIMINARY INJUNCTION


        I, Jared Tennant, hereby declare as follows:

        1.       I am one of the Defendants in this matter. I am over age 18 and am

 competent to be a witness. I am making this declaration based on facts within my

 own personal knowledge.

        2.       I went to Austin Community College before transferring to Southwest

 Texas State University (now Texas State University). I completed my degree in 2001

 with a major in business and minor in sociology. Later, when I was working as a

 photographer, I started building drones to help me capture the best pictures. My




                                                                           APP 00277
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 experience building these drones—which were not available to the public—is where I

 learned about manufacturing electronic devices.

        3.    In early 2001, I worked with my father, Dr. Tennant to set up a website

 related to his sale of SCENAR devices—i.e., a predecessor to the Tennant

 Biomodulator devices. At that time, my father was prescribing these devices in

 connection with his medical practice. In 2001 to 2002, I also participated in outside

 sales of these devices. After this time frame, I was not directly involved with my

 father’s business for several years.

        4.    In the 2016 to 2019 time period, I was working as a photographer and

 videographer. During that time frame, Dr. Tennant had licensed to Scott Tennant the

 permission to sell Dr. Tennant’s branded devices through Senergy. Senergy would

 hire me to film Dr. Tennant’s weekend education conferences where he would

 introduce the Tennant marked products and the correct way to use them. I would edit

 those videos so that they could be used for marketing and education related to my

 father’s medical practice at the Tennant Institute. I also fimed instructional videos in

 which my father or his medical staff would demonstrate how to use the Tennant

 marked products. I also took pictures for use by my father’s practice, including the

 photo for the Healing is Voltage education materials cover.

        5.    In 2019, I began working with my father on a new version of the

 Tennant Biotransducer. This was because Avazzia had attempted to manufacture a




                                                                            APP 00278
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 similar device—the Tennant Biontrasducer crystal wave—but that product did not

 perform to my father’s expectations. My father had then worked with a Florida

 manufacturer, PhPrescription, to produce the original Tennant Biotransducer Pro.

 Again, however, this version of the product did not meet my father’s expectations, in

 part because the parts used to manufacturer them were not high quality. As a result,

 there was an unacceptable malfunction rate. So, in 2019, I proposed to my father that

 I could make a better quality product.

        6.    In 2020, after several months of development, I had created a device that

 fit my father’s specifications and quality. That product is known as the Tennant

 Biotransducer Pro II (or sometimes referred to as the Tennant Biotransducer Pro

 2020). In early 2021, I applied for a patent related to this new product, and the patent

 issued August 2023.

        7.    Throughout this time, my father had permitted Scott to sell the Tennant

 Biotransducer in exchange for a royalty payment. Once I developed the improved

 version, my father directed Scott to transition Senergy’s sales of the Tennant

 Biotransducers to this new version I had developed. I sold the first 30 of these

 devices to Scott on July 8, 2020.

        8.    As the manufacturer of the Tennant Biotransducer Pro II devices, I also

 repair any such devices when customers experience problems. In connection with the

 repair work, Senergy e-mailed me a spreadsheet documenting the repairs made to




                                                                           APP 00279
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 Tennant Biotransducer Pro II devices for the years 2020, 2021, and 2022. Attached as

 Exhibit C-11 is a true and correct copy of the email and attachment. The spreadsheets

 also included sales volume data that shows total Tennant Biotransducer Pro II devices

 sold each of those years compared to the repairs sent out to customers during the

 same year. Id. This internal Senergy sales data is vastly different than the sales data

 Senergy provided to Dr. Tennant. For example, the data provided to Dr. Tennant for

 the 2021 year- which they used as the basis for his royalty payments – showed only

 388 total Tennant Biotransducer Pro II devices sold. Jerald Tennant Exhibit A-18.

 But, the spreadsheet provided to me shows 593 of the same devices sold in that year,

 which was consistent with my business records of devices that I had manufactured

 and sold. In other words, Senergy underreported 205 sales of this device to Dr.

 Tennant in connection with his royalty payments.

         I declare under penalty of perjury under the laws of the United States that the

 foregoing is true and correct.

         Executed at _____________, Texas on this 28th day of August, 2024.




                                                         JARED TENNANT


 1 To protect their privacy and because they are irrelevant to the motion, the patient names in Exhibits C-1

 have been redacted.




                                                                                              APP 00280
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                           CERTIFICATE OF SERVICE


 I certify that this document is being served via ECF on counsel of record.

                                       /s/Tyler L. Farmer
                                       Tyler L. Farmer




                                                                         APP 00281
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                  C - EXHIBIT 1




                                                                      APP 00282
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Attachments:                       BTP2REPAIRS.xlsx


---------- Forwarded message ---------
From: Jerry Gutierrez <jerry@senergy.us>
Date: Mon, Feb 6, 2023 at 1:00 PM
Subject: FW: BTP2 Repairs
To: jaredtennant@gmail.com <jaredtennant@gmail.com>




From: Jerry Gutierrez
Sent: Monday, February 6, 2023 12:46 PM
To: jaredtennant@gmail.com
Subject: FW: BTP2 Repairs



I got this from Chris




From: Chris Gutierrez <chris@senergy.us>
Sent: Tuesday, January 10, 2023 1:22 PM
To: Jerry Gutierrez <jerry@senergy.us>
Cc: David Childers <david@senergy.us>
Subject: BTP2 Repairs



Attached is the list of BTP2 repairs sent for 2020-2022.



This list only includes replacements that we mailed out. It does not include conference/in house replacements. We could
add approx. 10-12 per year for those.



Top issues being:



       Loose Internal Parts
       Loose Top Cap(Wires exposed)
       Loose RCA Port
                                                             1

                                                                                               APP 00283
Case 3:24-cv-01852-E            Document 48-1   Filed 10/11/24   Page 293 of 340   PageID 1126
   Defective on/off switch
   Charging Issues
   LED Flicker(In early SNs)




                                                  2

                                                                               APP 00284
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                                                                               Chris
                                                                               Gu errez

                                                                               Senergy
                                                                               Medical
                                                                               Group




                                                                               Phone 972-
                                                                               580-
                                                                               0545 Direct
                                                                               214-379-1385

                                                                               Web
                                                                               senergy.us E
                                                                               mail
                                                                               chris@senerg
                                                                               y.us

                                                                               9901 Valley
                                                                               Ranch Pkwy E,
                                                                               Ste 1009,
                                                                               Irving, TX
                                                                               75063




                                         3

                                                                      APP 00285
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                                        2020 List of Repairs

Redacted Customer Names for Filing
                                        BTP2-00501-0141                       LED Flicker                  Total BTP2 sold in 2020: 130
                                        BTP2-00501-0019                   Defective RCA Port
                                        BTP2-00501-0179                   Unit will not charge             Total BTP2 repairs sent: 120
                                        BTP2-00501-0105                       LED Flicker

                                        BTP2-00501-0163             LED Flicker/unit will not charge                                      <--- represents cusomters who
                                                                                                                                          have had multiple repairs
                                        BTP2-00501-0131                       LED Flicker
                                        BTP2-00501-0189               LED Flicker (Deborah Dias)
                                        BTP2-00501-0145              Top Casing loose MAIL UPS!
                                        BTP2-00501-0025          LED Flicker/Defective Charging Port
                                        BTP2-00501-0204                   Unit will not charge
                                        BTP2-00501-0103                      Cracked Lens
                                        BTP2-00501-0190        Defective charging port, Top casing loose
                                        BTP2-00501-0089                    Top Casing loose
                                        BTP2-00501-0073                   Unit will not charge
                                        BTP2-00501-0138                     Charging Issues
                                        BTP2-00501-0004                   Defective RCA Port
                                        BTP2-00501-0235                   Defective RCA Port
                                        BTP2-00501-0118                   Unit will not charge
                                        BTP2-00501-0140                      Defective LED
                                        BTP2-00501-0165                      Defective LED
                                        BTP2-00501-0260                   Unit will not charge
                                        BTP2-00501-0115                   Defective charging
                                        BTP2-00501-0188                   Loose internal parts
                                        BTP2-00501-0156                       LED Flicker
                                        BTP2-00501-0123                      Defective LED
                                        BTP2-00501-0106                 Defective charging port
                                        BTP2-00501-0113                  Inconsistent charging
                                        BTP2-00501-0181                 Defective on/off switch
                                        BTP2-00501-0196                      Defective LED
                                        BTP2-00501-0338                      Defective LED
                                        BTP2-00501-0191                    Top Casing Loose
                                        BTP2-00501-0071                      Defective LED
                                                                           Top Casing Loose
                                        BTP2-00501-0199                   Unit will not charge
                                        BTP2-00501-0036                      Defective LED
                                                                       Defective On/Off switch
                                        BTP2-00501-0201                 Defective chargin port



                                                                                                                                               APP 00286
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Redacted Customer Names for Filing          BTP2-00501-0159             Defective Charging Port
                                            BTP2-00501-0330             Defective on/off switch
                                            BTP2-00501-0161                  Defective LED
                                            BTP2-00501-0223              Device will not turn on
                                               Leo BT-Pro
                                            BTP2-00501-0238              Device will not turn on
                                            BTP2-00501-0166                  Defective LED
                                                                          Loose internal parts
                                            BTP2-00501-0281                Defective Top Cap
                                            BTP2-00501-0172      Defective Charging/Unit will not turn on
                                            BTP2-00501-0203              Defective on/off switch
                                            BTP2-00501-0236                Unit will not charge
                                            BTP2-00501-0189              Defective on/off switch
                                            BTP2-00501-0014                Defective RCA Port
                                            BTP2-00501-0325              Device will not turn on
                                            BT-PWR01008461                 Not holding charge
                                            BTP2-00501-0086             Defective Charging Port
                                            BTP2-00501-0051                     LED Issue
                                            BTP2-00501-0129                     LED Issue
                                            BTP2-00501-0001                     LED Issue
                                            BTP2-00501-0477                     LED Issue
                                            BTP2-00501-0169                     LED Issue
                                            BTP2-00501-0196                     LED Issue
                                            BTP2-00501-0135                     LED issue
                                            BTP2-00501-0535                      RCA Port
                                            BTP2-00501-0150                     LED Issue
                                            BTP2-00501-0525                      RCA Port
                                            BTP2-00501-0514                      RCA Port
                                            BTP2-00501-0491                      RCA Port
                                            BTP2-00501-0298                      RCA Port
                                            BTP2-00501-0431                  Defective LED
                                            BTP2-00501-0121              Device will not turn on
                                            BTP2-00501-0584                      RCA Port
                                            BTP2-00501-0555                      RCA Port
                                            BTP2-00501-0290                 Charging Issues
                                                BT-PWR                       Leo Style Pro
                                            BTP2-00501-0541                      RCA Port
                                            BTP2-00501-0254                 Charging Issues
                                            BTP2-00501-0315                 Charging Issues
                                            BTP2-00501-0561                     LED Issue
                                            BTP2-00501-0414                      RCA Port
                                            BTP2-00501-0148                     LED ISSUE
                                            BTP2-00501-0531                      RCA Port
                                            BTP2-00501-0460                    LED Flicker
                                            BTP2-00501-0209              Defective charging port



                                                                                                                                            APP 00287
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Redacted Customer Names for Filing      BTP2-00501-0602              Defective RCA Port
                                        BTP2-00501-0040               Defective Charge
                                        BTP2-00501-0002             Device will not turn on
                                        BTP2-00501-0227             Device will not turn on
                                        BTP2-00501-0267             Defetive charging port
                                        BTP2-00501-0638                    Top Cap
                                        BTP2-00501-0312              Defective RCA Port
                                          BTP2-00501-                     LED Issue
                                        BTP2-00501-0443              Unit will not turn on
                                        BTP2-00501-0149
                                        BTP2-00501-0099                    USB Port
                                        BTP2-00501-0662                 Top Cap Loose
                                        BTP2-00501-0086                    RCA Port
                                        BTP2-00501-0083                  Cracked Lens
                                        BTP2-00501-0210              Unit will not charge
                                        BTP2-00501-0549                 Top Cap Loose
                                        BTP2-00501-0542            Defective Charging port
                                        BTP2-00501-0169                    RCA Port
                                        BTP2-00501-0054                    LED Issue
                                        BTP2-00501-0427             Senstive on/off switch
                                        BTP2-00501-0754              Loose internal parts
                                        BTP2-00501-0576                 Top Cap Loose
                                        BTP2-00501-0495                    RCA Port
                                        BTP2-00501-0653                    RCA Port
                                        BTP2-00501-0240            Defective on/off switch
                                        BTP2-00501-0153              Unit will not turn on
                                        BTP2-00501-0638         Unit will not chagre/LED issue
                                        BTP2-00501-0742              Unit will not turn on
                                        BTP2-00501-0619         Charge light will not turn green
                                        BTP2-00501-0036               Top Casing Loose
                                        BTP2-00501-0761              Loose internal parts
                                        BTP2-00501-0788              Loose internal parts
                                        BTP2-00501-0544              Loose internal parts
                                        BTP2-00501-0122             Device will not charge
                                        BTP2-00501-0790             Device will not turn on
                                        BTP2-00501-0758              Loose internal parts
                                        BTP2-00501-0230             Device will not turn on
                                        BTP2-00501-0509               Defective Top Cap
                                        BTP2-00501-0546          Device will no longer charge




                                                                                                                                   APP 00288
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                                     2021 List of BTP2 Repairs
Redacted Customer Names for Filing      BTP2-00501-0141                    LED Flicker                  Total BTP2 sold in 2021: 593
                                        BTP2-00501-0019                Defective RCA Port
                                        BTP2-00501-0179                Unit will not charge             Total BTP2 repairs sent: 120
                                        BTP2-00501-0105                    LED Flicker
                                                                                                                                       <--- represents cusomters who have had multiple
                                        BTP2-00501-0163          LED Flicker/unit will not charge
                                                                                                                                       repairs
                                        BTP2-00501-0131                    LED Flicker
                                        BTP2-00501-0189            LED Flicker (Deborah Dias)
                                        BTP2-00501-0145           Top Casing loose MAIL UPS!
                                        BTP2-00501-0025       LED Flicker/Defective Charging Port
                                        BTP2-00501-0204                Unit will not charge
                                        BTP2-00501-0103                   Cracked Lens
                                        BTP2-00501-0190     Defective charging port, Top casing loose
                                        BTP2-00501-0089                 Top Casing loose
                                        BTP2-00501-0073                Unit will not charge
                                        BTP2-00501-0138                  Charging Issues
                                        BTP2-00501-0004                Defective RCA Port
                                        BTP2-00501-0235                 Defective RCA Port
                                        BTP2-00501-0118                Unit will not charge
                                        BTP2-00501-0140                   Defective LED
                                        BTP2-00501-0165                   Defective LED
                                        BTP2-00501-0260                Unit will not charge
                                        BTP2-00501-0115                Defective charging
                                        BTP2-00501-0188                Loose internal parts
                                        BTP2-00501-0156                    LED Flicker
                                        BTP2-00501-0123                   Defective LED
                                        BTP2-00501-0106              Defective charging port
                                        BTP2-00501-0113               Inconsistent charging
                                        BTP2-00501-0181              Defective on/off switch
                                        BTP2-00501-0196                   Defective LED
                                        BTP2-00501-0338                   Defective LED
                                        BTP2-00501-0191                 Top Casing Loose
                                        BTP2-00501-0071                   Defective LED
                                                                        Top Casing Loose
                                        BTP2-00501-0199                Unit will not charge
                                        BTP2-00501-0036                   Defective LED
                                                                     Defective On/Off switch
                                        BTP2-00501-0201               Defective chargin port
                                        BTP2-00501-0159              Defective Charging Port
                                        BTP2-00501-0330              Defective on/off switch
                                        BTP2-00501-0161                   Defective LED
                                        BTP2-00501-0223               Device will not turn on
                                           Leo BT-Pro
                                        BTP2-00501-0238              Device will not turn on
                                        BTP2-00501-0166                  Defective LED
                                                                      Loose internal parts
                                        BTP2-00501-0281                Defective Top Cap
                                        BTP2-00501-0172      Defective Charging/Unit will not turn on




                                                                                                                                                           APP 00289
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Redacted Customer Names for Filing   BTP2-00501-0203         Defective on/off switch
                                     BTP2-00501-0236           Unit will not charge
                                     BTP2-00501-0189         Defective on/off switch
                                     BTP2-00501-0014           Defective RCA Port
                                     BTP2-00501-0325          Device will not turn on
                                     BT-PWR01008461            Not holding charge
                                     BTP2-00501-0086         Defective Charging Port
                                     BTP2-00501-0051                LED Issue
                                     BTP2-00501-0129                LED Issue
                                     BTP2-00501-0001                LED Issue
                                     BTP2-00501-0477                LED Issue
                                     BTP2-00501-0169                LED Issue
                                     BTP2-00501-0196                LED Issue
                                     BTP2-00501-0135                LED issue
                                     BTP2-00501-0535                 RCA Port
                                     BTP2-00501-0150                LED Issue
                                     BTP2-00501-0525                 RCA Port
                                     BTP2-00501-0514                 RCA Port
                                     BTP2-00501-0491                 RCA Port
                                     BTP2-00501-0298                 RCA Port
                                     BTP2-00501-0431              Defective LED
                                     BTP2-00501-0121          Device will not turn on
                                     BTP2-00501-0584                 RCA Port
                                     BTP2-00501-0555                 RCA Port
                                     BTP2-00501-0290             Charging Issues
                                         BT-PWR                   Leo Style Pro
                                     BTP2-00501-0541                 RCA Port
                                     BTP2-00501-0254             Charging Issues
                                     BTP2-00501-0315             Charging Issues
                                     BTP2-00501-0561                LED Issue
                                     BTP2-00501-0414                 RCA Port
                                     BTP2-00501-0148                LED ISSUE
                                     BTP2-00501-0531                 RCA Port
                                     BTP2-00501-0460               LED Flicker
                                     BTP2-00501-0209         Defective charging port
                                     BTP2-00501-0602           Defective RCA Port
                                     BTP2-00501-0040            Defective Charge
                                     BTP2-00501-0002          Device will not turn on
                                     BTP2-00501-0227          Device will not turn on
                                     BTP2-00501-0267          Defetive charging port
                                     BTP2-00501-0638                 Top Cap
                                     BTP2-00501-0312           Defective RCA Port
                                       BTP2-00501-                  LED Issue
                                     BTP2-00501-0443           Unit will not turn on
                                     BTP2-00501-0149
                                     BTP2-00501-0099                USB Port
                                     BTP2-00501-0662             Top Cap Loose
                                     BTP2-00501-0086                RCA Port
                                     BTP2-00501-0083             Cracked Lens
                                     BTP2-00501-0210           Unit will not charge
                                     BTP2-00501-0549             Top Cap Loose
                                     BTP2-00501-0542         Defective Charging port
                                     BTP2-00501-0169                RCA Port



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Redacted Customer Names for Filing   BTP2-00501-0054                  LED Issue
                                     BTP2-00501-0427           Senstive on/off switch
                                     BTP2-00501-0754            Loose internal parts
                                     BTP2-00501-0576               Top Cap Loose
                                     BTP2-00501-0495                  RCA Port
                                     BTP2-00501-0653                  RCA Port
                                     BTP2-00501-0240          Defective on/off switch
                                     BTP2-00501-0153            Unit will not turn on
                                     BTP2-00501-0638       Unit will not chagre/LED issue
                                     BTP2-00501-0742            Unit will not turn on
                                     BTP2-00501-0619       Charge light will not turn green
                                     BTP2-00501-0036             Top Casing Loose
                                     BTP2-00501-0761            Loose internal parts
                                     BTP2-00501-0788            Loose internal parts
                                     BTP2-00501-0544            Loose internal parts
                                     BTP2-00501-0122           Device will not charge
                                     BTP2-00501-0790           Device will not turn on
                                     BTP2-00501-0758            Loose internal parts
                                     BTP2-00501-0230           Device will not turn on
                                     BTP2-00501-0509             Defective Top Cap
                                     BTP2-00501-0546        Device will no longer charge




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                                             2022 List of Repairs


Redacted Customer Names for Filing
                                            BTP2-00501-0543             Loose internal parts      Total BTP2 sold in 2022: 526
                                            BTP2-00501-0092         Defective Top Cap/LED Issue
                                            BTP2-00501-0048              Top Cap/RCA Port         Total BTP2 repairs sent: 89
                                            BTP2-00501-0341               On/Off Switch
                                                                                                                                 <--- represents cusomters who have
                                            BTP2-00501-0887           Defective Charging Port
                                                                                                                                 had multiple repairs
                                            BTP2-00501-0024         Defective Top Cap/LED Issue
                                            BTP2-00501-0456                    Top Cap
                                            BTP2-00501-0965           Defective Charging Port
                                            BTP2-00501-0963                Defective LED
                                            BTP2-00501-0707             Loose internal parts
                                            BTP2-00501-0632             Loose internal parts
                                            BTP2-00501-0074                Defective LED
                                            BTP2-00501-0395             Loose internal parts
                                            BTP2-00501-0924             Loose internal parts
                                            BTP2-00501-0705                Defective Led
                                            BTP2-00501-0964                      LED
                                            BTP2-00501-0744                Will not turn on
                                            BTP2-00501-0713                   RCA Port
                                            BTP2-00501-0132                   RCA Port
                                            BTP2-00501-0193                    Top Cap
                                            BTP2-00501-0395                    Top Cap
                                            BTP2-00501-0926                    Top Cap
                                            BTP2-00501-1018                Will not charge
                                            BTP2-00501-0033                      LED
                                            BTP2-00501-0443                   RCA Port
                                            BTP2-00501-0972                   RCA Port
                                            BTP2-00501-0797              Defective Top Cap
                                            BTP2-00501-0382             Loose internal parts
                                            BTP2-00501-0238                Defective LED
                                            BTP2-00501-0127                   RCA Port
                                            BTP2-00501-0008                    Top Cap
                                            BTP2-00501-0750             Unit will not charge
                                            BTP2-00501-0213             Unit will not turn on
                                            BTP2-00501-0598                    Top Cap
                                            BTP2-00501-0686           Defective Charging Port
                                            BTP2-00501-0070               Defective Switch
                                            BTP2-00501-0048                Defective LED
                                            BTP2-00501-0929           Defective Charging Port




                                                                                                                                            APP 00292
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Redacted Customer Names for Filing
                                            BTP2-00501-0638            Loose internal Parts
                                            BTP2-00501-0221               Defective LED
                                            BTP2-00501-0730            Loose internal parts

                                            BTP2-00501-0613            Loose internal parts
                                            BTP2-00501-0254            Loose internal parts
                                            BTP2-00501-1063            Loose internal parts
                                            BTP2-00501-0582              Defective LED
                                            BTP2-00501-1070            Defective RCA Port
                                            BTP2-00501-0548              Defective Cap
                                            BTP2-00501-0546              Defective Cap
                                            BTP2-00501-0832            Defective RCA Port
                                            BTP2-00501-0872            Loose internal parts
                                            BTP2-00501-1149            Loose internal parts
                                            BTP2-00501-0074            Loose internal parts
                                            BTP2-00501-1100            Defective RCA Port
                                            BTP2-00501-0875
                                            BTP2-00501-0259            Unit will not turn on
                                            BTP2-00501-0721            Loose internal parts
                                            BTP2-00501-0904            Loose internal parts
                                            BTP2-00501-1169          Defective On/Off switch
                                            BTP2-00501-0001               Defective Cap
                                            BTP2-00501-0569               Defective Cap
                                            BTP2-00501-1099          Defective On/Off switch
                                            BTP2-00501-0744             Defective Top Cap
                                            BTP2-00501-0523              Loose RCA Port
                                            BTP2-00501-0550              Loose RCA Port
                                            BTP2-00501-1083          Defective On/Off switch
                                            BTP2-00501-0127              Loose RCA Port
                                            BTP2-00501-0433                LED Flicker
                                            BTP2-00501-0007                LED FLicker
                                            BTP2-00501-0835            Unit will not charge
                                            BTP2-00501-1052              Loose RCA Port
                                            BTP2-00501-0757            Loose internal parts
                                            BTP2-00501-0633            Unit will not turn on
                                            BTP2-00501-0774                LED FLicker
                                            BTP2-00501-0936            Defective Charging
                                            BTP2-00501-0816            Unit will not turn on
                                            BTP2-00501-1322          Defective On/off switch
                                            BTP2-00501-0546             Defective top cap
                                            BTP2-00501-0003         Topcap/Defective charging
                                            BTP2-00501-0545          LED Flicker/Loose parts
                                            BTP2-00501-1308              Loose RCA Port
                                            BTP2-00501-0439                LED Flicker
                                            BTP2-00501-1300            Defective RCA Port
                                            BTP2-00501-1271            Loose internal parts
                                            BTP2-00501-1335          Defective On/Off switch




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Redacted Customer Names for Filing
                                            BTP2-00501-0639          Loose Parts/LED Flicker
                                            BTP2-00501-1003            Top Cap/Loose Parts
                                            BTP2-00501-0744        Defective Charging/RCA Port
                                            BTP2-00501-1359          Defective On/Off switch




                                                                                                                                     APP 00294
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            EXHIBIT D




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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                               §
   MARTEN GROUP, INC. d/b/a                    §
   SENERGY MEDICAL GROUP and                   §
   SCOTT TENNANT,                              §
                                               § Case No. 3:24-cv-01852
              Plaintiffs,                      §
                                               § JURY TRIAL DEMANDED
   v.                                          §
                                               §
                                               §
   JERALD TENNANT, MD, JOHN                    §
   TENNANT, TERESA JESSEN                      §
   TENNANT, JARED TENNANT,                     §
   TENNANT DEVICES AND                         §
   ACCESSORIES, LLC, and                       §
   CURADOR, LLC,                               §
                                               §
              Defendants.

        SUPPLEMENTAL DECLARATION OF JERALD TENNANT, MD, IN
          SUPPORT OF DEFENDANTS’ MOTION FOR PRELIMINARY
                           INJUNCTION


         I, Dr. Jerald Tennant, hereby declare as follows:

         1.       I am one of the Defendants in this matter. I am over age 18 and am

 competent to be a witness. I am making this declaration based on facts within my

 own personal knowledge.

         2.       On October 3, 2024, my daughter Tasha was visiting from her home in

 Austin. She was looking through old files in a cabinet that was previously stored at

 my clinic, but has since moved to my house. While looking, she found four

 documents stacked together with signatures, which I had forgotten about since storing




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 them. True and correct copies of these documents are attached as Exhibits 1-4; these

 copies include Bates numbers added by my counsel.

       3.     As described in my prior declaration filed on August 28, 2024 (Dkt. No.

 25 App. 0010 ¶ 18), in the spring of 2016, both Scott and I proposed addendums to

 the Royalty Agreements. Exhibit 4 shows that I ended up signing Scott’s April 22,

 2016 proposed addendum.



       I declare under penalty of perjury under the laws of the United States that the

 foregoing is true and correct.

       Executed at __________, Texas on ____________.




                                             JERALD TENNANT, M.D.




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                           CERTIFICATE OF SERVICE


 I certify that this document is being served via ECF on counsel of record.

                                       /s/Tyler L. Farmer
                                       Tyler L. Farmer




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          EXHIBIT D-1




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                                                                            APP 301
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                                                                   TENNANT_000003




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                                                                    TENNANT_000004




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                                                                    TENNANT_000005




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                                                                    TENNANT_000006




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                                                                    TENNANT_000007




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       EXHIBIT D-2




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                                                                   TENNANT_000008




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                                                                    TENNANT_000009




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                                                                    TENNANT_000010




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                                                                    TENNANT_000011




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                                                                    TENNANT_000012




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                                                                    TENNANT_000013




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                                                                   TENNANT_000014




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      EXHIBIT D-3




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                                                                    TENNANT_000015




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                                                                    TENNANT_000016




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                                                                    TENNANT_000017




                                                                            APP 318
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                                                                    TENNANT_000018




                                                                            APP 319
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                                                                    TENNANT_000019




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                                                                    TENNANT_000020




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                                                                    TENNANT_000021




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       EXHIBIT D-4




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                                                                    TENNANT_000022




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                                                                    TENNANT_000023




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                                                                    TENNANT_000024




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                                                                   TENNANT_000025




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                                                                    TENNANT_000026




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                                                                    TENNANT_000027




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                                                                    TENNANT_000028




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